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                     EXHIBIT B
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                                                                                                                                          US011238344B1


( 12) United
      Cosic
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          CPC                GO6N 3/08 (2013.01 ) ; GO6N 5/022
                                                      (2013.01 )                                         ( 57 )                                 ABSTRACT
( 58 ) Field of Classification Search                                                                    Aspects of the disclosure generally relate to computing
          None                                                                                           enabled devices and / or systems , and may be generally
          See application file for complete search history.                                              directed to devices , systems, methods, and / or applications
( 56 )                   References Cited                                                                for learning a device's operation in various circumstances ,
                                                                                                         storing this knowledge in a knowledgebase ( i.e. neural
                 U.S. PATENT DOCUMENTS                                                                   network , graph, sequences, etc. ) , and enabling autonomous
                                                                                                         operation of the device .
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                                                                 Object                  Processor
                                                                 Processing                            Appilcation Program
                                                                 Unit

                                                                                                                                          100

                                             OCADO Unit                                                   120                     130
                                                                                         Acquisition               Modiication
                                                                                         Interface                 interface
                                                          110

                                                  Artificial                                                                        530
                                                  Intelligence
                                                  Unit                                                     520
                                                                                                                        Knowledgebase
                                                                          Knowledge Structuring Unit
                                                                                                           540

                                                                 Decision -making Unit

                                                                                                           550

                                                                          Carifirmation Unit
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                                        18              19                                  5
                                                                                                     25

                    27
                                                                                                            Network Interface
                                                         APproligcatmosn DSaptcae                    16

                         Storage        OS
                                                                                                            Alternaive Memory
                                                                                                                                                                    FIG
                                                                                                                                                                    1
                                                                                                                                                                    .
                                                                                                                                23
                                   14
                                               Cache
                                                                                                                                         -mHaucmhiane
                               11
                                                         PMeomroty              Memory                                                                  Interface
 70DCoemvpiutceng                                                                               12
                                                                                                                                21

                                             Proces r     10Port                1/0Device       13

                                                          Port
                                                          O
                                                          /
                                                          W
                                                                                                                                     Deivspilcaey
                                                                         15A
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  98
             100
                                                                                         Artifcal Intelig120ncUnite
                                                                  110
                                                                                                                                                                       27
                                                                                                                                      130
                     Levaimcien'gs
                     for
                     DUnit
                      a
                      Using
                      or
                      /
                      and            DAfCiuretcovmnsiarcue O(DCADOUnit)peration                                                                              12

                                                                                                                AcquistonInterface Modifcaton Iterface            Memory Storage
             92                                93

                        Sensor ObjectProces ingUnit
                                                                                                                                                                                   2
                                                                                                                                                                                   .
                                                                                                                                                                                   FIG


                            23
                                                                           Human machine Interface
                                                                                                                                            APprloicgatomn   11


            Device                                                                                                         Procesor                          18

       50
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                                    92a                                                  92b
         Camera                                                 Microphone

  Object Processing Unit                  93          Object Processing Unit                   93
                                          94a                                                  946
    Picture Recognizer                                  Sound Recognizer

                                      110                                                  110
     Artificial Intelligence Unit                         Artificial Intelligence Unit
            FIG . 3A                                            FIG . 3B


         Lidar                      92c                         Radar                    92d


  Object Processing Unit                  93           Object Processing Unit                  93
                                          94c                                                  94d
   Lidar Processing Unit                                 Radar Processing Unit

                                      110                                                  110
     Artificial Intelligence Unit                         Artificial Intelligence Unit
            FIG . 3C                                              FIG . 3D
                                                                         X




         Sonar                      92e


  Object Processing Unit                  93
                                          94e
    Sonar Processing Unit

                                      110
     Artificial Intelligence Unit
            FIG . 3E
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               6150                                         1
                                                            5

                                                            B

                John Doe                                                                             615a



                                                            R

                      8m                                    S      56 °             6m
                                                          Device                                             615b
                                                                             1319
                                                            1




                                                            1
                                                                    98
                                                            R
                                                            13
                                                            5
                                                            2

                                                2870
                                                            R
                                                                                          10m
                                                            R
                                                            3
                                                            3
                                                            R

                                                            B
                                                            1




                                                       FIG . 4A

                                                                                                                       93
  Object Processing Unit                                                                                          4
                                                                                                                 525
     Collection of Object Representations
           635aa 635ab 635ac           635ba 635bb 635bc                   635ca 635cb 635cc 635cd
       Object Representation Object Representation Object Representation
         Type Distance Bearing      Type Distance Bearing           Type    Identity Distance Bearing       80
        Cat 6m         56 °          Tree 10m     131 °             Person John Doel 8m       2879

     630aa 630ab 630ac 630ba 630bb 630bc 630ca 630cb 630cc 630cd
                                                                                   7
                    625a              6256                     6250

                                                       FIG . 4B
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 100
 120                                                                                                                 11


                                                   215
                                                         Arithmeic          UnitLogic
                                                                                                             214
                                                                                              RAergisateyr
                                                          DInestcroudeirn                                                       5
                                                                                                                                .
                                                                                                                                FIG


                                                                                        213
                                                         IRnsetgriucteonr
                                                                                        212                                     12

       IUDCnAiDtO Anctqeuirsfatceon                      CPorungtream
                                        Proces r                                        211                            Memory
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                           100        120
       DCADO Unit
                    Acquisition Interface
                                                         250
                                             Logic Circuit
         input 1                                                                  output 1
         input 2                                                                  output 2
         input 3                                                                  power

         input 4                                                                  ground


                                            FIG . 6A

                                                             100        120
                                      DCADO Unit
                                                      Acquisition Interface

                                 Logic Circuit
         input 1                                                                  output 1
         input 2                                                                  output 2
         input 3                                                                  power

         input 4                                                                  ground

                           250
                                            FIG . 6B
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                                                                 526

           Instruction Set
            Function ( Parameter1 , Parameter2 , Parameter3 , ... )
                                            FIG . 7A
                                                                 526

           Instruction Set
            SELECT Coll , Col2 ... FROM Tb11 , Tb12 ... ;

                                            FIG . 7B
                                                                 526

           Instruction Set
            iconst_Value
                                            FIG . 7C
                                                                 526

           Instruction Set
            add Register1 Register2

                                            FIG . 7D
                                                                 526

           Instruction Set
            000000 00001 00010 00110 00000 100000

                                            FIG . 7E
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                                                            525                   527

  Collection of Object Representations                            Extra Info
                                                                  time info , location
                                                                  info , computed
                                                                  info , contextual
                                                                  info , etc.

                                        FIG . SA




                                                            526                   527

  Instruction Set                                                 Extra Info
                                                                  time info , location
                                                                  info , computed
                                                                  info , contextual
                                                                  info , etc.
                                        FIG . 8B
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  98       11
                    100                                                                                                                                                    27

                                                                                                    Artifcal Intelig120nUnitce
                                                                                    110

                                                                                                                                                 130
                                     Levaimcien'gs
                                     for
                                     DUnit
                                      a
                                      Using
                                      or
                                      /
                                      and            ACDfiuretcovnmsiacrues Unit)(DOpCerAatDioOn                                                                                Storage
                                                                                                                            AcquistonInterface Modifcaton Iterface         12



                                                                                                                                                                     18
                                                                                                                                                                                Memory
                  Proces r                                                                                                 AplicatonProgram                                               FIG.9
             23                                                               93                                                 92

                      Human machine Interface                                                            Procesing
                                                                                                   Object Unit                               Sensor
        Device
   50
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  95
        96
                  100
                                                                                               Artifcal Intelig120ncUnite
                                                                       110

                                                                                                                                         130
                        Levaircnei'nsg
                        for
                        DUnit
                         a
                         Using
                         or
                         /
                         and             DAfCiuretcovmnsiacrue (DCADOOUnit)peration
                                                                                                                     AcquistonInterface Modifcaton Iterface
       Network Server
       98        92                      93                                                                                                                             27          10
                                                                                                                                                                                    .
                                                                                                                                                                                    FIG

                           Sensor ObjectProces ingUnit
                                                                                                                      11
                                                                                                                                    18                        12



               Device                       23                                         Human machine Interface Proces r A p l i c a t o nP r o g r a m             Memory Storage
       50
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 95
        97                                                                                                                                           92
                     RDemvoitce                                                                                                                                Sensor
      Network
           98
                                                                                                                                                93
                                                                110
                                                                       Artifcal Intelig120ncUnite                                                            Procesing
                                                                                                                                                          Object Unit
                                                                                                                    130                               27
                                       Land
                                       for
                                       Unit
                                       100       DAfCiuretcovmnsiacrue
                                        Devaimcien'gs Unit
                                        a
                                        Using
                                        or
                                        /             )(DOpCerAatDioOn
                                                                                                 AcquistonInterface Modifcaton Iterface          12

                                                                                                                                                      Memory Storage     11
                                                                                                                                                                         .
                                                                                                                                                                         FIG



                                      21                                 23               11



                             Device
                                              Display Human machine Interface                            Proces r A p l i c a t o nP r gr a m   18

                50
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                                  93

                     Object                  Processor
                     Processing                          Application Program

                                                                                              100

  DCADO Unit                                                 120                     130

                                             Acquisition              Modification
                                             Interface                Interface


      Artificial
      Intelligence                                                                     530
                                                             520
                                                                          Knowledgebase
                               Knowledge Structuring Unit
                                                             540

                     Decision -making Unit

                                                             550

                               Confirmation Unit




                                                 FIG . 12
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               Object Processing                93
                                                       Acquisition Interface           120
               Unit                                                                          520                530

   Knowledge                                                                                          Knowledgebase
  Structuring Unit                                                                    800ax
     Knowledge
     Cell

                         Coll of Ob Rep                       Instruction Set
                                                                                 3
                                                                                 3

                               :               525a5      3                      3
                     }                                    }                      3
                     }                                    3                      3
                                                                                 3
                         Coll of Ob Rep                   3
                                                                                     526a6
                     I                                                           3
                     1                     3
                                               525a4                                 526a5
                     }
                                                              Instruction Set
                         Coll of Ob Rep {                     Instruction Set    3
                                                                                 {
                                                          }                      3
                     }                     {              }
                                           3 525a3
                                                                                 3
                     1                                                           3
                                                                                 3
                                                          3                      3
                                                          3                      3
                         Col of Ob Rep                    }                      3
                                                          {                      3
                                                          {
                                                          3
                                           ?3 525a2                                  526a4
                                                                                     526a3
                         Coll of Obi Rep                       Instruction Set
                                                                                     526a2
                                           3                  Instruction Set
                                               525a                                  526a1
                                                              Instruction Set
                         Coll of Ob Rep                        Instruction Set
                                           3




                                                 ?                                    800ab
     Knowledge Cell
                                                                                      800aa
     Knowledge Cell

                                                         FIG . 13
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                Object Processing               93
                                                       Acquisition Interface          120
                Unit                                                                        520                530

   Knowledge                                                                                         Knowledgebase
  Structuring Unit                                            3                      800ax
      Knowledge                                                                 3
                                                                                3
     Cell                Coll of Ob Rep                       Instruction Set

                                                  ;                                  800ae
      Knowledge                            | 52525        3
                                                                                3
     Cell                                                 3                     }
                                                                                {
                                                          3
                     1                                                          3
                                                          3
                         Coll of Ob Rep                                         3


                                                                                3
                                                          3
                                                          }                     3    800ad
                                                                                3
      Knowledge                                           {
                                                          {
                                                                                {
                                                                                    526a6
     Cell                                  3
                                           3              3
                                                                                3
                     }                         525a4                                526a5
                     }                                        Instruction Set
                     }
                         Coll of Ob Rep                       Instruction Set
                                           3
                                                          {                     3
                                           3
                                           3              3                          800ac
      Knowledge                                525a3      3
                                                          3
                                                                                3
                                                                                3
                                                          3
                                                                                3
                                                          3
                                                                                3
                                                          {
                         Coll of Obi Rep                                        3
                                                                                3
                                                                                3
                                           3
                                           }
                                                                                     800ab
      Knowledge                            { 525a2        {
                                                          }
                                                                                3
                                                                                152624
                                                                                3
     Cell                                                 {                     3

                     }
                         Coll ofOb Rep                        Instruction Set
                                           3
                     1                     3              3
                                                                                3
                                                                                3    800aa
      Knowledge                            3              }
                                                          {
                                                                                    526a3
     Cell            }                     3
                     }
                     }
                                                                                    526a2
                                                              Instruction Set
                                               525a1                                526a1
                     I                                        Instruction Set
                         Col of Ob Rep                        Instruction Set

                                                         FIG . 14
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               Object Processing                 93
                                                        Acquisition Interface           120
               Unit                                                                           520                530

   Knowledge                                                                                           Knowledgebase
  Structuring Unit                                                                     800ax
     Knowledge
     Cell            pok

                                                                                  {
                           Collof Obj Rep                      Instruction Set
                                                               Instruction Set
              1 Coll ofOb Rep                                   Instruction Set
        525dni                                             3                      3

                                  :          3
                                                           3

                                                           {
                                                                      :           3
                                                                                  3
                                                                                  3   526a6
                           Coll of Obj Rep                                        3
        525d1                                                                         526a5
        525cn                     :                            Instruction Set
                           Coll of Ob Rep                      Instruction Set
                           Coll of Ob Rep                                         3
                                                                                  }
        52501                                              }
                                                           3                      3

        525bn                     :                        3
                                                           {                    152624
                           Collof Ob Rep
                                                                                 526a3
        525b1
                           Coll of Ob Rep                       Instruction Set
                                                                                 526a2
                                  :                            Instruction Set
        525an
                           Coll of Obi Rep                     Instruction Set 3
                           Coll of Ob Rep                  3
        525a1                                              }                          526a1
                                                                                  3
                                  :                        {

                 i Col ofOb Rep                                Instruction Set


                                                 ?                                     800ab
     Knowledge Cell
                                                                                       800aa
     Knowledge Cell

                                                          FIG . 15
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                Object Processing             93
                                                     Acquisition Interface          120
                Unit                                                                      520                530

  Knowledge                                                                                        Knowledgebase
  Structuring Unit                                      {                     {   800ax
    Knowledge
     Cell                Col of Ob Rep                      Instruction Set
                               :                            Instruction Set
                         Coll of Ob Rep                      Instruction Set !3
                                                                              {

                     ?
                                               ?        }
                                                                              3
                                                                                  800ad
     Knowledge                                          3
                                                        3                     3
    Cell                 Coll of Ob Rep                 3
                                                                              3
      525dn                    :          {                  Instruction Set 526a6
                                                                              3

       525d1             Coll of ObRep                      Instruction Set 3 526a5
                                                        {                     3
                     }
                                                        }
                                                        {
                                                                                   800ac
    Knowledge                             3             3

     Cell                Coll of Ob Rep   3
                                                        }
                                                        3
                                          §             3
       525cni                    :                      3
                                                        3
                                                                              3
                                                                              }
                                                        3
       52501             Coll of Ob Rep                 }                     3
                     ?                                  3
                                                        3                     3
                                                        3                     3    800ab
     ColWedge Coll ofObiRep !                               Instruction Set 3 526a4
                                                                              3
       525bn                                                Instruction Set     526a3
                                                                              3

       5251              Coll of Ob Rep                     Instruction Set   3
                                                                                526a2
                     }                                  3                     3
                     }                                                             800aa
                                          3             3

    Knowledge                                           }                     3
    Cell     Coll of Ob Rep                             3
                                                                              3
                                                                              3
                                                        {                     3
      525ani         :                                  {                     3


       525a1             Collof Ob Rep                      Instruction Set       526a1


                                                       FIG . 16
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       852
 853
                                                                    853
                                            ?-?
                                                                          852

               MBodel                                      MDodel
                                                                                  17
                                                                                  .
                                                                                  FIG



               AModel                                      MCodel
        852
 853

                                               853
                                                     852
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                            800zb                            800zc
   Knowledge Cell                      Knowledge Cell
         Occurrences = 10                               Occurrences = 15
         Weight=0.4                                     Weight=0.6

                 85321                                                     85322
                                       Knowledge Cell
                                                           800za
                                                FIG . 18A

                            800zb                            800zc                                 800zd
   Knowledge Cell                      Knowledge Cell                      Knowledge Cell
         Occurrences = 10                               Occurrences = 15           Occurrences = 1
         Weight=0.385                                   Weight=0.577               Weight =0.038
                                                                                               85323
                  853 %                                                    85322
                                       Knowledge Cell
                                                            800za
                                                FIG . 18B

                            800zb                            83zc                                  800zd
   Knowledge Cell                      Knowledge Cell                      Knowledge Cell
         Occurrences =11                                Occurrences = 15           Occurrences = 1
         Weight=0.407                                   Weight=0.556               Weight=0.037
                                                                                               -85323
                  85321                                                    85372
                                       Knowledge Cell
                                                           800za
                                                FIG . 18C
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                                                                                                                                                                       530d
                             Knowledg   Cell



            80 ce Knowledg Cell
            80 cd KnowledgCell
                                                                                                                                                                              19
                                                                                                                                                                              .
                                                                                                                                                                              FIG
            80 C Knowledg Cell
            80 cb Knowledg Cell
  CofKonlewlcetdigosne 80 ca Knowledg
                                        Cell



                                               KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                       520
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                             Layer :854e Layer                         Layer            Layer                  Layer                   Layer                     530a
                                                                854d                                    8546                  854b                    854a
                             KCnoewl dlge 80 e                80 ed CKnoewldlge 80 ec CKnoewldlge 853e2
                                            :




                                                 CKnoewl dlge   8
                                                                . 5 3 e 4
                                                                                                                 8 0 e b
                                                                                      8 5 3 e
                             KCnoewl dlge   :
                                                                          KCnoewl dlge CKnoewl dlge CKnoewl dlge                     853e1 80 ea
                                                                       CKnoewl dlge      CKnoewl dlge          CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                        20
                                                                                                                                                                        .
                                                                                                                                                                        FIG
                             CKnoewledlge   :    CKnoewl dlge          CKneowledlge      CelKnowledge          CKnoewl dlge            CKneowledlge

                                                                                         CKnoewlldge           CKnoewlidlge            CKnoewlldge
                                                 CeKnowledge           CKnoewl dlge      CKnoewl dlge
  Netuwroalk
                                                                                                                                                                  125
                             KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dtge 80 b CKnoewl dlge 80 ba CKnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                 520
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                             Layer          :
                                                   Layer                  Layer           Layer                  Layer                   Layer                     530a
                                            854e                   854d                                   854c                   854b                   854a
                             KCnoewl dlge   :       CKnoewl dlge           CKnoewl dlge   CKnoewl dlge
                                                    CKnoewldlge           CWhoewl dlge     CKnoewl dlge          CKnoewl dlge           853 800

                             KCnoewl dgie   :      CKnoewl dlge           CKnoewl dlge    KCnoewl dlge            CKnoewl dlge           CKnoewl dlge
                                                                                                                                                                          21
                                                                                                                                                                          .
                                                                                                                                                                          FIG
                                                                                          CKneowledge            CKnoewl dlge            CKnoewledlge

                             CKnoewlldge    :      KCnowel dlge            CKnowel dige    CKnoewl idge           CKnoewlldge            CKnoewlldge
                                                                          KCnoewl dlge    CKnoewl dlge
  Netuwroalk
                             KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                   520
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                                                                          80 he CKnoewledlge                                                                       530b
                                                                                                                CKneowledlge
                                            80 hd CKnoewldlge
                                                                               853h4
                             CKnoewl dlge                              853h                                                              CKnoewl dlge
                                                                                                                                                      80 h a
                                                                                               80 k
                                                                                                 CKnoewl dlge                    853h1                         :


                                                                                                                                                                          22
                                                                                                                                                                          .
                                                                                                                                                                          FIG
                             CKnoewl dlge                                                        CKnoewl dlge                  853h2
                                                        CKnoewl dlge                                            CKnoewl dlge CKnoewl dlge
                                                                                                                                          8 0 h b

                             CKnoewl dlge
  Graph

                             KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                   520
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                                                                                                                                                                      530c
                             Sequnce   KCnoewledlge   :    CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge        CKnoewl dlge

                                                                                                                                                              800
                                                                                                                                                              533
                   Sequnce             CKnoewledlge   :    CKnoewl dlge        CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge

                             CKnoewledlge KCnoewl dlge CKnoewl dlge CKnoewl dlge CKneowl dlge CKnoewledlge
                   Sequnce                            :
                                                                                                                                                                             23
                                                                                                                                                                             .
                                                                                                                                                                             FIG


                            CKnoewledlge KCnoewl dlge CKnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge
                   Sequnce                            :




                              K
                              Cn o
                                 ewl dlge
  CofSoelquctnioes Sequ nce                K
                                           C noewl dl
                                                    g e C
                                                        K neo w l e d
                                                                    l ge K
                                                                         C n o
                                                                             e w l dlg e K
                                                                                         C n o
                                                                                             e w l dlg e K
                                                                                                         C n o w
                                                                                                               e l l
                                                                                                                   d g e


                                       KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                      520
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                                                                                                                                                                                                             530d
        Knowledg                  Cell
                                                                                                                     *
   80 c Knowledg
                                  Cel
   80 b Knowledg
                 Cell
    80 oa                                                              526a 526a5                                                      526 4 526a3 526a2 526a1
                                         SInsteruction   :

                                                                                     ISet|nstruction ISnsteruction                               ISetnstruction SInsteruction SInsteruction SetInstruction
                                                                                                                                                                                                               24
                                                                                                                                                                                                               .
                                                                                                                                                                                                               FIG


                                                         52 a5               52 a4                                       52 a3         52 a2                           52 a1
  CofKonlewlcetidogsne CKneowl dlge      of
                                         Col
                                         Rep
                                         Ob              :
                                                                    Col
                                                                    Obi
                                                                    of
                                                                    Rep                                 Coll
                                                                                                        Obi
                                                                                                        of
                                                                                                        Rep                      Col
                                                                                                                                 of
                                                                                                                                 Rep
                                                                                                                                 Obj             Rep
                                                                                                                                                 Obj
                                                                                                                                                 of
                                                                                                                                                 Coll                                            Col
                                                                                                                                                                                                 Obi
                                                                                                                                                                                                 of
                                                                                                                                                                                                 Rep




                                                                                                                                                                                                             540
  Decison -making N                                                 ?                                                                                                                                         125
                                                             52515 ColorObjRep 52 14 CollofObiRep 52 13 CollofObjRep 52 12 ColofObjRep 5251 CollofObjRep                                                     93

  Object UnitProcesing                   Rep
                                         Obj
                                         of
                                         Coll            :
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                                                                                                                                                                                                                     530d
                         Knowledg Cell
                                                                                                                      *
   80 c
   80 b KnowledgCellCel
   80 oa                                                               526a 526a5                                                              526 4 526a3 526a2 526a1
                                         SInsteruction   :

                                                                                      ISet|nstruction ISnsteruction                                      ISetnstruction SInsteruction SInsteruction SetInstruction
                                                                                                                                                                                                                       25
                                                                                                                                                                                                                       .
                                                                                                                                                                                                                       FIG

                                                         52 a5                52 a4                                       52 a3               52 a2                            52 a1
  CofKonlewlcetidogsne CKneowl dlge      of
                                         Col
                                         Rep
                                         Ob              :
                                                                    Col
                                                                    Obi
                                                                    of
                                                                    Rep                                  Coll
                                                                                                         Obi
                                                                                                         of
                                                                                                         Rep                         Col
                                                                                                                                     of
                                                                                                                                     Rep
                                                                                                                                     Obj                 Rep
                                                                                                                                                         Obj
                                                                                                                                                         of
                                                                                                                                                         Coll                                            Col
                                                                                                                                                                                                         Obi
                                                                                                                                                                                                         of
                                                                                                                                                                                                         Rep




                                                                                                                                                                                                                     540
  Decison -making N                                                 ?                                                                                                                                                 125
                                                                                                                                                                                                        11




                                                             52513 ColorObjRep 52 12                                          52 1 CollofObjRep 52 1 CallofObRep 5251 CollofObjRep                                   93

  Object UnitProcesing                   of
                                         Coll
                                         Rep
                                         Obj             :
                                                                                                         Coll
                                                                                                         Obi
                                                                                                         of
                                                                                                         Rep
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                                                                                                                 530d
                          CKneowledlge CollofObiRep      :
                                                             Obi
                                                             of
                                                             Coll
                                                             Rep       Coll
                                                                       Obi
                                                                       of
                                                                       Rep    Coll
                                                                              Obi
                                                                              of
                                                                              Rep       Coll
                                                                                        of
                                                                                        Obi
                                                                                        Rep    Rep
                                                                                               Ob
                                                                                               of
                                                                                               Coll




                                                              52 d5 52 d4 52 d3 52 d2 52 01
            80 rd CKneowledlge                Coll
                                              of
                                              Rep
                                              Ob         :
                                                             Obi
                                                             of
                                                             Coll
                                                             Rep       Coll
                                                                       Rep
                                                                       Obi
                                                                       of     Coll
                                                                              Obi
                                                                              of
                                                                              Rep       of
                                                                                        Col
                                                                                        Rep
                                                                                        Obi    Rep
                                                                                               Obi
                                                                                               of
                                                                                               Coll



            80 rc KCnoewl dlge CollofObiRep              :
                                                             Rep
                                                             Obi
                                                             of
                                                             Coll      Coll
                                                                       Obi
                                                                       of
                                                                       Rep    Col
                                                                              Obi
                                                                              of
                                                                              Rep       Coll
                                                                                        of
                                                                                        Obi
                                                                                        Rep    Coll
                                                                                               Obi
                                                                                               of
                                                                                               Rep       52 c1         FIG
                                                                                                                       26
                                                                                                                       .

            80 rb CKneowledlge                                         Coll
                                                                       Obi
                                                                       of
                                                                       Rep
                                                                                                         52 c2
                                              Coll
                                              of
                                              Red
                                              Obi        :
                                                             Obj
                                                             of
                                                             Coll
                                                             Rep              Coll
                                                                              of
                                                                              Rep
                                                                              Ob        Coll
                                                                                        Obi
                                                                                        of
                                                                                        Rep    Coll
                                                                                               Ob
                                                                                               of
                                                                                               Rep


  CofKonlewlcetdigosne 80 ra CKnoewledlge CollofObiRep   :
                                                             Coll
                                                             of
                                                             Rep
                                                             Obi       Obi
                                                                       of
                                                                       Coll
                                                                       Rep    Obi
                                                                              of
                                                                              Col
                                                                              Rep       Col
                                                                                        of
                                                                                        Obi
                                                                                        Rep    Coll
                                                                                               Obi
                                                                                               of
                                                                                               Rep


                                                                                                                  540
  Decis on -making                                                     > ? ?                                       125
                                                   52 15 52 14 CollofObiRep 52 13 52 12 52 1                      93

  Object  Procesing                           Coll
                                              Obi
                                              of
                                              Rep            Rep
                                                             Obi
                                                             of
                                                             Coll             Coll
                                                                              of
                                                                              Ob
                                                                              Rep       Coll
                                                                                        Obi
                                                                                        of
                                                                                        Rep    Coll
                                                                                               Obi
                                                                                               of
                                                                                               Rep
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                             Layer                    Layer                         Layer                      Layer                    Layer                      Layer                530a
                                            854e                         854d                                                 854c                      854b                     854a
                                                                                    CKnoewl dlge               KCnoewl dlge

                                                       CelKnowledge                 CKnoewl dlge               CKnoewl dlge              CKnoewl dlge              CKneowledge
                                                                        0.25                                                                             0.35

                             CKnoewl dlge                               0.75 CKnoewl dlge
                                                                                                   80 td                                KCnoewl dlge 0.35 CKneowledlge 80 ta
                                            :
                                                                                                               KCnoewl dlge
                                                       CKCelneowledlge 85314 853t                    0.80
                                                                                                                                        8 5 3 t 1
                                            80 te                                   CKnoewledlge CKnoewl dlge CKnoewl dlge KCnoewledlge
                                                                                                     0.20                       1
                                                                                                                                                         0.30                                  27
                                                                                                                                                                                               ,
                                                                                                                                                                                               FIG

                                                                                                80 tc        8 5 3 t 2
                             CKnoewl dlge              CKnoewledlge                 CKnoewl dlge               CKneowledge 80 tb CKnoewlldge

  Netuwroalk                 CKnoewledlge   :
                                                       CelKnowledge                 CKnoewledlge               CKnoewledlge
                                                                                                                                                                                        540
  Decison -making                                                                                                                                                                        125
                                                                                                                                                                                        93

  Object Unit  Procesing   Rep Coll
                           Col
                           Ob
                           of  Rep
                               Ob
                               of
                                            :
                                                    525en 525e1
                                                    Col
                                                    of
                                                    Rep
                                                    Ob    Rep Coll
                                                          Obj
                                                          of
                                                          Col   525dn Call
                                                                Rep
                                                                Ob
                                                                of    52501
                                                                      Rep
                                                                      Ob
                                                                      of                                    525cn Col
                                                                                                            Rep
                                                                                                            Obi
                                                                                                            of
                                                                                                            Coll:

                                                                                                                  525c1
                                                                                                                  Rep
                                                                                                                  Ob
                                                                                                                  of                 525bn 52561
                                                                                                                                     Rep
                                                                                                                                     Obj
                                                                                                                                     of
                                                                                                                                     Coll  Rep
                                                                                                                                           Ob
                                                                                                                                           of
                                                                                                                                           Col                  Col
                                                                                                                                                                Obi
                                                                                                                                                                of
                                                                                                                                                                Rep
                                                                                                                                                                525an Col
                                                                                                                                                                      Rep
                                                                                                                                                                      Obj
                                                                                                                                                                      of
                                                                                                                                                                      525a1
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                                                                                                           80
                                                                                                           $
                                                                                                                                    KCnoewl dlge 80 ub                                    530b
                                                              853u1                                                        0.60 0.30 0.10
                               80 ua KCnoewldlge 0.15                                   CKnoewl dlge
                                                       0.85                                                        85302
                                                                                                                                    CKnoewl dlge           CKnoewl dlge

       :
                                                              CKnoewl dlge                             80 uc CKnoewldlge                                                              :




                                       CKnoewl dlge                  80 ud   0.20 CKnoewl dlge                    853u 8534                                                                      28
                                                                                                                                                                                                 .
                                                                                                                                                                                                 FIG

                                                                                                           0.80
                                                                                                                                    CKnoewl dlge
                                                                                                                                                   80 ue
                                        CKnoewl dlge                                    CKnoewl dlge
  DGecriaspohn-making                                                                                                                                                                     540
                        Unit                                                                           >                                                                                   125
                                                                                                                                                                                          93
            Procesing
  Object Unit
                                   Re
                                   Ob
                                   Coll
                                   of
                                   Ob
                                   Rep Col
                                        of
                                        Rep
                                        Ob
                                                       :
                                                                525en Col
                                                                Rep
                                                                Obi
                                                                of
                                                                Coll  Ob
                                                                      of
                                                                      525e1
                                                                      Rep                  5250n Col
                                                                                           Rep
                                                                                           Ob
                                                                                           of
                                                                                           Col   52501
                                                                                                 Rep
                                                                                                 Obi
                                                                                                 of                 525cn Col
                                                                                                                    Obi
                                                                                                                    of
                                                                                                                    Coll
                                                                                                                    Rep   525c1
                                                                                                                          Rep
                                                                                                                          Obj
                                                                                                                          of          Objp
                                                                                                                                      Reg
                                                                                                                                      525bn Coll
                                                                                                                                      Rep
                                                                                                                                      Ob
                                                                                                                                      of
                                                                                                                                      Col   5251
                                                                                                                                            Rep
                                                                                                                                            Ob
                                                                                                                                            of               ColofO5b2j5Raenp Coll
                                                                                                                                                                              Rep
                                                                                                                                                                              Ob
                                                                                                                                                                              of
                                                                                                                                                                              525a1
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                                                                                                                                                                    530
                                         CKnoewledlge           CKnoewledlge        CKnoewledlge       CellKnowledge       CKnoewledlge      CKneowledge
                        Sequnce                         :




                                                                     80 de 80 d 80 dc 80 db 80 da
          53 wd                 K
                                C n o
                                    e w l e dlg e               CKneowledlge        CKnoewledlge        CKnoewledlge       KCnoewl dlge      CKnoewl dlge
                        Sequnce
           53 WC                         KCnoewl dlge           CKnoewledlge        CKnoewl dlge        KCnoewl dlge        CKnoewl dlge     CKnoewl dlge 80 ca
                         Sequnce                                                                                                                                          29
                                                                                                                                                                          .
                                                                                                                                                                          FIG

                   53 wb CKnoewledlge                           CKnoewledlge        CKnoewl dlge       CKnoewledlge        CKnoewl dlge      CKnoewledlge
                                                                                                                                                          8 0 c b
                         Sequnce                        ??




  CofSolequctnioes 53 wa Sequ nce CKnoewledlge          :
                                                                CKneowledlge CKnoewl dlge               CKnoewledlge       CelKnowledge      CKnoewl dlge
                                                                                                                                                                    540
  Decison -makingUnit                                                                                                                                                125
                                                                                                                                                                    93
         Procesing
  Object Unit
                                   Re
                                   Ob
                                  Coll
                                  of
                                  Ob
                                  Rep Col
                                       of
                                       Rep
                                       Ob                    525en Col
                                                             Rep
                                                             Ob
                                                             of
                                                             Coll  of
                                                                   525e1
                                                                   Rep
                                                                   Obi         5250n Col
                                                                               Rep
                                                                               Ob
                                                                               of
                                                                               Col   Ob
                                                                                     of
                                                                                     52501
                                                                                     Rep            Obi
                                                                                                    of
                                                                                                    Coll
                                                                                                    525cn Col
                                                                                                    Rep   525c1
                                                                                                          Rep
                                                                                                          Obi
                                                                                                          of           525bn Coll
                                                                                                                       Rep
                                                                                                                       Ob
                                                                                                                       Colof 5251 Col
                                                                                                                             Rep
                                                                                                                             Ob
                                                                                                                             of   ofO5b2j5Raenp Coll
                                                                                                                                                Rep
                                                                                                                                                Ob
                                                                                                                                                of
                                                                                                                                                525a1
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 100
 130                                                                                                             11


                                               215
                                                     Arithmeic          UnitLogic
                                                                                                         214
                                                                                          RAergisateyr
                                                      DInestcroudeirn                                                       FIG
                                                                                                                            30
                                                                                                                            .

                                                                                    213
                                                     IRnsetgriucteonr
                                                                                    212                                     12

       MUDCnAiDtO Iondtifercaon                      CPorungtream
                                    Proces r                                        211                            Memory
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                           100        130
       DCADO Unit
                    Modification Interface
                                                          250
                                              Logic Circuit
         input 1                                                             output 1
         input 2                                                             output 2
         input 3                                                             power

         input 4                                                             ground

                     251
                                             FIG . 31A

                                                              100   130
                                     DCADO Unit Modification Interface


                                 Logic Circuit
         input 1                                                             output 1
         input 2                                                             output 2
                                                              251
         input 3                                                             power

         input 4                                                             ground

                          250
                                             FIG . 31B
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                     9125Step                                                      9130Step                                                                                                 9135Step                                                                                                                                           9140Step                                                                                                                                                                                                 9145Step



                                                                              ofocfrthewepblijsernctsaihotns                                            mapisatldthatteahrtaemicsrnahtelg oofcthefandrebplijsercntsaiotns                                                                                    setsforimoreoneorftheensxitrcu tsiotngfthewcdoipervtlaischtendg                                                                                                                   oneormoreo,bythedperfvaotrimconesgsetsforoneormoreibythefdnesitfriucnsteitodnfthewcdopiervrtlaischtendg
             rofocanewepblsjenictva ontgs              oofcnewtheblmjpeactritong                                                                                            bthenewcofoeltjwecteiont
                                                                                                                                                                                                                                                                                                                                                                               coforepbljscnetaions                                                                                                                                                                                                  crofoepbljsncetaions
                                                                                                                repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            32
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            FIG




 M9e1th0od
                     rofocafepblijsernctvsainotgs                                         forisetsmoreoneorfranesitcreuicvstiotng                                                                                                                                                                                                                                                           cthefsrofoetpbiljsrencitsatognssetsmoreioneorfwiththec9120nSteposirtrueclstaiotend
                                                                                                                                                                                                             ofocthefblrijerlcatsiotngmoreoneorfwithther9115Stepepisrentsaitonsforsithedonpetvruatic snoeg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         dtheoforpevraitcneg
                                                                                                                              doae9110pStepvriatcieng
                                            9105Step
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                                                                                                                                                                                                                                                                                      9230Step                                                                                                                                                                                          9235Step



             ranewcofoeStep9220pblrejsicnvetacinogts   setsforimoreoneorthefanstircupsatitongthefwcdoipervtlaischendg onatbrofocepalsjenctaeiod9225Steptofcnnewthesbompaleatrcwateicsoahntlofcthefandroeplibesrjcntsaiconts                        setsforiormoreonethefenxsitrcutsiotngfthewcdoipervtlaischendg                                                                                                                  oneormoreo,bythedperfvoaritmconegssetsforoneormoreibythefdnesitfriucnsteitodn fthewcdopiervtalischtendg
                                                                                                                                                                                                                                                                                                                   coforeplbjscnetaions                                                                                                                                                                                                     coforeplbjscnetaions
                                                                                                                                                                                                                              roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FIG




 M9e2th0od
                     rofocafepblijsernctvsainotgs                                                                                                        setsforimoreoneorfnraseticreuictvsiotng                                                                                                                                rofocftlepbiajhsrenctsaieotgnssetsimoreoneorfwiththe9215cnStepsoitrruecltsaiotend
                                                                                                                                                                                                                                                                                                                                                                                                            dtheoforepvriatceng
                                                                                                                                                                                           daoe9210pStepvriatcieng
                                           9205Step
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                     9325Step                                                                           9S3te0p

                                                                                                                                                                                                                                    Step93ofscotlistre5cteioansm
                                                                                                                                                                                                                                                                                                                                                                                           othecdwsf9Spetri3varilte4scanh0petmgd                                                                                                                                                                                   9Ssfthewcdt3oirep4vrtlsia5phcmendg
             ocofsranewebltcjrietvcaontmsg                         oofcsnewthebltmjrepcatrciotnmgcofsftwroelpirhscentsiaeohtmns                                               mpaisatltdthateahrtaemicsrnahtelg ofcthenewsboetlrjwcetiaconmts                                                                                                          setsforimoreoneorfethenxsitrcutsitnog                                                                                                                                                  oneormoreo,bythedperfvaotrimconesgsetsforoneormoreibythefdnesitfriucnsteitodn
                                                                                                                                                                                                                                          theandrep sentaions                                                                                                                                                                 ofcoreplbjscentiaotsn                                                                                                                                                                                              coforelpbjscentiaconts
                                             repsntaio reoofpbsjnteacionts                                                                                                                                                                                         orepbjsnetacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FIG




 M9e3th0od
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                                                                                    9S4t3e0p                                                                                                                            9435Step                                                                                                                      9440Step                                                                                                                                      9445Step



             ranewcofoeStep9425pblrejsicventacinogts                           ofocfrthewepblijsernctsaihotns                                                                    mapisatldthatteahrtaemicsrnahtelg ocofthefandrebplijsercntsaiotns                                                                            riecreciuvintg of
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                                             9405Step
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                     9525Step                                                      9S5t3e0p                                                                                                                                      9535Step                                                                                                                                  9540Step



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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       FIG




 M9e5th0od
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                                            9505Step
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                     9625Step                                                      9S6t3e0p                                                                                                                                                      9635Step                                                                                                                        9640Step                                                                                                                                        9645Step



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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FIG




 M9e6th0od
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                                            9605Step
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                                                                   615ab
  615a                                                     1



                                                           26m
                                701

                     970                           2740
                                                           15m
                           A.               346
                                            °                                           38
                                                                                        .
                                                                                        FIG


                                                   615ac
           98a
                      35m


                 .




   615ad
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                                                                    615b
                                                                   90m
                                                                            7.

               615ba           1 0m                    149
                                                        710
                                                                             98b 3080                        39
                                                                                                             .
                                                                                                             FIG

                                                             ***
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          ON




                                               120 1
    We
                       615bd
                                                                                                      190m
                                                                                        615bc
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                                                                10000


                   mu
                                                                        615b                                     BER



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                                                                                7.

           615ba            110m                   1490
                                                                                 98b 308                               40
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                                                                                                                       FIG
                                                    710
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                      seanno



                                            120m
                    615bd                                                                                  120




                                                          450                              615bc       2
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                                                     US 11,238,344 B1
                                 1                                                                 2
      ARTIFICIALLY INTELLIGENT SYSTEMS ,                              correlated with the first one or more instruction sets for
     DEVICES , AND METHODS FOR LEARNING                               operating the device . The artificial intelligence unit may be
               AND /OR USING A DEVICE'S                               further configured to : receive a new collection of object
        CIRCUMSTANCES FOR AUTONOMOUS                                 representations, the new collection of object representations
                    DEVICE OPERATION                               5 including one or more representations of objects detected by
                                                                      the sensor. The artificial intelligence unit may be further
            CROSS REFERENCE TO RELATED                                configured to : anticipate the first one or more instruction sets
                    APPLICATION                                       for operating the device correlated with the first collection of
                                                                      object representations based on at least a partial match
   This application is aa continuation of, and claims priority 10 between   the new collection of object representations and the
 under 35 U.S.C. § 120 from , nonprovisional U.S. patent ligence unit mayofbeobject
                                                                  first collection          representations. The artificial intel
                                                                                       further configured to : cause the proces
 application Ser. No. 15 /340,991 entitled “ ARTIFICIALLY             sor circuit to execute the first one or more instruction sets for
 INTELLIGENT SYSTEMS , DEVICES , AND METHODS                          operating the device correlated with the first collection of
 FOR LEARNING AND /OR USING A DEVICE'S CIR
 CUMSTANCES FOR AUTONOMOUS DEVICE OPERA- 15 object representations, the causing performed in response to
 TION ” , filed on Nov. 2 , 2016. The disclosure of the fore          the anticipating of the artificial intelligence unit, wherein the
 going document is incorporated herein by reference .                 device performs one or more operations defined by the first
                                                              one or more instruction sets for operating the device corre
                              FIELD                           lated with the first collection of object representations, the
                                                           20 one or more operationsperformed in response to the execut
   The disclosure generally relates to computing enabled ing by the processor circuit .
                                                                 In some embodiments, at least one of: the processor
 devices and / or systems. The disclosure includes devices, circuit
 apparatuses , systems , and related methods for providing gence    , the memory unit , the sensor, or the artificial intelli
 advanced learning, anticipating, decision making , automa          unit are part of, operating on , or coupled to the device .
 tion, and / or other functionalities.                             25 In further embodiments, the device includes one or more
                                                                devices. In further embodiments, the device includes a
                    COPYRIGHT NOTICE                            construction machine, an assembly machine , an object han
                                                                dling machine, an object dispensing machine, a sorting
    A portion of the disclosure of this patent document machine , a restocking machine , an industrial machine , an
 contains material which is subject copyright protection. 30 agricultural machine , a harvesting machine , an appliance, a
 The copyright owner has no objection to the facsimile toy, a robot , a ground vehicle , an aerial vehicle , an aquatic
 reproduction by anyone of the patent document or the patent vehicle , a computer, a smartphone, control device, or a
 disclosure as it appears in the Patent and Trademark Office computing enabled device . In further embodiments, the
 patent file or records, but otherwise reserves all copyright processor circuit includes one or more processor circuits . In
 rights whatsoever.                                          35 further embodiments , the processor circuit includes a logic
                                                                circuit . The logic circuit may include a microcontroller. The
                       BACKGROUND                               one or more instruction sets may include one or more inputs
                                                               into or one or more outputs from the logic circuit.
    Devices or systems commonly operate by receiving a            In certain embodiments, the processor circuit includes a
 user's operating directions in various circumstances. 40 logic circuit, the instruction sets for operating the device
 Instructions are then executed to effect the operation of a include inputs into the logic circuit , and executing instruc
 device or system based on user's operating directions . tion sets for operating the device includes performing logic
 Hence, devices or systems rely on the user to direct their operations on the inputs into the logic circuit and producing
 behaviors. Commonly employed device or system operating outputs for operating the device . The logic circuit includes
 techniques lack a way to learn operation of a device or 45 a microcontroller.
 system and enable autonomous operation of a device or            In some embodiments, the processor circuit includes a
 system .                                                      logic circuit, the instruction sets for operating the device
                                                               include outputs from the logic circuit for operating the
                        SUMMARY                                device, and executing instruction sets for operating the
                                                            50 device includes performing logic operations on inputs into
    In some aspects , the disclosure relates to a system for          the logic circuit and producing the outputs from the logic
 learning and using a device's circumstances for autonomous           circuit for operating the device .
 device operating. The system may be implemented at least                In certain embodiments, the memory unit includes one or
 in part on one or more computing devices . In some embodi-           more memory units . In further embodiments , the memory
 ments, the system comprises a processor circuit configured 55 unit resides on a remote computing device or a remote
 to execute instruction sets for operating a device . The system computing system , the remote computing device or the
 may further include a memory unit configured to store data .         remote computing system coupled to the processor circuit
 The system may further include a sensor configured to detect         via aa network or an interface. The remote computing device
 objects. The system may further include an artificial intel-         or the remote computing system may include a server, a
 ligence unit . The artificial intelligence unit may be config- 60 cloud , a computing device , or a computing system acces
 ured to : receive a first collection of object representations,      sible over the network or the interface .
 the first collection of object representations including one or     In some embodiments , the sensor includes one or more
 more representations of objects detected by the sensor . The sensors. In further embodiments, the sensor includes a
 artificial intelligence unit may be further configured to : camera , a microphone , a lidar, a radar, a sonar, or a detector.
 receive a first one or more instruction sets for operating the 65 In further embodiments, the sensor is part of a remote
 device . The artificial intelligence unit may be further con- device. In further embodiments, the sensor is configured to
 figured to learn the first collection of object representations detect objects in the device's surrounding.
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                                                    US 11,238,344 B1
                               3                                                                 4
    In certain embodiments , the artificial intelligence unit is representations subsequent to the first collection of object
 coupled to the sensor . In further embodiments, the artificial representations, the collections of object representations
 intelligence unit is coupled to the memory unit. In further subsequent to the first collection of object representations
 embodiments , the artificial intelligence unit is part of, oper- comprising the new collection of object representations. In
               2

 ating on, or coupled to the processor circuit . In further 5 further embodiments, the first collection of object represen
 embodiments , the system further comprises: an additional tations includes a comparative collection of object repre
 processor circuit, wherein the artificial intelligence unit is sentations that can be used for comparisons with the new
 part of, operating on , or coupled to the additional processor collection of object representations. In further embodiments ,
 circuit . In further embodiments , the artificial intelligence the new collection of object representations includes an
 unit is part of, operating on , or coupled to a remote com- 10 anticipatory collection of object representations whose cor
 puting device or a remote computing system , the remote related one or more instruction sets can be used for antici
 computing device or the remote computing system coupled pation of one or more instruction sets to be executed by the
 to the processor circuit via a network or an interface . In processor circuit.
 further embodiments, the artificial intelligence unit includes      In certain embodiments , the first one or more instruction
 a circuit, a computing apparatus, or a computing system 15 sets for operating the device include one or more instruction
 attachable to the processor circuit . In further embodiments, sets that temporally correspond to the first collection of
 the artificial intelligence unit includes a circuit, a computing object representations. In further embodiments, the one or
 apparatus, or a computing system attachable to the device . In more instruction sets that temporally correspond to the first
 further embodiments, the artificial intelligence unit is attach- collection of object representations include one or more
 able to an application for operating the device, the applica- 20 instruction sets executed at a time of generating the first
 tion running on the processor circuit . In further embodi- collection of object representations. In further embodiments ,
 ments, the artificial intelligence unit includes a circuit , a the one or more instruction sets that temporally correspond
 computing apparatus, or a computing system built into the to the first collection of object representations include one or
 processor circuit. In further embodiments, the artificial intel- more instruction sets executed prior to generating the first
 ligence unit includes a circuit, a computing apparatus, or a 25 collection of object representations. In further embodiments,
 computing system built into the device . In further embodi- the one or more instruction sets that temporally correspond
 ments, the artificial intelligence unit is built into an appli- to the first collection of object representations include one or
 cation for operating the device, the application running on more instruction sets executed within aa threshold period of
 the processor circuit . In further embodiments, the artificial time prior to generating the first collection of object repre
 intelligence unit is provided as a feature of the processor 30 sentations. In further embodiments, the one or more instruc
 circuit . In further embodiments, the artificial intelligence tion sets that temporally correspond to the first collection of
 unit is provided as a feature of an application running on the    object representations include one or more instruction sets
 processor circuit. In further embodiments, the artificial intel- executed subsequent to generating the first collection of
 ligence unit is provided as a feature of the device . In further object representations. In further embodiments , the one or
 embodiments, the artificial intelligence unit is further con- 35 more instruction sets that temporally correspond to the first
 figured to : take control from , share control with, or release collection of object representations include one or more
 control to the processor circuit. In further embodiments, the instruction sets executed within aa threshold period of time
 artificial intelligence unit is further configured to : take subsequent to generating the first collection of object rep
 control from , share control with , or release control to an      resentations. In further embodiments , the one or more
 application or an object of the application , the application 40 instruction sets that temporally correspond to the first col
 running on the processor circuit.                                lection of object representations include one or more instruc
    In some embodiments, the first collection of object rep- tion sets executed within a threshold period of time prior to
 resentations includes one or more representations of objects generating the first collection of object representations or a
 detected by the sensor at a time . In further embodiments, the threshold period of time subsequent to generating the first
 new collection of object representations includes one or 45 collection of object representations.
 more representations of objects detected by the sensor at a       In some embodiments, the first one or more instruction
 time . In further embodiments , the first collection of object sets for operating the device are executed by the processor
 representations includes a stream of collections of object        circuit. In further embodiments , the first one or more instruc
 representations. In further embodiments , the new collection      tion sets for operating the device are part of an application
 of object representations includes a stream of collections of 50 for operating the device , the application running on the
 object representations. In further embodiments, the first or processor circuit . In further embodiments , the first one or
 the new collection of object representations includes or is more instruction sets for operating the device include one or
 associated with a time stamp, an order, or a time related more inputs into or one or more outputs from the processor
 information . In further embodiments , the first or the new circuit . In further embodiments, the first one or more instruc
 collection of object representations includes one or more 55 tion sets for operating the device include values or states of
 representations of objects in the device's surrounding. In one or more registers or elements of the processor circuit . In
 further embodiments , the first or the new collection of object further embodiments, the first one or more instruction sets
 representations includes one or more representations of for operating the device include at least one of: a command ,
 objects in a remote device's surrounding. In further embodi- a keyword , a symbol, an instruction , an operator, a variable,
 ments , an object representation of the one or more object 60 a value , an object, a data structure, a function , a parameter,
 representations includes one or more object properties. In a state , a signal, an input, an output, a character, a digit , or
 further embodiments, the first or the new collection of object a reference thereto . In further embodiments , the first one or
 representations includes one or more object properties. In more instruction sets for operating the device include a
 further embodiments , the first collection of object represen- source code, a bytecode , an intermediate code , a compiled
 tations includes a comparative collection of object repre- 65 code , an interpreted code , a translated code , a runtime code ,
 sentations whose at least one portion can be used for an assembly code , a structured query language ( SQL) code ,
 comparisons with at least one portion of collections of object or a machine code . In further embodiments , the first one or
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 more instruction sets for operating the device include one or for operating the device includes receiving the first one or
 more code segments, lines of code, statements, instructions, more instruction sets for operating the device from the
 functions, routines , subroutines , or basic blocks . In further application .
 embodiments, the processor circuit includes a logic circuit .         In certain embodiments, the receiving the first one or
 The first one or more instruction sets for operating the device 5 more instruction sets for operating the device includes
 may include one or more inputs into a logic circuit . The first receiving      the one or more instruction sets at a source code
 one or more instruction sets for operating the device may write time , a compile time , an interpretation time , a trans
 include one or more outputs from a logic circuit .                 lation time , a linking time , a loading time , or a runtime. In
                                                                    further  embodiments, the receiving the first one or more
 setsInforcertain embodiments, the first one or more instruction
            operating the device include one or more instruction 10 instruction  sets for operating the device includes at least one
                                                                    of: tracing, profiling, or instrumentation of a source code , a
 sets for operating an application or an object of the appli bytecode         , an intermediate code, a compiled code , an inter
 cation , the application running on the processor circuit. In preted code        , a translated code , a runtime code , an assembly
 further embodiments, the receiving the first one or more
 instruction sets for operating the device includes obtaining 15 code    , a structured query language ( SQL ) code, or a machine
 the first one or more instruction sets for operating the device more. In
                                                                   code       further embodiments, the receiving the first one or
                                                                           instruction  sets for operating the device includes at
 from the processor circuit. In further embodiments , the least one of: tracing             , profiling, or instrumentation of an
 receiving the first one or more instruction sets for operating element that is part of, operating on, or coupled to the
 the device includes receiving the first one or more instruc- processor circuit . In further embodiments, the receiving the
 tion sets for operating the device as they are executed by the 20 first one or more instruction sets for operating the device
 processor circuit . In further embodiments , the receiving the includes at least one of: tracing, profiling, or instrumentation
 first one or more instruction sets for operating the device of a register of the processor circuit , the memory unit , a
 includes receiving the first one or more instruction sets for storage, or a repository where the first one or more instruc
 operating the device from a register or an element of the tion sets for operating the device are stored . In further
 processor circuit . In further embodiments, the receiving the 25 embodiments, the receiving the first one or more instruction
 first one or more instruction sets for operating the device sets for operating the device includes at least one of: tracing,
 includes receiving the first one or more instruction sets for profiling, or instrumentation of the processor circuit, the
 operating the device from an element that is part of, oper- device, a virtual machine , a runtime engine, an operating
 ating on, or coupled to the processor circuit . In further system , an execution stack, a program counter, or a process
 embodiments , the receiving the first one or more instruction 30 ing element. In further embodiments, the receiving the first
               ?

 sets for operating the device includes receiving the first one one or more instruction sets for operating the device
 or more instruction sets for operating the device from at least includes at least one of: tracing, profiling, or instrumentation
 one of: the memory unit, the device , a virtual machine, a of the processor circuit or tracing, profiling, or instrumen
 runtime engine, a hard drive, a storage device, a peripheral tation of a component of the processor circuit. In further
 device , a network connected device, or a user . In further 35 embodiments , the receiving the first one or more instruction
 embodiments, the receiving the first one or more instruction sets for operating the device includes at least one of: tracing,
 sets for operating the device includes receiving the first one profiling, or instrumentation of an application or an object of
 or more instruction sets for operating the device from a the application, the application running on the processor
 plurality of processor circuits, applications, memory units , circuit . In further embodiments, the receiving the first one or
 devices, virtual machines , runtime engines, hard drives, 40 more instruction sets for operating the device includes at
 storage devices , peripheral devices , network connected least one of: tracing, profiling, or instrumentation at a source
 devices, or users .                                              code write time , a compile time , an interpretation time , a
    In some embodiments, the processor circuit includes a translation time , a linking time , a loading time , or a runtime.
 logic circuit , and wherein the receiving the first one or more In further embodiments, the receiving the first one or more
 instruction sets for operating the device includes receiving 45 instruction sets for operating the device includes at least one
 the first one or more instruction sets for operating the device of: tracing, profiling, or instrumentation of one or more of
 from the logic circuit . In further embodiments, the logic code segments, lines of code, statements, instructions, func
 circuit includes a microcontroller. In further embodiments ,        tions , routines, subroutines, or basic blocks . In further
 the receiving the first one or more instruction sets for embodiments, the receiving the first one or more instruction
 operating the device from the logic circuit includes receiving 50 sets for operating the device includes at least one of: tracing,
 the first one or more instruction sets for operating the device profiling, or instrumentation of a user input. In further
 from an element of the logic circuit. In further embodiments , embodiments, the receiving the first one or more instruction
 the receiving the first one or more instruction sets for sets for operating the device includes at least one of: a
 operating the device from the logic circuit includes receiving manual, an automatic , a dynamic , or a just in time ( JIT )
 one or more inputs into the logic circuit . In further embodi- 55 tracing, profiling, or instrumentation . In further embodi
 ments , the receiving the first one or more instruction sets for ments, the receiving the first one or more instruction sets for
 operating the device from the logic circuit includes receiving operating the device includes utilizing at least one of: a
 one or more outputs from the logic circuit .                      .NET tool , a .NET application programming interface (API ),
    In certain embodiments , the receiving the first one or a Java tool , a Java API , a logging tool , or an independent tool
 more instruction sets for operating the device includes 60 for obtaining instruction sets. In further embodiments, the
 receiving the first one or more instruction sets for operating receiving the first one or more instruction sets for operating
 the device from an application for operating the device, the the device includes utilizing an assembly language. In
 application running on the processor circuit.                     further embodiments, the receiving the first one or more
    In some embodiments, the system further comprises: an instruction sets for operating the device includes utilizing a
 application including instruction sets for operating the 65 branch or a jump. In further embodiments , the receiving the
 device, the application running on the processor circuit , first one or more instruction sets for operating the device
 wherein the receiving the first one or more instruction sets includes a branch tracing or a simulation tracing. In further
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 embodiments, the system further comprises: an interface data structure . In further embodiments, each of the plurality
                                                                                                           2

 configured to receive instruction sets , wherein the first one of collections of object representations correlated with one
 or more instruction sets for operating the device are received or more instruction sets for operating the device is included
 by the interface. The interface may include an acquisition in a neuron , a node, a vertex , or an element of a knowl
 interface .                                                    5 edgebase. The knowledgebase may include a neural net
    In some embodiments, the first collection of object rep- work , a graph, a collection of sequences, a sequence , a
 resentations correlated with the first one or more instruction collection of knowledge cells , a knowledge structure , or a
 sets for operating the device include a knowledge of how the data structure. Some of the neurons, nodes, vertices, or
 device operated in a circumstance . In further embodiments , elements may be interconnected . In further embodiments ,
 the first collection of object representations correlated with 10 the plurality of collections of object representations corre
 the first one or more instruction sets for operating the device lated with one or more instruction sets for operating the
 are included in a neuron , a node , a vertex , or an element of device include a user's knowledge, style , or methodology of
 a knowledgebase . In further embodiments, the knowledge- operating the device in circumstances. In further embodi
 base includes a neural network , a graph , a collection of ments, the plurality of collections of object representations
 sequences, a sequence, a collection of knowledge cells , a 15 correlated with one or more instruction sets for operating the
 knowledge structure, or a data structure . In further embodi- device are stored on a remote computing device or a remote
 ments , some of the neurons, nodes , vertices, or elements are computing system . In further embodiments, the plurality of
 interconnected . In further embodiments , the first collection collections of object representations correlated with one or
 of object representations correlated with the first one or more instruction sets for operating the device include an
 morea instruction sets for operating the device are structured 20 artificial intelligence system for knowledge structuring, stor
 into a knowledge cell . In further embodiments, the knowl- ing , or representation. The artificial intelligence system for
 edge cell is included in a neuron , a node, a vertex , or an knowledge structuring, storing, or representation may
 element of a knowledgebase. The knowledgebase may include at least one of: a deep learning system , a supervised
 include a neural network , a graph, a collection of sequences , learning system , an unsupervised learning system , a neural
 a sequence, a collection of knowledge cells , a knowledge 25 network , a search -based system, an optimization-based sys
 structure , or a data structure . Some of the neurons , nodes, tem , a logic -based system , a fuzzy logic -based system , a
 vertices, or elements may be interconnected . In further tree - based system , a graph -based system , a hierarchical
 embodiments, the learning the first collection of object system , a symbolic system , a sub - symbolic system , an
 representations correlated with the first one or more instruc- evolutionary system , a genetic system , a multi -agent system ,
 tion sets for operating the device includes correlating the 30 a deterministic system , a probabilistic system , or a statistical
 first collection of object representations with the first one or system .
 more instruction sets for operating the device. In further         In some embodiments, the anticipating the first one or
 embodiments, the correlating the first collection of object more instruction sets for operating the device correlated with
 representations with the first one or more instruction sets for the first collection of object representations based on at least
 operating the device includes generating a knowledge cell , 35 a partial match between the new collection of object repre
 the knowledge cell comprising the first collection of object sentations and the first collection of object representations
 representations correlated with the first one or more instruc- includes comparing at least one portion of the new collection
 tion sets for operating the device. In further embodiments , of object representations with at least one portion of the first
 the correlating the first collection of object representations collection of object representations. In further embodiments,
 with the first one or more instruction sets for operating the 40 the at least one portion of the new collection of object
 device includes structuring a knowledge of how the device representations include at least one object representation or
 operated in a circumstance . In further embodiments, the at least one object property of the new collection of object
 learning the first collection of object representations corre- representations. In further embodiments, the at least one
 lated with the first one or more instruction sets for operating portion of the first collection of object representations
 the device includes learning a user's knowledge, style, or 45 include at least one object representation or at least one
 methodology of operating the device in a circumstance .           object property of the first collection of object representa
    In certain embodiments, the learning the first collection of tions . In further embodiments, the anticipating the first one
 object representations correlated with the first one or more or more instruction sets for operating the device correlated
 instruction sets for operating the device includes storing the with the first collection of object representations based on at
 first collection of object representations correlated with the 50 least a partial match between the new collection of object
 first one or more instruction sets for operating the device into representations and the first collection of object representa
 the memory unit, the first collection of object representa- tions includes comparing at least one object representation
 tions correlated with the first one or more instruction sets for from the new collection of object representations with at
 operating the device being part of a plurality of collections least one object representation from the first collection of
 of object representations correlated with one or more 55 object representations. In further embodiments, the compar
 instruction sets for operating the device stored in the ing at least one object representation from the new collection
 memory unit . In further embodiments, the plurality of col- of object representations with at least one object represen
 lections of object representations correlated with one or tation from the first collection of object representations
 more instruction sets for operating the device include a includes comparing at least one object property of the at
 neural network , a graph , a collection of sequences, a 60 least one object representation from the new collection of
 sequence, a collection of knowledge cells , a knowledgebase , object representations with at least one object property of the
 a knowledge structure, or a data structure . In further embodi- at least one object representation from the first collection of
 ments, the plurality of collections of object representations object representations.
 correlated with one or more instruction sets for operating the       In certain embodiments, the anticipating the first one or
 device are organized into a neural network , a graph, a 65 more instruction sets for operating the device correlated with
 collection of sequences, a sequence , a collection of knowl- the first collection of object representations based on at least
 edge cells , a knowledgebase, a knowledge structure, or a a partial match between the new collection of object repre
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 sentations and the first collection of object representations representations and at least one object representation from
 includes determining that there is at least a partial match the first collection of object representations. The determin
 between the new collection of object representations and the ing that there is at least a partial match between at least one
 first collection of object representations. In further embodi- object representation from the new collection of object
 ments, the determining that there is at least a partial match 5 representations and at least one object representation from
 between the new collection of object representations and the the first collection of object representations includes deter
 first collection of object representations includes determin- mining that there is at least a partial match between at least
 ing that there is at least a partial match between one or more one object property of the at least one object representation
 portions of the new collection of object representations and from the new collection of object representations and at least
 one or more portions of the first collection of object repre- 10 one object property of the at least one object representation
 sentations . In further embodiments, the determining that from the first collection of object representations.
 there is at least a partial match between the new collection       In certain embodiments, the causing the processor circuit
 of object representations and the first collection of object to execute the first one or more instruction sets for operating
 representations includes determining that a similarity the device correlated with the first collection of object
 between at least one portion of the new collection of object 15 representations includes causing the processor circuit to
 representations and at least one portion of the first collection execute the first one or more instruction sets for operating
 of object representations exceeds a similarity threshold. In the device correlated with the first collection of object
 further embodiments, the determining that there is at least a representations instead of or prior to an instruction set that
 partial match between the new collection of object repre-         would have been executed next. In further embodiments, the
 sentations and the first collection of object representations 20 causing the processor circuit to execute the first one or more
 includes determining a substantial similarity between at least instruction sets for operating the device correlated with the
 one portion of the new collection of object representations first collection of object representations includes modifying
 and at least one portion of the first collection of object        one or more instruction sets of the processor circuit . In
 representations. The substantial similarity may be achieved further embodiments, the causing the processor circuit to
 when aa similarity between the at least one portion of the new 25 execute the first one or more instruction sets for operating
 collection of object representations and the at least one the device correlated with the first collection of object
 portion of the first collection of object representations representations includes modifying a register or an element
 exceeds a similarity threshold . The substantial similarity of the processor circuit . In further embodiments, the causing
 may be achieved when a number or a percentage of match- the processor circuit to execute the first one or more instruc
 ing or partially matching portions of the new collection of 30 tion sets for operating the device correlated with the first
 object representations and portions of the first collection of collection of object representations includes inserting the
 object representations exceeds a threshold number or thresh- first one or more instruction sets for operating the device
 old percentage. In further embodiments , the determining that correlated with the first collection of object representations
 there is at least a partial match between the new collection into a register or an element of the processor circuit . In
 of object representations and the first collection of object 35 further embodiments, the causing the processor circuit to
 representations includes determining that a number or a execute the first one or more instruction sets for operating
 percentage of matching or partially matching object repre- the device correlated with the first collection of object
 sentations from the new collection of object representations representations includes redirecting the processor circuit to
 and from the first collection of object representations the first one or more instruction sets for operating the device
 exceeds a threshold number or threshold percentage. The 40 correlated with the first collection of object representations.
 matching or partially matching object representations from In further embodiments, the causing the processor circuit to
 the new collection of object representations and from the execute the first one or more instruction sets for operating
 first collection of object representations may be determined the device correlated with the first collection of object
 factoring in at least one of: a type of an object representation, representations includes redirecting the processor circuit to
 an importance of an object representation, aa threshold for a 45 one or more alternate instruction sets, the alternate instruc
 similarity in an object representation , or a threshold for a tion sets comprising the first one or more instruction sets for
 difference in an object representation. In further embodi- operating the device correlated with the first collection of
 ments, the determining that there is at least a partial match object representations. In further embodiments, the causing
 between the new collection of object representations and the the processor circuit to execute the first one or more instruc
 first collection of object representations includes determin- 50 tion sets for operating the device correlated with the first
 ing that a number or a percentage of matching or partially collection of object representations includes transmitting, to
 matching object properties from the new collection of object the processor circuit for execution , the first one or more
 representations and from the first collection of object rep- instruction sets for operating the device correlated with the
 resentations exceeds a threshold number or threshold per- first collection of object representations. In further embodi
 centage. The matching or partially matching object proper- 55 ments, the executing the first one or more instruction sets for
 ties from the new collection of object representations and operating the device correlated with the first collection of
 from the first collection of object representations may be object representations includes issuing an interrupt to the
 determined factoring in at least one of: an association of an processor circuit and executing the first one or more instruc
 object property with an object representation , a category of tion sets for operating the device correlated with the first
 an object property, an importance of an object property, a 60 collection of object representations following the interrupt.
 threshold for a similarity in an object property, or a threshold In further embodiments, the causing the processor circuit to
 for a difference in an object property . In further embodi- execute the first one or more instruction sets for operating
 ments, the determining that there is at least a partial match the device correlated with the first collection of object
 between the new collection of object representations and the representations includes modifying an element that is part
 first collection of object representations includes determin- 65 of, operating on , or coupled to the processor circuit .
 ing that there is at least a partial match between at least one     In some embodiments, the processor circuit includes a
 object representation from the new collection of object logic circuit , and wherein the causing the processor circuit
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 to execute the first one or more instruction sets for operating correlated with the first collection of object representations
 the device correlated with the first collection of object includes modifying one or more instruction sets of an
 representations includes causing the logic circuit to execute application, the application running on the processor circuit .
 the first one or more instruction sets for operating the device In further embodiments, the causing the processor circuit to
 correlated with the first collection of object representations. 5 execute the first one or more instruction sets for operating
 In further embodiments , the logic circuit includes a micro- the device correlated with the first collection of object
 controller. In further embodiments, the causing the logic representations includes modifying a source code , a byte
 circuit to execute the first one or more instruction sets for code , an intermediate code , a compiled code , an interpreted
 operating the device correlated with the first collection of code , a translated code, a runtime code, an assembly code ,
 object representations includes modifying an element of the 10 or a machine code . In further embodiments, the causing the
 logic circuit. In further embodiments, the causing the logic processor circuit to execute the first one or more instruction
 circuit to execute the first one or more instruction sets for sets for operating the device correlated with the first collec
 operating the device correlated with the first collection of tion of object representations includes modifying at least one
 object representations includes inserting the first one or of: the memory unit , a register of the processor circuit, a
 more instruction sets for operating the device correlated with 15 storage, or a repository where instruction sets are stored or
 the first collection of object representations into an element used . In further embodiments , the causing the processor
 of the logic circuit . In further embodiments, the causing the circuit to execute the first one or more instruction sets for
 logic circuit to execute the first one or more instruction sets operating the device correlated with the first collection of
 for operating the device correlated with the first collection of object representations includes modifying one or more
 object representations includes redirecting the logic circuit 20 instruction sets for operating an application or an object of
 to the first one or more instruction sets for operating the the application , the application running on the processor
 device correlated with the first collection of object repre- circuit. In further embodiments, the causing the processor
 sentations. In further embodiments, the causing the logic          circuit to execute the first one or more instruction sets for
 circuit to execute the first one or more instruction sets for      operating the device correlated with the first collection of
 operating the device correlated with the first collection of 25 object representations includes modifying at least one of: an
 object representations includes replacing inputs into the element of the processor circuit, an element of the device, a
 logic circuit with the first one or more instruction sets for virtual machine , a runtime engine, an operating system , an
 operating the device correlated with the first collection of execution stack , a program counter, or a user input. In
 object representations. In further embodiments, the causing further embodiments, the causing the processor circuit to
 the logic circuit to execute the first one or more instruction 30 execute the first one or more instruction sets for operating
 sets for operating the device correlated with the first collec- the device correlated with the first collection of object
 tion of object representations includes replacing outputs representations includes modifying one or more instruction
 from the logic circuit with the first one or more instruction sets at a source code write time , a compile time , an inter
 sets for operating the device correlated with the first collec- pretation time , a translation time , a linking time , a loading
 tion of object representations.                                  35 time , or a runtime. In further embodiments, the causing the
    In certain embodiments, the causing the processor circuit processor circuit to execute the first one or more instruction
 to execute the first one or more instruction sets for operating sets for operating the device correlated with the first collec
 the device correlated with the first collection of object tion of object representations includes modifying one or
 representations includes causing an application for operating more code segments, lines of code, statements, instructions,
 the device to execute the first one or more instruction sets for 40 functions, routines, subroutines, or basic blocks . In further
 operating the device correlated with the first collection of embodiments, the causing the processor circuit to execute
 object representations, the application running on the pro- the first one or more instruction sets for operating the device
 cessor circuit.                                                     correlated with the first collection of object representations
    In some embodiments, the system further comprises: an includes a manual, an automatic, a dynamic, or a just in time
 application including instruction sets for operating the 45 (JIT ) instrumentation of an application , the application run
 device , the application running on the processor circuit , ning on the processor circuit . In further embodiments, the
 wherein the causing the processor circuit to execute the first causing the processor circuit to execute the first one or more
 one or more instruction sets for operating the device corre- instruction sets for operating the device correlated with the
 lated with the first collection of object representations first collection of object representations includes utilizing
 includes modifying the application .                             50 one or more of a .NET tool , a .NET application program
    In further embodiments, the causing the processor circuit ming interface (API ) , a Java tool , a Java API , an operating
 to execute the first one or more instruction sets for operating system tool , or an independent tool for modifying instruc
 the device correlated with the first collection of object          tion sets . In further embodiments , the causing the processor
 representations includes redirecting an application to the         circuit to execute the first one or more instruction sets for
 first one or more instruction sets for operating the device 55 operating the device correlated with the first collection of
 correlated with the first collection of object representations, object representations includes utilizing at least one of: a
 the application running on the processor circuit . In further dynamic, an interpreted , or a scripting programming lan
 embodiments, the causing the processor circuit to execute guage . In further embodiments, the causing the processor
 the first one or more instruction sets for operating the device    circuit to execute the first one or more instruction sets for
 correlated with the first collection of object representations 60 operating the device correlated with the first collection of
 includes redirecting an application to one or more alternate object representations includes utilizing at least one of: a
 instruction sets, the application running on the processor dynamic code , a dynamic class loading , or a reflection . In
 circuit , the alternate instruction sets comprising the first one further embodiments, the causing the processor circuit to
 or more instruction sets for operating the device correlated execute the first one or more instruction sets for operating
 with the first collection of object representations. In further 65 the device correlated with the first collection of object
 embodiments, the causing the processor circuit to execute representations includes utilizing an assembly language. In
 the first one or more instruction sets for operating the device further embodiments, the causing the processor circuit to
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 execute the first one or more instruction sets for operating           In some embodiments, the artificial intelligence unit is
 the device correlated with the first collection of object           further configured to : receive at least one extra information .
 representations includes utilizing at least one of: a metapro-      In further embodiments, the at least one extra information
 gramming, a self-modifying code , or an instruction set include one or more of: a time information, a location
 modification tool . In further embodiments, the causing the 5 information , a computed information , or a contextual infor
 processor circuit to execute the first one or more instruction mation . In further embodiments, the at least one extra
 sets for operating the device correlated with the first collec- information include one or more of: an information on an
 tion of object representations includes utilizing at least one object, an information on an object representation, an infor
 of: just in time ( JIT ) compiling, JIT interpretation , JIT 10 mation on a collection of object representations, an infor
 translation , dynamic recompiling , or binary rewriting. In mation on a device's circumstance, an information on an
 further embodiments, the causing the processor circuit to instruction set , an information on an application, an infor
 execute the first one or more instruction sets for operating mation on the processor circuit , an information on the
 the device correlated with the first collection of object device , or an information on an user. In further embodi
 representations includes utilizing at least one of
                                                  : a dynamic 15 ments,, the artificial intelligence unit is further configured to :
 expression creation , a dynamic expression execution, a learn the first collection of object representations correlated
 dynamic function creation, or a dynamic function execution . with the at least one extra information . The learning the first
 In further embodiments , the causing the processor circuit to collection of object representations correlated with at least
 execute the first one or more instruction sets for operating one extra information may include correlating the first
 the device correlated with the first collection of object 20 collection of object representations with the at least one
 representations includes adding or inserting additional code extra information . The learning the first collection of object
 into aa code of an application, the application running on the representations correlated with at least one extra information
 processor circuit. In further embodiments, the causing the may include storing the first collection of object represen
 processor circuit to execute the first one or more instruction tations correlated with the at least one extra information into
 sets for operating the device correlated with the first collec- 25 the memory unit . In further embodiments, the anticipating
 tion of object representations includes at least one of: the first one or more instruction sets for operating the device
 modifying, removing, rewriting, or overwriting a code of an correlated with the first collection of object representations
 application, the application running on the processor circuit . based on at least a partial match between the new collection
 In further embodiments, the causing the processor circuit to of object representations and the first collection of object
 execute the first one or more instruction sets for operating 30 representations includes anticipating the first one or more
 the device correlated with the first collection of object           instruction sets for operating the device correlated with the
 representations includes at least one of: branching, redirect- first collection of object representations based on at least a
  ing , extending, or hot swapping a code of an application , the partial match between an extra information correlated with
 application running on the processor circuit . The branching the new collection of object representations and an extra
  or redirecting the code may include inserting at least one of: 35 information correlated with the first collection of object
 aa branch , a jump, or a means for redirecting an execution . In representations. The anticipating the first one or more
 further embodiments , the executing the first one or more instruction sets for operating the device correlated with the
 instruction sets for operating the device correlated with the first collection of object representations based on at least a
 first collection of object representations includes implement- partial match between an extra information correlated with
 ing a user's knowledge, style, or methodology of operating 40 the new collection of object representations and an extra
 the device in a circumstance .                                      information correlated with the first collection of object
    In certain embodiments, the system further comprises: an representations may include comparing an extra information
 interface configured to cause execution of instruction sets , correlated with the new collection of object representations
 wherein the executing the first one or more instruction sets and an extra information correlated with the first collection
 for operating the device correlated with the first collection of 45 of object representations. The anticipating the first one or
 object representations is caused by the interface . The inter- more instruction sets for operating the device correlated with
 face may include a modification interface .                         the first collection of object representations based on at least
    In some embodiments, the one or more operations defined a partial match between an extra information correlated with
 by the first one or more instruction sets for operating the the new collection of object representations and an extra
 device correlated with the first collection of object repre- 50 information correlated with the first collection of object
 sentations include one or more operations with or by a representations may include determining that a similarity
 computing enabled device . In further embodiments, the between an extra information correlated with the new col
 performing the one or more operations defined by the first lection of object representations and an extra information
 one or more instruction sets for operating the device corre- correlated with the first collection of object representations
 lated with the first collection of object representations 55 exceeds a similarity threshold .
 includes implementing a user's knowledge, style , or meth-             In certain embodiments, the system further comprises : a
 odology of operating the device in a circumstance .                 user interface, wherein the artificial intelligence unit is
    In certain embodiments , the system further comprising: further configured to : cause the user interface to present a
 an application running on the processor circuit .                   user with an option to execute the first one or more instruc
    In some embodiments, the instruction sets for operating 60 tion sets for operating the device correlated with the first
 the device are part of an application for operating the device , collection of object representations .
 the application running on the processor circuit .                     In some embodiments, the system further comprises : a
    In certain embodiments, the system of further comprises: user interface, wherein the artificial intelligence unit is
 an application for operating the device , the application further configured to : receive, via the user interface, a user's
 running on the processor circuit . The application for oper- 65 selection to execute the first one or more instruction sets for
 ating the device may include the instruction sets for oper- operating the device correlated with the first collection of
 ating the device.                                                   object representations.
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    In certain embodiments , the artificial intelligence unit is object representations correlated with the first one or more
 further configured to : rate the executed first one or more instruction sets for operating the device and the second
 instruction sets for operating the device correlated with the collection of object representations correlated with the sec
 first collection of object representations. The rating the ond one or more instruction sets for operating the device .
 executed first one or more instruction sets for operating the 5 The connection may include or be associated with at least
 device correlated with the first collection of object repre- one of: an occurrence count, a weight, a parameter, or a data .
 sentations may include causing a user interface to display In further embodiments, the learning the first collection of
 the executed first one or more instruction sets for operating object representations correlated with the first one or more
 the device correlated with the first collection of object instruction sets for operating the device and the learning the
 representations along with one or more rating values as 10 second collection of object representations correlated with
 options to be selected by a user. The rating the executed first the second one or more instruction sets for operating the
 one or more instruction sets for operating the device corre- device include updating a connection between the first
 lated with the first collection of object representations may collection of object representations correlated with the first
 include rating the executed first one or more instruction sets one or more instruction sets for operating the device and the
 for operating the device correlated with the first collection of 15 second collection of object representations correlated with
 object representations without a user input.                        the second one or more instruction sets for operating the
    In some embodiments , the system further comprises : a device . The updating the connection between the first col
 user interface , wherein the artificial intelligence unit is lection of object representations correlated with the first one
 further configured to : cause the user interface to present a or more instruction sets for operating the device and the
 user with an option to cancel the execution of the executed 20 second collection of object representations correlated with
 first one or more instruction sets for operating the device the second one or more instruction sets for operating the
 correlated with the first collection of object representations. device may include updating at least one of: an occurrence
 In further embodiments, the canceling the execution of the count , a weight, a parameter, or a data included in or
 executed first one or more instruction sets for operating the associated with the connection . In further embodiments, the
 device correlated with the first collection of object repre- 25 learning the first collection of object representations corre
 sentations includes restoring the processor circuit or the lated with the first one or more instruction sets for operating
 device to a prior state . The restoring the processor circuit or the device includes storing the first collection of object
 the device to a prior state may include saving the state of the representations correlated with the first one or more instruc
 processor circuit or the device prior to executing the first one tion sets for operating the device into a first node of a
 or more instruction sets for operating the device correlated 30 knowledgebase , and wherein the learning the second col
 with the first collection of object representations.               lection of object representations correlated with the second
    In certain embodiments, the system further comprises: an one or more instruction sets for operating the device
 input device configured to receive a user's operating direc- includes storing the second collection of object representa
 tions , the user's operating directions for instructing the tions correlated with the second one or more instruction sets
 processor circuit on how to operate the device .                35 for operating the device into a second node of the knowl
    In some embodiments, the autonomous device operating edgebase. The knowledgebase may include a neural net
 includes a partially or a fully autonomous device operating. work , a graph, a collection of sequences , a sequence , a
 The partially autonomous device operating may include collection of knowledge cells , a knowledge structure , or a
 executing the first one or more instruction sets for operating data structure . The knowledgebase may be stored in the
 the device correlated with the first collection of object 40 memory unit. The learning the first collection of object
 representations responsive to a user confirmation . In further representations correlated with the first one or more instruc
 embodiments, the fully autonomous device operating may tion sets for operating the device and the learning the second
 include executing the first one or more instruction sets for collection of object representations correlated with the sec
 operating the device correlated with the first collection of ond one or more instruction sets for operating the device
 object representations without a user confirmation .           45 include creating a connection between the first node and the
    In certain embodiments , the artificial intelligence unit is second node . The learning the first collection of object
 further configured to : receive a second collection of object representations correlated with the first one or more instruc
 representations, the second collection of object representa- tion sets for operating the device and the learning the second
 tions including one or more representations of objects collection of object representations correlated with the sec
 detected by the sensor ; receive a second one or more 50 ond one or more instruction sets for operating the device
 instruction sets for operating the device ; and learn the include updating a connection between the first node and the
 second collection of object representations correlated with second node . In further embodiments, the first collection of
 the second one or more instruction sets for operating the object representations correlated with the first one or more
 device . In further embodiments, the second collection of         instruction sets for operating the device is stored into a first
 object representations includes one or more representations 55 node of a neural network and the second collection of object
 of objects detected by the sensor at a time . In further          representations correlated with the second one or more
 embodiments, the second collection of object representa-          instruction sets for operating the device is stored into a
 tions includes a stream of collections of object representa-      second node of the neural network . The first node and the
 tions . In further embodiments, the second collection of         second node may be connected by a connection . The first
 object representations includes or is associated with a time 60 node may be part of a first layer of the neural network and
 stamp , an order, or a time related information . In further the second node may be part of a second layer of the neural
 embodiments, the learning the first collection of object network . In further embodiments, the first collection of
 representations correlated with the first one or more instruc- object representations correlated with the first one or more
 tion sets for operating the device and the learning the second instruction sets for operating the device is stored into a first
 collection of object representations correlated with the sec- 65 node of a graph and the second collection of object repre
 ond one or more instruction sets for operating the device sentations correlated with the second one or more instruction
 include creating a connection between the first collection of sets for operating the device is stored into a second node of
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 the graph . The first node and the second node may be include: ( e) anticipating the first one or more instruction sets
 connected by a connection . In further embodiments, the first for operating the device correlated with the first collection of
 collection of object representations correlated with the first object representations based on at least a partial match
 one or more instruction sets for operating the device is stored between the new collection of object representations and the
 into aa first node of a sequence and the second collection of 5 first collection of object representations, the anticipating of
 object representations correlated with the second one or            (e ) performed by the processor circuit . The method may
 more instruction sets for operating the device is stored into       further include: ( f) executing the first one or more instruc
 a second node of the sequence .                                   tion sets for operating the device correlated with the first
    In some aspects , the disclosure relates to a non - transitory collection of object representations, the executing of (f)
 computer storage medium having a computer program 10 performed in response to the anticipating of (e ) . The method
 stored thereon , the program including instructions that when may further include : (g ) performing, by the device , one or
 executed by one or more processor circuits cause the one or more operations defined by the first one or more instruction
 more processor circuits to perform operations comprising: sets for operating the device correlated with the first collec
 receiving a first collection of object representations, the first tion of object representations, the one or more operations by
 collection of object representations including one or more 15 the device performed in response to the executing of (f).
 representations of objects detected by a sensor. The opera-          In certain embodiments, the receiving of (b ) includes
 tions may further include: receiving a first one or more receiving the first one or more instruction sets for operating
 instruction sets for operating a device . The operations may the device from the processor circuit or from another pro
 further include : learning the first collection of object repre- cessor circuit . In further embodiments, the executing of ( f)
 sentations correlated with the first one or more instruction 20 is performed by the processor circuit or by another processor
 sets for operating the device . The operations may further          circuit.
 include : receiving a new collection of object representations,       The operations or steps of the non - transitory computer
 the new collection of object representations including one or storage medium and / or the method may be performed by
 more representations of objects detected by the sensor . The any of the elements of the above described systems as
 operations may further include: anticipating the first one or 25 applicable . The non -transitory computer storage medium
 more instruction sets for operating the device correlated with and / or the method may include any of the operations, steps ,
 the first collection of object representations based on at least and embodiments of the above described systems , non
 a partial match between the new collection of object repre- transitory computer storage media , and / or methods as appli
 sentations and the first collection of object representations. cable as well as the following embodiments.
 The operations may further include : causing an execution of 30 In some embodiments , the first one or more instruction
 the first one or more instruction sets for operating the device sets for operating the device are executed by a processor
 correlated with the first collection of object representations, circuit. In further embodiments, the first one or more instruc
 the causing performed in response to the anticipating the tion sets for operating the device are part of an application
 first one or more instruction sets for operating the device for operating the device . In further embodiments , the first
 correlated with the first collection of object representations 35 one or more instruction sets for operating the device include
 based on at least a partial match between the new collection one or more inputs into or one or more outputs from a
 of object representations and the first collection of object processor circuit . In further embodiments, the first one or
 representations, wherein the device performs one or more more instruction sets for operating the device include values
 operations defined by the first one or more instruction sets or states of one or more registers or elements of a processor
 for operating the device correlated with the first collection of 40 circuit . In further embodiments, the first one or more instruc
 object representations, the one or more operations by the tion sets for operating the device include one or more inputs
 device performed in response to the execution .                     into a logic circuit. In further embodiments, the first one or
    In certain embodiments, the receiving the first one or more instruction sets for operating the device include one or
 more instruction sets for operating the device includes more outputs from a logic circuit. In further embodiments,
 receiving the first one or more instruction sets for operating 45 the first one or more instruction sets for operating the device
 the device from the one or more processor circuits or from include one or more instruction sets for operating an appli
 another one or more processor circuits . In further embodi- cation or an object of the application .
 ments, the execution of the first one or more instruction sets         In certain embodiments, the receiving the first one or
 for operating the device correlated with the first collection of more instruction sets for operating the device includes
 object representations is performed by the one or more 50 receiving the first one or more instruction sets for operating
 processor circuits or by another one or more processor the device from a processor circuit. In further embodiments ,
 circuits .                                                          the receiving the first one or more instruction sets for
    In some aspects , the disclosure relates to a method com- operating the device includes receiving the first one or more
 prising: (a ) receiving a first collection of object representa- instruction sets for operating the device as they are executed
 tions by a processor circuit , the first collection of object 55 by a processor circuit . In further embodiments, the receiving
 representations including one or more representations of the first one or more instruction sets for operating the device
 objects detected by a sensor. The method may further includes receiving the first one or more instruction sets for
 include : (b ) receiving a first one or more instruction sets for operating the device from a register or an element of a
 operating a device by the processor circuit . The method may processor circuit . In further embodiments, the receiving the
 further include: (c ) learning the first collection of object 60 first one or more instruction sets for operating the device
 representations correlated with the first one or more instruc- includes receiving the first one or more instruction sets for
 tion sets for operating the device, the learning of (c ) per- operating the device from an element that is part of, oper
 formed by the processor circuit. The method may further ating on, or coupled to a processor circuit . In further
 include : (d) receiving a new collection of object represen- embodiments, the receiving the first one or more instruction
 tations by the processor circuit, the new collection of object 65 sets for operating the device includes receiving the first one
 representations including one or more representations of or more instruction sets for operating the device from at least
 objects detected by the sensor. The method may further one of: the memory unit, the device, a virtual machine , a
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 runtime engine, a hard drive, a storage device, a peripheral operating the device being part of a plurality of collections
 device, a network connected device, or a user. In further of object representations correlated with one or more
 embodiments, the receiving the first one or more instruction instruction sets for operating the device stored in the
 sets for operating the device includes receiving the first one memory unit.
 or more instruction sets for operating the device from a 5 In certain embodiments , the executing the first one or
 plurality of processor circuits, applications, memory units , more instruction sets for operating the device correlated with
 devices, virtual machines , runtime engines, hard drives, the first collection of object representations includes execut
 storage devices , peripheral devices, network connected ing the first one or more instruction sets for operating the
 devices, or users .                                               device correlated with the first collection of object repre
    In some embodiments, the receiving the first one or more 10 sentations instead of or prior to an instruction set that would
                           2

 instruction sets for operating the device includes receiving have been executed next. In further embodiments, the
 the first one or more instruction sets for operating the device executing the first one or more instruction sets for operating
 from a logic circuit . In further embodiments, the logic circuit the device correlated with the first collection of object
 includes a microcontroller. In further embodiments, the representations includes modifying one or more instruction
 receiving the first one or more instruction sets for operating 15 sets of a processor circuit . In further embodiments, the
 the device from the logic circuit includes receiving the first executing the first one or more instruction sets for operating
 one or more instruction sets for operating the device from an the device correlated with the first collection of object
 element of the logic circuit. In further embodiments , the representations includes modifying a register or an element
 receiving the first one or more instruction sets for operating of a processor circuit . In further embodiments, the executing
 the device from the logic circuit includes receiving one or 20 the first one or more instruction sets for operating the device
 more inputs into the logic circuit . In further embodiments, correlated with the first collection of object representations
 the receiving the first one or more instruction sets for includes inserting the first one or more instruction sets for
 operating the device from the logic circuit includes receiving operating the device correlated with the first collection of
 one or more outputs from the logic circuit.                       object representations into a register or an element of a
    In certain embodiments, the receiving the first one or 25 processor circuit . In further embodiments, the executing the
 more instruction sets for operating the device includes first one or more instruction sets for operating the device
 receiving the first one or more instruction sets for operating correlated with the first collection of object representations
 the device from an application for operating the device. In includes redirecting a processor circuit to the first one or
 further embodiments, the receiving the first one or more more instruction sets for operating the device correlated with
 instruction sets for operating the device includes receiving 30 the first collection of object representations. In further
 the first one or more instruction sets for operating the device embodiments, the executing the first one or more instruction
 from an application, the application including instruction sets for operating the device correlated with the first collec
 sets for operating the device . In further embod ents , the tion of object representations includes redirecting a proces
 receiving the first one or more instruction sets for operating sor circuit to one or more alternate instruction sets , the
 the device includes at least one of: tracing, profiling, or 35 alternate instruction sets comprising
                                                                                              ?          the first one or more
 instrumentation of an element that is part of, operating on ,       instruction sets for operating the device correlated with the
 or coupled to a processor circuit. In further embodiments ,         first collection of object representations. In further embodi
 the receiving the first one or more instruction sets for            ments, the executing the first one or more instruction sets for
 operating the device includes at least one of: tracing, pro-        operating the device correlated with the first collection of
 filing, or instrumentation of a register of a processor circuit, 40 object representations includes transmitting, to a processor
 the memory unit, a storage, or a repository where the first circuit for execution , the first one or more instruction sets for
 one or more instruction sets for operating the device are operating the device correlated with the first collection of
 stored . In further embodiments, the receiving the first one or object representations. In further embodiments, the execut
 more instruction sets for operating the device includes at ing the first one or more instruction sets for operating the
 least one of: tracing, profiling, or instrumentation of a 45 device correlated with the first collection of object repre
 processor circuit, the device, a virtual machine , a runtime sentations includes issuing an interrupt to a processor circuit
 engine, an operating system , an execution stack, a program and executing the first one or more instruction sets for
 counter, or a processing element. In further embodiments , operating the device correlated with the first collection of
 the receiving the first one or more instruction sets for object representations following the interrupt . In further
 operating the device includes at least one of: tracing, pro- 50 embodiments, the executing the first one or more instruction
 filing, or instrumentation of a processor circuit or tracing, sets for operating the device correlated with the first collec
 profiling, or instrumentation of a component of a processor tion of object representations includes modifying an element
 circuit . In further embodiments , the receiving the first one or that is part of, operating on , or coupled to a processor circuit .
 more instruction sets for operating the device includes at             In some embodiments, the executing the first one or more
 least one of: tracing, profiling, or instrumentation of an 55 instruction sets for operating the device correlated with the
 application or an object of the application. In further first collection of object representations includes executing ,
 embodiments, the receiving the first one or more instruction by a logic circuit, the first one or more instruction sets for
               >

 sets for operating the device includes receiving the first one operating the device correlated with the first collection of
 or more instruction sets for operating the device by an object representations. In further embodiments, the logic
 interface . The interface may include an acquisition interface . 60 circuit includes a microcontroller. In further embodiments,
    In some embodiments, the learning the first collection of the executing, by the logic circuit, the first one or more
 object representations correlated with the first one or more instruction sets for operating the device correlated with the
 instruction sets for operating the device includes storing the first collection of object representations includes modifying
 first collection of object representations correlated with the an element of the logic circuit. In further embodiments, the
 first one or more instruction sets for operating the device into 65 executing , by the logic circuit, the first one or more instruc
 a memory unit, the first collection of object representations tion sets for operating the device correlated with the first
 correlated with the first one or more instruction sets for           collection of object representations includes inserting the
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 first one or more instruction sets for operating the device device, a virtual machine , a runtime engine, an operating
 correlated with the first collection of object representations system , an execution stack , a program counter, or a user
 into an element of the logic circuit. In further embodiments, input. In further embodiments, the executing the first one or
                                                                                                      >

 the executing, by the logic circuit, the first one or more more instruction sets for operating the device correlated with
 instruction sets for operating the device correlated with the 5 the first collection of object representations includes modi
 first collection of object representations includes redirecting fying one or more instruction sets at a source code write
 the logic circuit to the first one or more instruction sets for time , a compile time , an interpretation time , a translation
 operating the device correlated with the first collection of time , a linking time , a loading time , or a runtime. In further
 object representations. In further embodiments, the execut- embodiments, the executing the first one or more instruction
 ing , by the logic circuit , the first one or more instruction sets 10 sets for operating the device correlated with the first collec
 for operating the device correlated with the first collection of tion of object representations includes modifying one or
 object representations includes replacing inputs into the more code segments, lines of code, statements , instructions,
 logic circuit with the first one or more instruction sets for       functions, routines, subroutines, or basic blocks . In further
 operating the device correlated with the first collection of        embodiments, the executing the first one or more instruction
 object representations. In further embodiments, the execut- 15 sets for operating the device correlated with the first collec
 ing , by the logic circuit , the first one or more instruction sets tion of object representations includes a manual, an auto
 for operating the device correlated with the first collection of matic , a dynamic, or a just in time (JIT ) instrumentation of
 object representations includes replacing outputs from the an application . In further embodiments, the executing the
 logic circuit with the first one or more instruction sets for first one or more instruction sets for operating the device
 operating   the device correlated with the first collection of 20 correlated with the first collection of object representations
 object representations.                                             includes utilizing one or more of a .NET tool , a .NET
    In certain embodiments , the executing the first one or application programming interface ( API), a Java tool , a Java
 more instruction sets for operating the device correlated with API , an operating system tool , or an independent tool for
 the first collection of object representations includes execut- modifying instruction sets . In further embodiments, the
 ing , by an application for operating the device , the first one 25 executing the first one or more instruction sets for operating
 or more instruction sets for operating the device correlated the device correlated with the first collection of object
 with the first collection of object representations. In further representations includes utilizing at least one of: a dynamic ,
 embodiments , the executing the first one or more instruction an interpreted, or a scripting programming language. In
 sets for operating the device correlated with the first collec- further embodiments, the executing the first one or more
 tion of object representations includes modifying an appli- 30 instruction sets for operating the device correlated with the
 cation , the application including instruction sets for operat- first collection of object representations includes utilizing at
 ing the device . In further embodiments, the executing the least one of: a dynamic code , a dynamic class loading, or a
 first one or more instruction sets for operating the device reflection . In further embodiments, the executing the first
 correlated with the first collection of object representations one or more instruction sets for operating the device corre
 includes redirecting an application to the first one or more 35 lated with the first collection of object representations
 instruction sets for operating the device correlated with the includes utilizing an assembly language. In further embodi
 first collection of object representations. In further embodi- ments, the executing the first one or more instruction sets for
 ments, the executing the first one or more instruction sets for operating the device correlated with the first collection of
 operating the device correlated with the first collection of object representations includes utilizing at least one of: a
 object representations includes redirecting an application to 40 metaprogramming, a self-modifying code, or an instruction
 one or more alternate instruction sets, the alternate instruc- set modification tool . In further embodiments, the executing
 tion sets comprising the first one or more instruction sets for the first one or more instruction sets for operating the device
 operating the device correlated with the first collection of correlated with the first collection of object representations
 object representations. In further embodiments, the execut- includes utilizing at least one of: just in time ( JIT ) compil
 ing the first one or more instruction sets for operating the 45 ing , JIT interpretation , JIT translation , dynamic recompiling,
 device correlated with the first collection of object repre- or binary rewriting. In further embodiments, the executing
 sentations includes modifying one or more instruction sets the first one or more instruction sets for operating the device
 of an application. In further embodiments , the executing the correlated with the first collection of object representations
 first one or more instruction sets for operating the device includes utilizing at least one of: a dynamic expression
 correlated with the first collection of object representations 50 creation , a dynamic expression execution, a dynamic func
 includes modifying a source code , a bytecode , an interme- tion creation, or a dynamic function execution . In further
 diate code , a compiled code , an interpreted code , a translated embodiments , the executing the first one or more instruction
 code , a runtime code , an assembly code, or a machine code . sets for operating the device correlated with the first collec
 In further embodiments, the executing the first one or more tion of object representations includes adding or inserting
 instruction sets for operating the device correlated with the 55 additional code into a code of an application. In further
 first collection of object representations includes modifying embodiments, the executing the first one or more instruction
 at least one of: the memory unit, a register of a processor sets for operating the device correlated with the first collec
 circuit , a storage, or a repository where instruction sets are tion of object representations includes at least one of:
 stored or used . In further embodiments, the executing the modifying, removing , rewriting, or overwriting a code of an
 first one or more instruction sets for operating the device 60 application . In further embodiments, the executing the first
 correlated with the first collection of object representations one or more instruction sets for operating the device corre
 includes modifying one or more instruction sets for operat- lated with the first collection of object representations
 ing an application or an object of the application . In further includes at least one of: branching, redirecting, extending, or
 embodiments , the executing the first one or more instruction hot swapping a code of an application . The branching or
 sets for operating the device correlated with the first collec- 65 redirecting the code may include inserting at least one of: a
 tion of object representations includes modifying at least one branch , a jump, or a means for redirecting an execution . In
 of: an element of a processor circuit , an element of the further embodiments , the executing the first one or more
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 instruction sets for operating the device correlated with the processor circuit of the one or more processor circuits, the
 first collection of object representations includes implement- first collection of object representations correlated with the
 ing a user's knowledge, style, or methodology of operating first one or more instruction sets for operating the device .
 the device in a circumstance. In further embodiments, the The operations may further comprise: receiving, by the first
 executing the first one or more instruction sets for operating 5 processor circuit of the one or more processor circuits , a new
 the device correlated with the first collection of object collection of object representations, the new collection of
 representations includes executing the first one or more object representations including one or more representations
 instruction sets for operating the device correlated with the of objects detected by the sensor. The operations may further
 first collection of object representations via an interface . The comprise: anticipating, by the first processor circuit of the
 interface may include a modification interface .                 10 one or more processor circuits , the first one or more instruc
    In certain embodiments, the operations of the non - tran- tion sets for operating the device correlated with the first
 sitory computer storage medium and / or the method further collection of object representations based on at least a partial
 comprise : receiving at least one extra information . In further match between the new collection of object representations
 embodiments , the operations of the non -transitory computer and the first collection of object representations. The opera
 storage medium and / or the method further comprise: learn- 15 tions may further comprise : causing, by the first processor
 ing the first collection of object representations correlated circuit of the one or more processor circuits , an execution ,
 with the at least one extra information .                           by a second processor circuit of the one or more processor
    In some embodiments, the operations of the non - transi- circuits, of the first one or more instruction sets for operating
 tory computer storage medium and /or the method further the device correlated with the first collection of object
 comprise : presenting, via a user interface , a user with an 20 representations, the causing performed in response to the
 option to execute the first one or more instruction sets for anticipating, by the first processor circuit of the one or more
 operating the device correlated with the first collection of processor circuits, the first one or more instruction sets for
 object representations.                                             operating the device correlated with the first collection of
    In certain embodiments, the operations of the non -tran- object representations based on at least a partial match
 sitory computer storage medium and / or the method further 25 between the new collection of object representations and the
 comprise : receiving, via a user interface, a user's selection first collection of object representations, wherein the device
 to execute the first one or more instruction sets for operating performs one or more operations defined by the first one or
 the device correlated with the first collection of object more instruction sets for operating the device correlated with
 representations.                                                    the first collection of object representations, the one or more
    In some embodiments, the operations of the non - transi- 30 operations by the device performed in response to the
 tory computer storage medium and /or the method further execution .
 comprise : rating the executed first one or more instruction           In some aspects , the disclosure relates to a method com
 sets for operating the device correlated with the first collec- prising: (a ) receiving a first collection of object representa
 tion of object representations.                                     tions by a first processor circuit, the first collection of object
    In certain embodiments, the operations of the non -tran- 35 representations including one or more representations of
 sitory computer storage medium and/ or the method further objects detected by a sensor. The method may further
 comprise : presenting, via a user interface, a user with an comprise: (b ) receiving a first one or more instruction sets
 option to cancel the execution of the executed first one or for operating a device by the first processor circuit. The
 more instruction sets for operating the device correlated with method may further comprise: ( c ) learning the first collec
 the first collection of object representations.                  40 tion of object representations correlated with the first one or
    In some embodiments, the operations of the non -transi- more instruction sets for operating the device, the learning
 tory computer storage medium and /or the method further of ( c ) performed by the first processor circuit. The method
 comprise : receiving, via an input device , a user's operating may further comprise : (d) receiving a new collection of
 directions, the user's operating directions for instructing a object representations by the first processor circuit, the new
 processor circuit on how to operate the device .                 45 collection of object representations including one or more
    In certain embodiments, the operations of the non - tran- representations of objects detected by the sensor. The
 sitory computer storage medium and / or the method further method may further comprise: (e ) anticipating the first one
 comprise : receiving a second collection of object represen- or more instruction sets for operating the device correlated
 tations , the second collection of object representations with the first collection of object representations based on at
 including one or more representations of objects detected by 50 least a partial match between the new collection of object
 the sensor ; receiving a second one or more instruction sets representations and the first collection of object representa
 for operating the device ; and learning the second collection tions , the anticipating of ( e) performed by the first processor
 of object representations correlated with the second one or circuit . The method may further comprise: ( f) executing, by
 more instruction sets for operating the device.                      a second processor circuit , the first one or more instruction
    In some aspects , the disclosure relates to a non - transitory 55 sets for operating the device correlated with the first collec
 computer storage medium having a computer program tion of object representations, the executing of ( f) performed
 stored thereon, the program including instructions that when in response to the anticipating of ( e) . The method may
 executed by one or more processor circuits cause the one or further comprise : ( g) performing, by the device, one or more
 more processor circuits to perform operations comprising : operations defined by the first one or more instruction sets
 receiving, by a first processor circuit of the one or more 60 for operating the device correlated with the first collection of
 processor circuits , a first collection of object representations, object representations, the one or more operations by the
 the first collection of object representations including one or device performed in response to the executing of ( f ).
 more representations of objects detected by a sensor. The               The operations or steps of the non - transitory computer
 operations may further comprise : receiving, by the first storage medium and / or the method may be performed by
 processor circuit of the one or more processor circuits, a first 65 any of the elements of the above described systems as
 one or more instruction sets for operating a device. The applicable . The non - transitory computer storage medium
 operations may further comprise : learning, by the first and / or the method may include any of the operations, steps ,
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 and embodiments of the above described systems, non-                the plurality of collections of object representations corre
 transitory computer storage media , and / or methods as appli-      lated with one or more instruction sets for operating the
 cable .                                                      device including a first collection of object representations
    In some aspects , the disclosure relates to a system for  correlated with a first one or more instruction sets for
 learning a device's circumstances for autonomous device 5 operating the device . The artificial intelligence unit may be
 operating. The system may be implemented at least in part further configured to : receive a new collection of object
 on one or more computing devices. In some embodiments, representations, the new collection of object representations
 the system comprises: a processor circuit configured to including one or more representations of objects detected by
 execute instruction sets for operating a device . The system the sensor. The artificial intelligence unit may be further
 may further comprise : a memory unit configured to store 10 configured to : anticipate the first one or more instruction sets
 data. The system may further comprise: a sensor configured for operating the device correlated with the first collection of
 to detect objects. The system may further comprise: an object representations based on at least a partial match
 artificial intelligence unit . The artificial intelligence unit between the new collection of object representations and the
 may be configured to : receive a first collection of object first collection of object representations. The artificial intel
 representations, the first collection of object representations 15 ligence unit may be further configured to : cause the proces
 including one or more representations of objects detected by sor circuit to execute the first one or more instruction sets for
 the sensor. The artificial intelligence unit may be further operating the device correlated with the first collection of
 configured to : receive a first one or more instruction sets for object representations, the causing performed in response to
 operating the device . The artificial intelligence unit may be the anticipating of the artificial intelligence unit, wherein the
 further configured to : learn the first collection of object 20 device performs one or more operations defined by the first
 representations correlated with the first one or more instruc- one or more instruction sets for operating the device corre
 tion sets for operating the device .                                lated with the first collection of object representations, the
    In some aspects , the disclosure relates to a non - transitory one or more operations performed in response to the execut
 computer storage medium having a computer program ing by the processor circuit .
 stored thereon , the program including instructions that when 25 In some aspects , the disclosure relates to a non -transitory
 executed by one or more processor circuits cause the one or computer storage medium having a computer program
 more processor circuits to perform operations comprising: stored thereon , the program including instructions that when
 receiving a first collection of object representations, the first executed by one or more processor circuits cause the one or
 collection of object representations including one or more more processor circuits to perform operations comprising:
 representations of objects detected by a sensor. The opera- 30 accessing a memory unit that comprises a plurality of
 tions may further comprise : receiving a first one or more collections of object representations correlated with one or
 instruction sets for operating a device. The operations may more instruction sets for operating a device, the plurality of
 further comprise: learning the first collection of object collections of object representations correlated with one or
 representations correlated with the first one or more instruc- more instruction sets for operating the device including a
 tion sets for operating the device .                             35 first collection of object representations correlated with a
    In some aspects , the disclosure relates to a method com- first one or more instruction sets for operating the device .
 prising: (a ) receiving a first collection of object representa- The operations may further comprise: receiving a new
 tions by a processor circuit , the first collection of object collection of object representations, the new collection of
 representations including one or more representations of object representations including one or more representations
 objects detected by a sensor. The method may further 40 of objects detected by a sensor. The operations may further
 comprise : (b ) receiving a first one or more instruction sets comprise: anticipating the first one or more instruction sets
 for operating a device by the processor circuit . The method for operating the device correlated with the first collection of
 may further comprise : (c ) learning the first collection of object representations based on at least a partial match
 object representations correlated with the first one or more between the new collection of object representations and the
 instruction sets for operating the device , the learning of (c ) 45 first collection of object representations. The operations may
 performed by the processor circuit .                                further comprise: causing an execution of the first one or
    The operations or steps of the non - transitory computer more instruction sets for operating the device correlated with
 storage medium and / or the method may be performed by the first collection of object representations, the causing
 any of the elements of the above described systems as performed in response to the anticipating the first one or
 applicable. The non - transitory computer storage medium 50 more instruction sets for operating the device correlated with
 and / or the method may include any of the operations, steps,       the first collection of object representations based on at least
 and embodiments of the above described systems, non- a partial match between the new collection of object repre
 transitory computer storage media , and / or methods as appli- sentations and the first collection of object representations,
 cable .                                                             wherein the device performs one or more operations defined
    In some aspects , the disclosure relates to a system for 55 by the first one or more instruction sets for operating the
 using a device's circumstances for autonomous device oper- device correlated with the first collection of object repre
 ating. The system may be implemented at least in part on one sentations, the one or more operations by the device per
 or more computing devices. In some embodiments, the                 formed in response to the execution .
 system comprises: a processor circuit configured to execute           In some aspects , the disclosure relates to a method com
 instruction sets for operating a device. The system may 60 prising: (a) accessing a memory unit that comprises a
 further comprise: a memory unit configured to store data .          plurality of collections of object representations correlated
 The system may further comprise : a sensor configured to with one or more instruction sets for operating a device, the
 detect objects. The system may further comprise: an artifi- plurality of collections of object representations correlated
 cial intelligence unit . The artificial intelligence unit may be with one or more instruction sets for operating the device
 configured to : access the memory unit that comprises a 65 including a first collection of object representations corre
 plurality of collections of object representations correlated lated with a first one or more instruction sets for operating
 with one or more instruction sets for operating the device , the device, the accessing of ( a) performed by a processor
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 circuit . The method may further comprise: (b ) receiving a            the first stream of collections of object representations , the
 new collection of object representations by the processor              one or more operations performed in response to the execut
 circuit , the new collection of object representations includ-         ing by the processor circuit .
 ing one or more representations of objects detected by a         In certain embodiments, each collection of object repre
 sensor. The method may further comprise : (c ) anticipating 5 sentations includes one or more representations of objects
 the first one or more instruction sets for operating the device detected       by the sensor at a time . In further embodiments ,
 correlated with the first collection of object representations each collection of object representations includes one or
 based on at least a partial match between the new collection more     each
                                                                              of object representations. In further embodiments,
                                                                             collection  of object representations includes or is
 of object representations and the first collection of object
 representations  , the anticipating of (c) performed by the 10 associated         with a time stamp
                                                                       information . In further        , an order, the
                                                                                                 embodiments       , or first
                                                                                                                         a timestream
                                                                                                                                  relatedof
 processor circuit. The method may further comprise: (d) collections
 executing the first one or more instruction sets for operating collections ofof object      representations includes one or more
                                                                                       representations   of objects detected by the
 the device correlated with the first collection of object sensor over time . In further embodiments               , the new stream of
 representations  , the executing   of ( d ) performed  in response 15 collections of object representations   includes
 to the anticipating of (c ) . The method may further comprise: collections of representations of objects detected by the
                                                                                                                           one or more
 ( e) performing, by the device , one or more operations sensor over time . In further embodiments , the first or the
 defined by the first one or more instruction sets for operating new stream of collections of object representations includes
 the device correlated with the first collection of object one or more collections of representations of objects in the
 representations  , the onetoorthemore
 performed in response                   operations
                                   executing    of (dby
                                                      ). the device 20 the
                                                                       device's  surrounding. In further embodiments, the first or
                                                                            new stream of collections of object representations
     The operations or steps of the non -transitory computer includes one or more collections of representations of
 storage medium and / or the method may be performed by objects in a remote device's surrounding. In further embodi
 any of the elements of the above described systems as ments, an object representation of a stream of collections of
 applicable . The non -transitory computer storage medium 25 object representations includes one or more object proper
 and /or the method may include any of the operations, steps ,          ties . In further embodiments, the first or the new stream of
 and embodiments of the above described systems, non-                   collections of object representations includes one or more
 transitory computer storage media , and / or methods as appli-         object properties. In further embodiments, the first stream of
 cable .                                                                collections of object representations includes a comparative
    In some aspects , the disclosure relates to a system for 30 stream of collections of object representations whose at least
 learning and using a device's circumstances for autonomous one portion can be used for comparisons with at least one
 device operating. The system may be implemented at least portion of streams of collections of object representations
 in part on one or more computing devices . In some embodi- subsequent to the first stream of collections of object rep
 ments , the system comprises: a processor circuit configured resentations, the streams of collections of object represen
 to execute instruction sets for operating a device . The system 35 tations subsequent to the first stream of collections of object
 may further comprise : a memory unit configured to store representations comprising the new stream of collections of
 data. The system may further comprise : a sensor configured object representations. In further embodiments, the first
 to detect objects. The system may further comprise: an stream of collections of object representations includes a
 artificial intelligence unit . The artificial intelligence unit comparative stream of collections of object representations
 may be configured to : receive a first stream of collections of 40 that can be used for comparisons with the new stream of
 object representations, the first stream of collections of collections of object representations. In further embodi
 object representations including one or more collections of ments, the new stream of collections of object representa
 representations of objects detected by the sensor . The arti- tions includes an anticipatory stream of collections of object
 ficial intelligence unit may be further configured to : receive representations whose correlated one or more instruction
 a first one or more instruction sets for operating the device . 45 sets can be used for anticipation of one or more instruction
 The artificial intelligence unit may be further configured to : sets to be executed by the processor circuit .
 learn the first stream of collections of object representations       In some embodiments, the first one or more instruction
 correlated with the first one or more instruction sets for sets for operating the device include one or more instruction
 operating the device . The artificial intelligence unit may be sets that temporally correspond to the first stream of collec
 further configured to : receive a new stream of collections of 50 tions of object representations. In further embodiments, the
 object representations, the new stream of collections of one or more instruction sets that temporally correspond to
 object representations including one or more collections of the first stream of collections of object representations
 representations of objects detected by the sensor. The arti- include one or more instruction sets executed at a time of
 ficial intelligence unit may be further configured to : antici- generating the first stream of collections of object represen
 pate the first one or more instruction sets for operating the 55 tations . In further embodiments , the one or more instruction
 device correlated with the first stream of collections of              sets that temporally correspond to the first stream of collec
 object representations based on at least a partial match               tions of object representations include one or more instruc
 between the new stream of collections of object represen- tion sets executed prior to generating the first stream of
 tations and the first stream of collections of object repre- collections of object representations. In further embodi
 sentations. The artificial intelligence unit may be further 60 ments , the one or more instruction sets that temporally
 configured to : cause the processor circuit to execute the first correspond to the first stream of collections of object rep
 one or more instruction sets for operating the device corre- resentations include one or more instruction sets executed
 lated with the first stream of collections of object represen- within a threshold period of time prior to generating the first
 tations , the causing performed in response to the anticipating stream of collections of object representations. In further
 of the artificial intelligence unit, wherein the device per- 65 embodiments, the one or more instruction sets that tempo
                                                                                       >

 forms one or more operations defined by the first one or rally correspond to the first stream of collections of object
 more instruction sets for operating the device correlated with         representations include one or more instruction sets
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 executed subsequent to generating the first stream of col- instruction sets for operating the device stored in the
 lections of object representations. In further embodiments , memory unit . In further embodiments , the plurality of
 the one or more instruction sets that temporally correspond streams of collections of object representations correlated
 to the first stream of collections of object representations with one or more instruction sets for operating the device
 include one or more instruction sets executed within a 5 include a neural network , a graph, a collection of sequences,
 threshold period of time subsequent to generating the first a sequence, a collection of knowledge cells , a knowledge
 stream of collections of object representations. In further base , a knowledge structure, or a data structure . In further
 embodiments , the one or more instruction sets that tempo- embodiments , the plurality of streams of collections of
 rally correspond to the first stream of collections of object object representations correlated with one or more instruc
 representations include one or more instruction sets 10 tion sets for operating the device are organized into aa neural
 executed within a threshold period of time prior to gener- network, a graph , a collection of sequences, a sequence , a
 ating the first stream of collections of object representations collection of knowledge cells , a knowledgebase, a knowl
 or a threshold period of time subsequent to generating the edge structure , or a data structure. In further embodiments ,
 first stream of collections of object representations.            each stream of collections of object representations corre
    In certain embodiments, the first stream of collections of 15 lated with one or more instruction sets for operating the
 object representations correlated with the first one or more device of the plurality of streams of collections of object
 instruction sets for operating the device include a knowledge representations correlated with one or more instruction sets
 of how the device operated in a circumstance . In further for operating the device is included in a neuron , a node, a
 embodiments, the first stream of collections of object rep- vertex , or an element of a knowledgebase. The knowledge
 resentations correlated with the first one or more instruction 20 base may include aa neural network , a graph , a collection of
 sets for operating the device are included in a neuron , a sequences, a sequence, a collection of knowledge cells , a
 node, a vertex , or an element of a knowledgebase. In further knowledge structure, or a data structure. Some of the neu
 embodiments, the knowledgebase includes a neural net- rons, nodes , vertices , or elements may be interconnected . In
 work , a graph , a collection of sequences, a sequence , a further embodiments, the plurality of streams of collections
 collection of knowledge cells , a knowledge structure, or a 25 of object representations correlated with one or more
 data structure . In further embodiments, some of the neurons , instruction sets for operating the device include a user's
 nodes , vertices , or elements are interconnected . In further knowledge, style , or methodology of operating the device in
 embodiments, the first stream of collections of object rep- circumstances. In further embodiments, the plurality of
 resentations correlated with the first one or more instruction streams of collections of object representations correlated
 sets for operating the device are structured into a knowledge 30 with one or more instruction sets for operating the device are
 cell . In further embodiments, the knowledge cell is included stored on a remote computing device or a remote computing
 in a neuron , a node , a vertex , or an element of a knowl- system . In further embodiments, the plurality of streams of
 edgebase . The knowledgebase may include a neural net             collections of object representations correlated with one or
 work, a graph, a collection of sequences, a sequence , a more instruction sets for operating the device include an
 collection of knowledge cells , a knowledge structure, or a 35 artificial intelligence system for knowledge structuring, stor
 data structure. Some of the neurons , nodes , vertices , or ing , or representation. The artificial intelligence system for
 elements may be interconnected . In further embodiments, knowledge structuring, storing, or representation may
 the learning the first stream of collections of object repre- include at least one of: a deep learning system , a supervised
 sentations correlated with the first one or more instruction learning system , an unsupervised learning system , a neural
 sets for operating the device includes correlating the first 40 network , a search - based system , an optimization - based sys
 stream of collections of object representations with the first tem , a logic -based system , a fuzzy logic -based system , a
 one or more instruction sets for operating the device . In tree -based system , graph - based system , a hierarchical
 further embodiments, the correlating the first stream of system , a symbolic system , a sub - symbolic system , an
 collections of object representations with the first one or evolutionary system , a genetic system , a multi-agent system ,
 more instruction sets for operating the device includes 45 a deterministic system , a probabilistic system , or a statistical
 generating a knowledge cell , the knowledge cell comprising system .
 the first stream of collections of object representations            In certain embodiments, the anticipating the first one or
 correlated with the first one or more instruction sets for         more instruction sets for operating the device correlated with
 operating the device . In further embodiments, the correlating     the first stream of collections of object representations based
 the first stream of collections of object representations with 50 on at least a partial match between the new stream of
 the first one or more instruction sets for operating the device collections of object representations and the first stream of
 includes structuring a knowledge of how the device operated collections of object representations includes comparing at
 in a circumstance . In further embodiments, the learning the least one portion of the new stream of collections of object
 first stream of collections of object representations corre- representations with at least one portion of the first stream of
 lated with the first one or more instruction sets for operating 55 collections of object representations. In further embodi
 the device includes learning a user's knowledge, style, or ments, the at least one portion of the new stream of collec
 methodology of operating the device in a circumstance .            tions of object representations include at least one collection
    In some embodiments, the learning the first stream of of object representations, at least one object representation ,
 collections of object representations correlated with the first or at least one object property of the new stream of collec
 one or more instruction sets for operating the device 60 tions of object representations. In further embodiments , the
 includes storing the first stream of collections of object at least one portion of the first stream of collections of object
 representations correlated with the first one or more instruc- representations include at least one collection of object
 tion sets for operating the device into the memory unit, the representations, at least one object representation, or at least
 first stream of collections of object representations corre- one object property of the first stream of collections of object
 lated with the first one or more instruction sets for operating 65 representations. In further embodiments , the anticipating the
 the device being part of a plurality of streams of collections     first one or more instruction sets for operating the device
 of object representations correlated with one or more              correlated with the first stream of collections of object
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 representations based on at least a partial match between the    of object representations and portions of the first stream of
 new stream of collections of object representations and the collections of object representations exceeds a threshold
 first stream of collections of object representations includes number or threshold percentage. In further embodiments, the
 comparing at least one collection of object representations determining that there is at least a partial match between the
 from the new stream of collections of object representations 5 new stream of collections of object representations and the
 with at least one collection of object representations from      first stream of collections of object representations includes
 the first stream of collections of object representations. In    determining that a number or a percentage of matching or
 further embodiments, the comparing at least one collection       partially matching collections of object representations from
 of object representations from the new stream of collections     the new stream of collections of object representations and
 of object representations with at least one collection of 10 from the first stream of collections of object representations
 object representations from the first stream of collections of exceeds a threshold number or threshold percentage. The
 object representations includes comparing at least one object matching or partially matching collections of object repre
 representation of the at least one collection of object repre- sentations from the new stream of collections of object
 sentations from the new stream of collections of object representations and from the first stream of collections of
 representations with at least one object representation of the 15 object representations may be determined factoring in at
 at least one collection of object representations from the first least one of: an importance of aa collection of object repre
 stream of collections of object representations. The compar- sentations, an order of ?a collection of object representations,
 ing at least one object representation of the at least one a threshold for a similarity in a collection of object repre
 collection of object representations from the new stream of sentations, or a threshold for aa difference in a collection of
 collections of object representations with at least one object 20 object representations. In further embodiments, the deter
 representation of the at least one collection of object repre- mining that there is at least a partial match between the new
 sentations from the first stream of collections of object stream of collections of object representations and the first
 representations may include comparing at least one object stream of collections of object representations includes
 property of the at least one object representation of the at determining that a number or a percentage of matching or
 least one collection of object representations from the new 25 partially matching object representations from the new
 stream of collections of object representations with at least stream of collections of object representations and from the
 one object property of the at least one object representation first stream of collections of object representations exceeds
 of the at least one collection of object representations from a threshold number or threshold percentage . The matching
 the first stream of collections of object representations.        or partially matching object representations from the new
    In some embodiments, the anticipating the first one or 30 stream of collections of object representations and from the
 more instruction sets for operating the device correlated with first stream of collections of object representations may be
 the first stream of collections of object representations based determined factoring in at least one of: an association of an
 on at least a partial match between the new stream of object representation with aa collection of object representa
 collections of object representations and the first stream of    tions , a type of an object representation, an importance of an
 collections of object representations includes determining 35 object representation, a threshold for a similarity in an object
 that there is at least a partial match between the new stream    representation, or a threshold for a difference in an object
 of collections of object representations and the first stream    representation. In further embodiments , the determining that
 of collections of object representations. In further embodi-     there is at least a partial match between the new stream of
 ments, the determining that there is at least a partial match    collections of object representations and the first stream of
 between the new stream of collections of object represen- 40 collections of object representations includes determining
 tations and the first stream of collections of object repre- that a number or a percentage of matching or partially
 sentations includes determining that there is at least a partial matching object properties from the new stream of collec
 match between one or more portions of the new stream of tions of object representations and from the first stream of
 collections of object representations and one or more por- collections of object representations exceeds a threshold
 tions of the first stream of collections of object representa- 45 number or threshold percentage . The matching or partially
 tions . In further embodiments, the determining that there is matching object properties from the new stream of collec
 at least a partial match between the new stream of collec- tions of object representations and from the first stream of
 tions of object representations and the first stream of col- collections of object representations may be determined
 lections of object representations includes determining that factoring in at least one of: an association of an object
 a similarity between at least one portion of the new stream 50 property with an object representation, an association of an
 of collections of object representations and at least one object property with aa collection of object representations, a
 portion of the first stream of collections of object represen- category of an object property, an importance of an object
 tations exceeds a similarity threshold . In further embodi- property, a threshold for a similarity in an object property, or
 ments, the determining that there is at least a partial match a threshold for aa difference in an object property . In further
 between the new stream of collections of object represen- 55 embodiments, determining that there is at least a partial
 tations and the first stream of collections of object repre- match between the new stream of collections of object
 sentations includes determining a substantial similarity representations and the first stream of collections of object
 between at least one portion of the new stream of collections representations includes determining that there is at least a
 of object representations and at least one portion of the first partial match between at least one collection of object
 stream of collections of object representations. The substan- 60 representations from the new stream of collections of object
 tial similarity may be achieved when a similarity between representations and at least one collection of object repre
 the at least one portion of the new stream of collections of sentations from the first stream of collections of object
 object representations and the at least one portion of the first representations. The determining that there is at least a
 stream of collections of object representations exceeds a partial match between at least one collection of object
 similarity threshold . The substantial similarity may be 65 representations from the new stream of collections of object
 achieved when a number or a percentage of matching or representations and at least one collection of object repre
 partially matching portions of the new stream of collections sentations from the first stream of collections of object
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 representations may include determining that there is at least     operating the device correlated with the first stream of
 a partial match between at least one object representation of    collections of object representations includes issuing an
 the at least one collection of object representations from the   interrupt to the processor circuit and executing the first one
 new stream of collections of object representations and at or more instruction sets for operating the device correlated
 least one object representation of the at least one collection 5 with the first stream of collections of object representations
 of object representations from the first stream of collections following the interrupt. In further embodiments, the causing
 of object representations. The determining that there is at the processor circuit to execute the first one or more instruc
 least a partial match between at least one object represen- tion sets for operating the device correlated with the first
 tation of the at least one collection of object representations stream of collections of object representations includes
 from the new stream of collections of object representations 10 modifying an element that is part of, operating on , or
 and at least one object representation of the at least one coupled to the processor circuit .
 collection of object representations from the first stream of       In certain embodiments, the processor circuit includes a
 collections of object representations may include determin- logic circuit , and wherein the causing the processor circuit
 ing that there is at least a partial match between at least one    to execute the first one or more instruction sets for operating
 object property of the at least one object representation of 15 the device correlated with the first stream of collections of
 the at least one collection of object representations from the     object representations includes causing the logic circuit to
 new stream of collections of object representations and at execute the first one or more instruction sets for operating
 least one object property of the at least one object repre- the device correlated with the first stream of collections of
 sentation of the at least one collection of object representa- object representations. In further embodiments, the logic
 tions from the first stream of collections of object represen- 20 circuit includes a microcontroller. In further embodiments ,
 tations .                                                         the causing the logic circuit to execute the first one or more
    In some embodiments , the causing the processor circuit to instruction sets for operating the device correlated with the
 execute the first one or more instruction sets for operating first stream of collections of object representations includes
 the device correlated with the first stream of collections of modifying an element of the logic circuit. In further embodi
 object representations includes causing the processor circuit 25 ments, the causing the logic circuit to execute the first one
 to execute the first one or more instruction sets for operating or more instruction sets for operating the device correlated
 the device correlated with the first stream of collections of with the first stream of collections of object representations
 object representations instead of or prior to an instruction set includes inserting the first one or more instruction sets for
 that would have been executed next. In further embodi-             operating the device correlated with the first stream of
 ments, the causing the processor circuit to execute the first 30 collections of object representations into an element of the
 one or more instruction sets for operating the device corre- logic circuit. In further embodiments, the causing the logic
 lated with the first stream of collections of object represen-     circuit to execute the first one or more instruction sets for
 tations includes modifying one or more instruction sets of operating the device correlated with the first stream of
 the processor circuit. In further embodiments, the causing collections of object representations includes redirecting the
 the processor circuit to execute the first one or more instruc- 35 logic circuit to the first one or more instruction sets for
 tion sets for operating the device correlated with the first operating the device correlated with the first stream of
 stream of collections of object representations includes collections of object representations. In further embodi
 modifying a register or an element of the processor circuit . ments, the causing the logic circuit to execute the first one
 In further embodiments , the causing the processor circuit to or more instruction sets for operating the device correlated
 execute the first one or more instruction sets for operating 40 with the first stream of collections of object representations
 the device correlated with the first stream of collections of includes replacing inputs into the logic circuit with the first
 object representations includes inserting the first one or one or more instruction sets for operating the device corre
 more instruction sets for operating the device correlated with lated with the first stream of collections of object represen
 the first stream of collections of object representations into tations . In further embodiments, the causing the logic circuit
 a register or an element of the processor circuit . In further 45 to execute the first one or more instruction sets for operating
 embodiments, the causing the processor circuit to execute the device correlated with the first stream of collections of
 the first one or more instruction sets for operating the device object representations includes replacing outputs from the
 correlated with the first stream of collections of object logic circuit with the first one or more instruction sets for
 representations includes redirecting the processor circuit to operating the device correlated with the first stream of
 the first one or more instruction sets for operating the device 50 collections of object representations.
 correlated with the first stream of collections of object             In some embodiments, the causing the processor circuit to
 representations. In further embodiments, the causing the execute the first one or more instruction sets for operating
 processor circuit to execute the first one or more instruction     the device correlated with the first stream of collections of
 sets for operating the device correlated with the first stream object representations includes causing an application for
 of collections of object representations includes redirecting 55 operating the device to execute the first one or more instruc
 the processor circuit to one or more alternate instruction sets , tion sets for operating the device correlated with the first
 the alternate instruction sets comprising the first one or more stream of collections of object representations, the applica
 instruction sets for operating the device correlated with the tion running on the processor circuit .
 first stream of collections of object representations. In fur-        In certain embodiments, the system further comprises : an
 ther embodiments, the causing the processor circuit to 60 application including instruction sets for operating the
 execute the first one or more instruction sets for operating device , the application running on the processor circuit ,
 the device correlated with the first stream of collections of wherein the causing the processor circuit to execute the first
 object representations includes transmitting, to the processor one or more instruction sets for operating the device corre
 circuit for execution , the first one or more instruction sets for lated with the first stream of collections of object represen
 operating the device correlated with the first stream of 65 tations includes modifying the application.
 collections of object representations. In further embodi-             In some embodiments , the causing the processor circuit to
 ments , the executing the first one or more instruction sets for execute the first one or more instruction sets for operating
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 the device correlated with the first stream of collections of application programming interface (API), a Java tool , a Java
 object representations includes redirecting an application to API , an operating system tool , or an independent tool for
 the first one or more instruction sets for operating the device modifying instruction sets . In further embodiments, the
 correlated with the first stream of collections of object causing the processor circuit to execute the first one or more
 representations, the application running on the processors instruction sets for operating the device correlated with the
 circuit . In further embodiments , the causing the processor first stream of collections of object representations includes
 circuit to execute the first one or more instruction sets for utilizing at least one of: a dynamic, an interpreted, or a
 operating the device correlated with the first stream of scripting programming language. In further embodiments ,
 collections of object representations includes redirecting an the causing the processor circuit to execute the first one or
 application to one or more alternate instruction sets , the 10 more instruction sets for operating the device correlated with
 application running on the processor circuit, the alternate the first stream of collections of object representations
 instruction sets comprising the first one or more instruction includes utilizing at least one of: a dynamic code , a dynamic
 sets for operating the device correlated with the first stream class loading , or a reflection . In further embodiments, the
 of collections of object representations. In further embodi- causing the processor circuit to execute the first one or more
 ments, the causing the processor circuit to execute the first 15 instruction sets for operating the device correlated with the
 one or more instruction sets for operating the device corre- first stream of collections of object representations includes
 lated with the first stream of collections of object represen- utilizing an assembly language. In further embodiments, the
 tations includes modifying one or more instruction sets of an causing the processor circuit to execute the first one or more
 application, the application running on the processor circuit . instruction sets for operating the device correlated with the
 In further embodiments, the causing the processor circuit to 20 first stream of collections of object representations includes
 execute the first one or more instruction sets for operating utilizing at least one of: a metaprogramming, a self-modi
 the device correlated with the first stream of collections of fying code , or an instruction set modification tool . In further
 object representations includes modifying a source code , a embodiments, the causing the processor circuit to execute
 bytecode , an intermediate code, a compiled code , an inter- the first one or more instruction sets for operating the device
 preted code , a translated code , a runtime code , an assembly 25 correlated with the first stream of collections of object
 code , or a machine code . In further embodiments, the representations includes utilizing at least one of: just in time
 causing the processor circuit to execute the first one or more (JIT ) compiling, JIT interpretation , JIT translation , dynamic
 instruction sets for operating the device correlated with the recompiling, or binary rewriting. In further embodiments ,
 first stream of collections of object representations includes the causing the processor circuit to execute the first one or
 modifying at least one of: the memory unit, a register of the 30 more instruction sets for operating the device correlated with
 processor circuit, a storage , or a repository where instruction the first stream of collections of object representations
 sets are stored or used . In further embodiments, the causing includes utilizing at least one of: a dynamic expression
 the processor circuit execute the first one or more instruc- creation, a dynamic expression execution, a dynamic func
 tion sets for operating the device correlated with the first tion creation, or a dynamic function execution . In further
 stream of collections of object representations includes 35 embodiments, the causing the processor circuit to execute
 modifying one or more instruction sets for operating an the first one or more instruction sets for operating the device
 application or an object of the application, the application correlated with the first stream of collections of object
 running on the processor circuit . In further embodiments, the representations includes adding or inserting additional code
 causing the processor circuit to execute the first one or more into a code of an application, the application running on the
 instruction sets for operating the device correlated with the 40 processor circuit. In further embodiments, the causing the
 first stream of collections of object representations includes processor circuit to execute the first one or more instruction
 modifying at least one of: an element of the processor sets for operating the device correlated with the first stream
 circuit , an element of the device , a virtual machine , a of collections of object representations includes at least one
 runtime engine, an operating system , an execution stack , a of modifying , removing, rewriting, or overwriting a code of
 program counter, or a user input. In further embodiments, 45 an application, the application running on the processor
 the causing the processor circuit to execute the first one or circuit. In further embodiments, the causing the processor
 more instruction sets for operating the device correlated with circuit to execute the first one or more instruction sets for
 the first stream of collections of object representations operating the device correlated with the first stream of
 includes modifying one or more instruction sets at a source collections of object representations includes at least one of:
 code write time , a compile time , an interpretation time , a 50 branching, redirecting, extending, or hot swapping a code of
 translation time , a linking time , a loading time , or a runtime. an application, the application running on the processor
 In further embodiments, the causing the processor circuit to circuit. The branching or redirecting the code may include
 execute the first one or more instruction sets for operating inserting at least one of: a branch, a jump, or a means for
 the device correlated with the first stream of collections of    redirecting an execution . In further embodiments, the
 object representations includes modifying one or more code 55 executing the first one or more instruction sets for operating
 segments, lines of code , statements, instructions, functions,   the device correlated with the first stream of collections of
 routines, subroutines, or basic blocks . In further embodi- object representations includes implementing a user's
 ments, the causing the processor circuit to execute the first knowledge, style, or methodology of operating the device in
 one or more instruction sets for operating the device corre- a circumstance.
 lated with the first stream of collections of object represen- 60 In certain embodiments, the system further comprises : an
 tations includes a manual, an automatic , a dynamic, or a just interface configured to cause execution of instruction sets ,
 in time (JIT ) instrumentation of an application , the applica- wherein the executing the first one or more instruction sets
 tion running on the processor circuit . In further embodi- for operating the device correlated with the first stream of
 ments, the causing the processor circuit to execute the first collections of object representations is caused by the inter
 one or more instruction sets for operating the device corre- 65 face . The interface may include aa modification interface .
 lated with the first stream of collections of object represen-     In some embodiments , the performing the one or more
 tations includes utilizing one or more of a .NET tool , a .NET operations defined by the first one or more instruction sets
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 for operating the device correlated with the first stream of      an extra information correlated with the first stream of
 collections of object representations includes implementing       collections of object representations may include determin
 a user's knowledge, style , or methodology of operating the       ing that a similarity between an extra information correlated
 device in a circumstance .                                        with the new stream of collections of object representations
    In certain embodiments , the system further comprises: an 5 and an extra information correlated with the first stream of
 application running on the processor circuit.                    collections of object representations exceeds a similarity
    In some embodiments , the instruction sets for operating threshold
 the device are part of an application for operating the device ,    In certain embodiments, the system further comprises : a
 the application running on the processor circuit .
    In certain embodiments , the system further comprises: an 10 user      interface, wherein the artificial intelligence unit is
                                                                    further configured to : cause the user interface to present a
 application for operating the device, the application running user
 on the processor circuit. The application for operating the tion with    sets
                                                                                an option to execute the first one or more instruc
                                                                               for  operating the device correlated with the first
 device may include the instruction sets for operating the stream of collections            of object representations.
 device.
    In some embodiments , the artificial intelligence unit is 15       In  some   embodiments  , the system further comprises : a
 further configured to : receive at least one extra information . user interface , wherein the artificial intelligence unit is
 In further embodiments, the at least one extra information further configured to : receive, via the user interface, a user's
 include one or more of: a time information, a location selection to execute the first one or more instruction sets for
 information , a computed information , or a contextual infor- operating the device correlated with the first stream of
 mation . In further embodiments, the at least one extra 20 collections of object representations.
 information include one or more of: an information on an              In certain embodiments, the artificial intelligence unit is
 object, an information on an object representation, an infor- further configured to : rate the executed first one or more
 mation on a collection of object representations, an infor- instruction sets for operating the device correlated with the
 mation on a stream of collections of object representations, first stream of collections of object representations. The
 an information on a device's circumstance, an information 25 rating the executed first one or more instruction sets for
 on an instruction set , an information on an application, an operating the device correlated with the first stream of
 information on the processor circuit, an information on the collections of object representations may include causing a
 device , or an information on an user . In further embodi- user interface to display the executed first one or more
 ments, the artificial intelligence unit is further configured to : instruction sets for operating the device correlated with the
 learn the first stream of collections of object representations 30 first stream of collections of object representations along
 correlated with the at least one extra information . The with one or more rating values as options to be selected by
 learning the first stream of collections of object representa- a user . The rating the executed first one or more instruction
 tions correlated with at least one extra information may sets for operating the device correlated with the first stream
 include correlating the first stream of collections of object of collections of object representations may include rating
 representations with the at least one extra information . The 35 the executed first one or more instruction sets for operating
 learning the first stream of collections of object representa- the device correlated with the first stream of collections of
 tions correlated with at least one extra information may object representations without a user input.
 include storing the first stream of collections of object           In some embodiments, the system further comprises: a
 representations correlated with the at least one extra infor- user interface, wherein the artificial intelligence unit is
 mation into the memory unit. In further embodiments, the 40 further configured to : cause the user interface to present a
 anticipating the first one or more instruction sets for oper- user with an option to cancel the execution of the executed
 ating the device correlated with the first stream of collec- first one or more instruction sets for operating the device
 tions of object representations based on at least a partial correlated with the first stream of collections of object
 match between the new stream of collections of object representations. In further embodiments, the canceling the
 representations and the first stream of collections of object 45 execution of the executed first one or more instruction sets
 representations includes anticipating the first one or more for operating the device correlated with the first stream of
 instruction sets for operating the device correlated with the collections of object representations includes restoring the
 first stream of collections of object representations based on processor circuit or the device to a prior state . The restoring
 at least a partial match between an extra information corre- the processor circuit or the device to a prior state may
 lated with the new stream of collections of object represen- 50 include saving the state of the processor circuit or the device
 tations and an extra information correlated with the first prior to executing the first one or more instruction sets for
 stream of collections of object representations. The antici- operating the device correlated with the first stream of
 pating the first one or more instruction sets for operating the collections of object representations.
 device correlated with the first stream of collections of            In certain embodiments, the system further comprises : an
 object representations based on at least a partial match 55 input device configured to receive a user's operating direc
 between an extra information correlated with the new stream       tions , the user's operating directions for instructing the
 of collections of object representations and an extra infor- processor circuit on how to operate the device . In some
 mation correlated with the first stream of collections of embodiments , the autonomous device operating includes a
 object representations may include comparing an extra partially or a fully autonomous device operating. The par
 information correlated with the new stream of collections of 60 tially autonomous device operating may include executing
 object representations and an extra information correlated the first one or more instruction sets for operating the device
 with the first stream of collections of object representations. correlated with the first stream of collections of object
 The anticipating the first one or more instruction sets for representations responsive to a user confirmation . The fully
 operating the device correlated with the first stream of autonomous device operating may include executing the first
 collections of object representations based on at least a 65 one or more instruction sets for operating the device corre
 partial match between an extra information correlated with lated with the first stream of collections of object represen
 the new stream of collections of object representations and tations without a user confirmation .
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   In certain embodiments, the artificial intelligence unit is      with the second one or more instruction sets for operating
 further configured to : receive a second stream of collections the device may include creating a connection between the
 of object representations, the second stream of collections of first node and the second node . The learning the first stream
 object representations including one or more collections of of collections of object representations correlated with the
 representations of objects detected by the sensor ; receive a 5 first one or more instruction sets for operating the device and
 second one or more instruction sets for operating the device ; the learning the second stream of collections of object
 and learn the second stream of collections of object repre- representations correlated with the second one or more
 sentations correlated with the second one or more instruction instruction sets for operating the device may include updat
 sets for operating the device . In further embodiments , the ing a connection between the first node and the second node .
 second stream of collections of object representations 10 In further embodiments, the first stream of collections of
 includes one or more collections of representations of object representations correlated with the first one or more
 objects detected by the sensor over time . In further embodi- instruction sets for operating the device is stored into a first
 ments, the second stream of collections of object represen- node of a neural network and the second stream of collec
 tations includes or is associated with aa time stamp, an order, tions of object representations correlated with the second
 or a time related information . In further embodiments, the 15 one ora more instruction sets for operating the device is stored
 learning the first stream of collections of object representa- into a second node of the neural network . The first node and
 tions correlated with the first one or more instruction sets for the second node may be connected by a connection . The first
 operating the device and the learning the second stream of node may be part of a first layer of the neural network and
 collections of object representations correlated with the the second node may be part of a second layer of the neural
 second one or more instruction sets for operating the device 20 network . In further embodiments, the first stream of collec
 include creating a connection between the first stream of tions of object representations correlated with the first one or
 collections of object representations correlated with the first more instruction sets for operating the device is stored into
 one or more instruction sets for operating the device and the a first node of a graph and the second stream of collections
 second stream of collections of object representations cor- of object representations correlated with the second one or
 related with the second one or more instruction sets for 25 more instruction sets for operating the device is stored into
 operating the device . The connection may include or is a second node of the graph. The first node and the second
 associated with at least one of : an occurrence count, a node may be connected by a connection . In further embodi
 weight, a parameter, or a data . In further embodiments , the ments, the first stream of collections of object representa
 learning the first stream of collections of object representa- tions correlated with the first one or more instruction sets for
 tions correlated with the first one or more instruction sets for 30 operating the device is stored into a first node of a sequence
 operating the device and the learning the second stream of and the second stream of collections of object representa
 collections of object representations correlated with the tions correlated with the second one or more instruction sets
 second one or more instruction sets for operating the device for operating the device is stored into a second node of the
 include updating a connection between the first stream of sequence .
 collections of object representations correlated with the first 35 In some aspects , the disclosure relates to a non - transitory
 one or more instruction sets for operating the device and the computer storage medium having a computer program
 second stream of collections of object representations cor- stored thereon , the program including instructions that when
 related with the second one or more instruction sets for executed by one or more processor circuits cause the one or
 operating the device . In further embodiments, the updating more processor circuits to perform operations comprising:
 the connection between the first stream of collections of 40 receiving a first stream of collections of object representa
 object representations correlated with the first one or more tions , the first stream of collections of object representations
 instruction sets for operating the device and the second including one or more collections of representations of
 stream of collections of object representations correlated objects detected by a sensor. The operations may further
 with the second one or more instruction sets for operating comprise: receiving a first one or more instruction sets for
 the device includes updating at least one of: an occurrence 45 operating a device . The operations may further comprise :
 count, a weight, a parameter, or a data included in or learning the first stream of collections of object representa
 associated with the connection . In further embodiments, the       tions correlated with the first one or more instruction sets for
 learning the first stream of collections of object representa- operating the device . The operations may further comprise :
 tions correlated with the first one or more instruction sets for receiving a new stream of collections of object representa
 operating the device includes storing the first stream of 50 tions , the new stream of collections of object representations
 collections of object representations correlated with the first including one or more collections of representations of
 one or more instruction sets for operating the device into a       objects detected by the sensor . The operations may further
 first node of a knowledgebase, and wherein the learning the        comprise: anticipating the first one or more instruction sets
 second stream of collections of object representations cor-        for operating the device correlated with the first stream of
 related with the second one or more instruction sets for 55 collections of object representations based on at least a
 operating the device includes storing the second stream of partial match between the new stream of collections of
 collections of object representations correlated with the object representations and the first stream of collections of
 second one or more instruction sets for operating the device object representations. The operations may further com
 into a second node of the knowledgebase. The knowledge- prise: causing an execution of the first one or more instruc
 base may include aa neural network , a graph , a collection of 60 tion sets for operating the device correlated with the first
 sequences, a sequence , a collection of knowledge cells , a stream of collections of object representations, the causing
 knowledge structure, or a data structure . In further embodi- performed in response to the anticipating the first one or
 ments, the knowledgebase may be stored in the memory more instruction sets for operating the device correlated with
 unit . The learning the first stream of collections of object the first stream of collections of object representations based
 representations correlated with the first one or more instruc- 65 on at least a partial match between the new stream of
 tion sets for operating the device and the learning the second collections of object representations and the first stream of
 stream of collections of object representations correlated collections of object representations, wherein the device
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 performs one or more operations defined by the first one or tion sets for operating the device into a memory unit , the first
 more instruction sets for operating the device correlated with stream of collections of object representations correlated
 the first stream of collections of object representations, the with the first one or more instruction sets for operating the
 one or more operations by the device performed in response device being part of a plurality of streams of collections of
 to the execution .                                            5 object representations correlated with one or more instruc
    In certain embodiments, the receiving the first one or tion sets for operating the device stored in the memory unit.
 more instruction sets for operating the device includes           In some embodiments, the executing the first one or more
 receiving the first one or more instruction sets for operating instruction sets for operating the device correlated with the
 the device from the one or more processor circuits or from first stream of collections of object representations includes
 another one or more processor circuits . In further embodi- 10 executing the first one or more instruction sets for operating
 ments, the execution of the first one or more instruction sets the device correlated with the first stream of collections of
 for operating the device correlated with the first stream of object representations instead of or prior to an instruction set
 collections of object representations is performed by the one that would have been executed next. In further embodi
 or more processor circuits or by another one or more ments, the executing the first one or more instruction sets for
 processor circuits.                                          15 operating the device correlated with the first stream of
    In some aspects , the disclosure relates to a method com- collections of object representations includes modifying one
 prising: (a ) receiving a first stream of collections of object or more instruction sets of a processor circuit . In further
 representations by a processor circuit , the first stream of embodiments , the executing the first one or more instruction
 collections of object representations including one or more sets for operating the device correlated with the first stream
 collections of representations of objects detected by a sen- 20 of collections of object representations includes modifying a
 sor. The method may further comprise : ( b ) receiving a first register or an element of a processor circuit . In further
 one or more instruction sets for operating a device by the embodiments, the executing the first one or more instruction
 processor circuit . The method may further comprise: (c ) sets for operating the device correlated with the first stream
 learning the first stream of collections of object representa- of collections of object representations includes inserting the
 tions correlated with the first one or more instruction sets for 25 first one or more instruction sets for operating the device
 operating the device, the learning of ( c ) performed by the correlated with the first stream of collections of object
 processor circuit . The method may further comprise : (d) representations into a register or an element of a processor
 receiving a new stream of collections of object representa- circuit. In further embodiments, the executing the first one or
 tions by the processor circuit, the new stream of collections more instruction sets for operating the device correlated with
 of object representations including one or more collections 30 the first stream of collections of object representations
 of representations of objects detected by the sensor. The includes redirecting a processor circuit to the first one or
 method may further comprise: ( e) anticipating the first one more instruction sets for operating the device correlated with
 or more instruction sets for operating the device correlated the first stream of collections of object representations. In
 with the first stream of collections of object representations further embodiments, the executing the first one or more
 based on at least a partial match between the new stream of 35 instruction sets for operating the device correlated with the
 collections of object representations and the first stream of first stream of collections of object representations includes
 collections of object representations, the anticipating of ( e ) redirecting a processor circuit to one or more alternate
 performed by the processor circuit. The method may further instruction sets , the alternate instruction sets comprising the
 comprise : ( f) executing the first one or more instruction sets first one or more instruction sets for operating the device
 for operating the device correlated with the first stream of 40 correlated with the first stream of collections of object
 collections of object representations, the executing of ( f) representations. In further embodiments, the executing the
 performed in response to the anticipating of ( e) . The method first one or more instruction sets for operating the device
 may further comprise: ( g) performing, by the device, one or correlated with the first stream of collections of object
 more operations defined by the first one or more instruction representations includes transmitting, to a processor circuit
 sets for operating the device correlated with the first stream 45 for execution, the first one or more instruction sets for
 of collections of object representations, the one or more operating the device correlated with the first stream of
 operations by the device performed in response to the collections of object representations. In further embodi
 executing of ( f ).                                                 ments, the executing the first one or more instruction sets for
    In some embodiments, the receiving of ( b ) includes operating the device correlated with the first stream of
 receiving the first one or more instruction sets for operating 50 collections of object representations includes issuing an
 the device from the processor circuit or from another pro- interrupt to a processor circuit and executing the first one or
 cessor circuit. In further embodiments, the executing of ( f) more instruction sets for operating the device correlated with
 is performed by the processor circuit or by another processor the first stream of collections of object representations
 circuit .                                                           following the interrupt. In further embodiments, the execut
   The operations or steps of the non -transitory computer 55 ing the first one or more instruction sets for operating the
 storage medium and / or the method may be performed by device correlated with the first stream of collections of
 any of the elements of the above described systems as object representations includes modifying an element that is
 applicable. The non - transitory computer storage medium part of, operating on , or coupled to a processor circuit.
 and /or the method may include any of the operations, steps , In certain embodiments, the executing the first one or
 and embodiments of the above described systems, non- 60 more instruction sets for operating the device correlated with
 transitory computer storage media , and / or methods as appli- the first stream of collections of object representations
 cable as well as the following embodiments.                     includes executing, by a logic circuit, the first one or more
    In certain embodiments, the learning the first stream of instruction sets for operating the device correlated with the
 collections of object representations correlated with the first first stream of collections of object representations. In fur
 one or more instruction sets for operating the device 65 ther embodiments, the logic circuit includes a microcon
 includes storing the first stream of collections of object          troller. In further embodiments , the executing, by the logic
 representations correlated with the first one or more instruc-      circuit, the first one or more instruction sets for operating the
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 device correlated with the first stream of collections of          sets are stored or used . In further embodiments, the execut
 object representations includes modifying an element of the        ing the first one or more instruction sets for operating the
 logic circuit . In further embodiments, the executing, by the      device correlated with the first stream of collections of
 logic circuit , the first one or more instruction sets for object representations includes modifying one or more
 operating the device correlated with the first stream of 5 instruction sets for operating an application or an object of
 collections of object representations includes inserting the       the application. In further embodiments, the executing the
 first one or more instruction sets for operating the device        first one or more instruction sets for operating the device
 correlated with the first stream of collections of object          correlated with the first stream of collections of object
 representations into an element of the logic circuit. In further representations includes modifying at least one of: an ele
 embodiments, the executing, by the logic circuit , the first 10 ment of a processor circuit , an element of the device , a
 one or more instruction sets for operating the device corre-       virtual machine , a runtime engine, an operating system , an
 lated with the first stream of collections of object represen-     execution stack , a program counter, or a user input. In
 tations includes redirecting the logic circuit to the first one    further embodiments, the executing the first one or more
 or more instruction sets for operating the device correlated       instruction sets for operating the device correlated with the
 with the first stream of collections of object representations. 15 first stream of collections of object representations includes
 In further embodiments , the executing, by the logic circuit, modifying one or more instruction sets at a source code write
 the first one or more instruction sets for operating the device time , a compile time , an interpretation time , a translation
 correlated with the first stream of collections of object time , a linking time , a loading time , or a runtime. In further
 representations includes replacing inputs into the logic cir- embodiments, the executing the first one or more instruction
 cuit with the first one or more instruction sets for operating 20 sets for operating the device correlated with the first stream
 the device correlated with the first stream of collections of of collections of object representations includes modifying
 object representations. In further embodiments, the execut- one or more code segments , lines of code , statements,
 ing , by the logic circuit , the first one or more instruction sets instructions, functions, routines, subroutines, or basic
 for operating the device correlated with the first stream of blocks . In further embodiments, the executing the first one
 collections of object representations includes replacing out- 25 or more instruction sets for operating the device correlated
 puts from the logic circuit with the first one or more with the first stream of collections of object representations
 instruction sets for operating the device correlated with the includes a manual, an automatic, a dynamic, or a just in time
 first stream of collections of object representations.              (JIT ) instrumentation of an application . In further embodi
    In some embodiments , the executing the first one or more ments, the executing the first one or more instruction sets for
 instruction sets for operating the device correlated with the 30 operating the device correlated with the first stream of
 first stream of collections of object representations includes collections of object representations includes utilizing one or
 executing, by an application for operating the device , the more of a .NET tool , a .NET application programming
 first one or more instruction sets for operating the device interface ( API), a Java tool , a Java API , an operating system
 correlated with the first stream of collections of object tool , or an independent tool for modifying instruction sets .
 representations. In further embodiments, the executing the 35 In further embodiments , the executing the first one or more
 first one or more instruction sets for operating the device instruction sets for operating the device correlated with the
 correlated with the first stream of collections of object first stream of collections of object representations includes
 representations includes modifying an application, the appli- utilizing at least one of: a dynamic, an interpreted, or a
 cation including instruction sets for operating the device . In scripting programming language. In further embodiments ,
 further embodiments, the executing the first one or more 40 the executing the first one or more instruction sets for
 instruction sets for operating the device correlated with the operating the device correlated with the first stream of
 first stream of collections of object representations includes collections of object representations includes utilizing at
 redirecting an application to the first one or more instruction least one of: a dynamic code , a dynamic class loading, or a
 sets for operating the device correlated with the first stream reflection . In further embodiments , the executing the first
 of collections of object representations. In further embodi- 45 one or more instruction sets for operating the device corre
 ments, the executing the first one or more instruction sets for lated with the first stream of collections of object represen
 operating the device correlated with the first stream of tations includes utilizing an assembly language. In further
 collections of object representations includes redirecting an embodiments, the executing the first one or more instruction
 application to one or more alternate instruction sets , the sets for operating the device correlated with the first stream
 alternate instruction sets comprising the first one or more 50 of collections of object representations includes utilizing at
 instruction sets for operating the device correlated with the least one of: a metaprogramming, a self-modifying code , or
 first stream of collections of object representations. In fur- an instruction set modification tool . In further embodiments ,
 ther embodiments, the executing the first one or more the executing the first one or more instruction sets for
 instruction sets for operating the device correlated with the operating the device correlated with the first stream of
 first stream of collections of object representations includes 55 collections of object representations includes utilizing at
 modifying one or more instruction sets of an application . In least one of:just in time (JIT ) compiling, JIT interpretation,
 further embodiments, the executing the first one or more JIT translation, dynamic recompiling, or binary rewriting. In
 instruction sets for operating the device correlated with the further embodiments, the executing the first one or more
 first stream of collections of object representations includes instruction sets for operating the device correlated with the
 modifying a source code , a bytecode, an intermediate code, 60 first stream of collections of object representations includes
 a compiled code , an interpreted code , a translated code , a utilizing at least one of a dynamic expression creation , a
 runtime code, an assembly code , or a machine code . In dynamic expression execution , a dynamic function creation ,
 further embodiments, the executing the first one or more or a dynamic function execution . In further embodiments ,
 instruction sets for operating the device correlated with the the executing the first one or more instruction sets for
 first stream of collections of object representations includes 65 operating the device correlated with the first stream of
 modifying at least one of: the memory unit , a register of a collections of object representations includes adding or
 processor circuit, a storage , or a repository where instruction inserting additional code into a code of an application. In
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 further embodiments, the executing the first one or more           representations correlated with the second one or more
 instruction sets for operating the device correlated with the      instruction sets for operating the device .
 first stream of collections of object representations includes        In some aspects , the disclosure relates to a non -transitory
 at least one of: modifying, removing, rewriting, or overwrit- computer storage medium having a computer program
 ing a code of an application. In further embodiments, the 5 stored thereon , the program including instructions that when
 executing the first one or more instruction sets for operating     executed by one or more processor circuits cause the one or
 the device correlated with the first stream of collections of      more processor circuits to perform operations comprising :
 object representations includes at least one of: branching,        receiving, by a first processor circuit of the one or more
 redirecting, extending, or hot swapping a code of an appli-        processor circuits , a first stream of collections of object
 cation . The branching or redirecting the code may include 10 representations, the first stream of collections of object
 inserting at least one of: a branch , a jump, or a means for representations including one or more collections of repre
 redirecting an execution . In further embodiments, the sentations of objects detected by a sensor. The operations
 executing the first one or more instruction sets for operating may further comprise: receiving , by the first processor
 the device correlated with the first stream of collections of      circuit of the one or more processor circuits , a first one or
 object representations includes implementing a user's 15 more instruction sets for operating a device . The operations
 knowledge, style, or methodology of operating the device in may further comprise : learning, by the first processor circuit
 a circumstance . In further embodiments , the executing the of the one or more processor circuits , the first stream of
 first one or more instruction sets for operating the device collections of object representations correlated with the first
 correlated with the first stream of collections of object one or more instruction sets for operating the device. The
 representations includes executing the first one or more 20 operations may further comprise : receiving, by the first
 instruction sets for operating the device correlated with the processor circuit of the one or more processor circuits , a new
 first stream of collections of object representations via an stream of collections of object representations, the new
 interface . The interface may include a modification inter- stream of collections of object representations including one
 face.                                                              or more collections of representations of objects detected by
    In certain embodiments, the operations of the non - tran- 25 the sensor. The operations may further comprise: anticipat
 sitory computer storage medium and / or the method further ing , by the first processor circuit of the one or more
 comprise : receiving at least one extra information . In further processor circuits, the first one or more instruction sets for
 embodiments , the operations of the non - transitory computer operating the device correlated with the first stream of
 storage medium and / or the method further comprise: learn- collections of object representations based on at least a
 ing the first stream of collections of object representations 30 partial match between the new stream of collections of
 correlated with the at least one extra information .               object representations and the first stream of collections of
    In some embodiments, the operations of the non - transi- object representations. The operations may further com
 tory computer storage medium and / or the method further prise : causing, by the first processor circuit of the one or
 comprise : presenting, via a user interface , a user with an more processor circuits, an execution , by a second processor
 option to execute the first one or more instruction sets for 35 circuit of the one or more processor circuits , of the first one
 operating the device correlated with the first stream of or more instruction sets for operating the device correlated
 collections of object representations.                             with the first stream of collections of object representations,
    In certain embodiments, the operations of the non -tran- the causing performed in response to the anticipating, by the
 sitory computer storage medium and / or the method further first processor circuit of the one or more processor circuits,
 comprise : receiving, via a user interface , a user's selection 40 the first one or more instruction sets for operating the device
 to execute the first one or more instruction sets for operating correlated with the first stream of collections of object
 the device correlated with the first stream of collections of representations based on at least a partial match between the
 object representations.                                            new stream of collections of object representations and the
    In some embodiments, the operations of the non - transi- first stream of collections of object representations, wherein
 tory computer storage medium and / or the method further 45 the device performs one or more operations defined by the
 comprise : rating the executed first one or more instruction first one or more instruction sets for operating the device
 sets for operating the device correlated with the first stream correlated with the first stream of collections of object
 of collections of object representations.                          representations, the one or more operations by the device
    In certain embodiments, the operations of the non -tran- performed in response to the execution .
 sitory computer storage medium and / or the method further 50 In some aspects , the disclosure relates to a method com
 comprise : presenting, via a user interface, a user with an prising: (a ) receiving a first stream of collections of object
 option to cancel the execution of the executed first one or representations by a first processor circuit, the first stream of
 more instruction sets for operating the device correlated with collections of object representations including one or more
 the first stream of collections of object representations.     collections of representations of objects detected by a sen
    In some embodiments, the operations of the non -transi- 55 sor. The method may further comprise: ( b ) receiving a first
 tory computer storage medium and /or the method further one or more instruction sets for operating a device by the
 comprise : receiving, via an input device , a user's operating first processor circuit . The method may further comprise: (c )
 directions , the user's operating directions for instructing a learning the first stream of collections of object representa
 processor circuit on how to operate the device .               tions correlated with the first one or more instruction sets for
    In certain embodiments, the operations of the non -tran- 60 operating the device, the learning of ( c ) performed by the
 sitory computer storage medium and /or the method further first processor circuit. The method may further comprise : (d)
 comprise : receiving aa second stream of collections of object receiving a new stream of collections of object representa
 representations, the second stream of collections of object tions by the first processor circuit, the new stream of
 representations including one or more collections of repre- collections of object representations including one or more
 sentations of objects detected by the sensor; receiving a 65 collections of representations of objects detected by the
 second one or more instruction sets for operating the device ; sensor. The method may further comprise: (e ) anticipating
 and learning the second stream of collections of object the first one or more instruction sets for operating the device
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 correlated with the first stream of collections of object            tions correlated with the first one or more instruction sets for
 representations based on at least a partial match between the operating the device , the learning of ( c ) performed by the
 new stream of collections of object representations and the       processor circuit.
 first stream of collections of object representations, the           The operations or steps of the non - transitory computer
 anticipating of (e ) performed by the first processor circuit . 5 storage medium and /or the method may be performed by
 The method may further comprise: ( f) executing, by a any of the elements of the above described systems as
 second processor circuit , the first one or more instruction applicable . The non - transitory computer storage medium
 sets for operating the device correlated with the first stream    and /or the method may include any of the operations, steps ,
 of collections of object representations, the executing of ( f) and embodiments of the above described systems , non
 performed in response to the anticipating of ( e) . The method 10 transitory computer storage media , and / or methods as appli
 may further comprise: ( g) performing, by the device, one or         cable .
 more operations defined by the first one or more instruction           In some aspects , the disclosure relates to a system for
 sets for operating the device correlated with the first stream       using a device's circumstances for autonomous device oper
 of collections of object representations, the one or more ating . The system may be implemented at least in part on one
 operations by the device performed in response to the 15 or more computing devices. In some embodiments, the
 executing of ( f ).                                       system comprises: a processor circuit configured to execute
   The operations or steps of the non -transitory computer instruction sets for operating a device . The system may
 storage medium and / or the method may be performed by further comprise : a memory unit configured to store data .
 any of the elements of the above described systems as The system may further comprise : a sensor configured to
 applicable. The non -transitory computer storage medium 20 detect objects. The system may further comprise : an artifi
 and /or the method may include any of the operations, steps , cial intelligence unit . The artificial intelligence unit may be
 and embodiments of the above described systems, non- configured to : access the memory unit that comprises a
 transitory computer storage media , and / or methods as appli- plurality of streams of collections of object representations
 cable .                                                             correlated with one or more instruction sets for operating the
    In some aspects , the disclosure relates to a system for 25 device, the plurality of streams of collections of object
 learning a device's circumstances for autonomous device representations correlated with one or more instruction sets
 operating. The system may be implemented at least in part for operating the device including a first stream of collec
 on one or more computing devices. In some embodiments, tions of object representations correlated with aa first one or
 the system comprises: a processor circuit configured to more instruction sets for operating the device . The artificial
 execute instruction sets for operating a device . The system 30 intelligence unit may be further configured to : receive a new
 may further comprise : a memory unit configured to store stream of collections of object representations, the new
 data . The system may further comprise : a sensor configured stream of collections of object representations including one
 to detect objects . The system may further comprise: an or more collections of representations of objects detected by
 artificial intelligence unit . The artificial intelligence unit the sensor. The artificial intelligence unit may be further
 may be configured to : receive aa first stream of collections of 35 configured to : anticipate the first one or more instruction sets
 object representations, the first stream of collections of for operating the device correlated with the first stream of
 object representations including one or more collections of collections of object representations based on at least a
 representations of objects detected by the sensor. The arti- partial match between the new stream of collections of
 ficial intelligence unit may be further configured to : receive object representations and the first stream of collections of
 a first one or more instruction sets for operating the device . 40 object representations. The artificial intelligence unit may be
 The artificial intelligence unit may be further configured to : further configured to : cause the processor circuit to execute
 learn the first stream of collections of object representations the first one or more instruction sets for operating the device
 correlated with the first one or more instruction sets for correlated with the first stream of collections of object
 operating the device.                                               representations, the causing performed in response to the
    In some aspects , the disclosure relates to a non -transitory 45 anticipating of the artificial intelligence unit, wherein the
 computer storage medium having a computer program device performs one or more operations defined by the first
 stored thereon , the program including instructions that when one or more instruction sets for operating the device corre
 executed by one or more processor circuits cause the one or lated with the first stream of collections of object represen
 more processor circuits to perform operations comprising : tations , the one or more operations performed in response to
 receiving a first stream of collections of object representa- 50 the executing by the processor circuit .
 tions , the first stream of collections of object representations      In some aspects , the disclosure relates to a non - transitory
 including one or more collections of representations of computer storage medium having a computer program
 objects detected by a sensor. The operations may further stored thereon , the program including instructions that when
 comprise : receiving a first one or more instruction sets for executed by one or more processor circuits cause the one or
 operating a device . The operations may further comprise : 55 more processor circuits to perform operations comprising:
 learning the first stream of collections of object representa- accessing a memory unit that comprises a plurality of
 tions correlated with the first one or more instruction sets for streams of collections of object representations correlated
 operating the device.                                               with one or more instruction sets for operating a device, the
    In some aspects , the disclosure relates to a non method plurality of streams of collections of object representations
 comprising : ( a) receiving a first stream of collections of 60 correlated with one or more instruction sets for operating the
 object representations by a processor circuit, the first stream device including a first stream of collections of object
 of collections of object representations including one or representations correlated with a first one or more instruc
 more collections of representations of objects detected by a tion sets for operating the device . The operations may
 sensor . The method may further comprise : (b ) receiving a further comprise : receiving a new stream of collections of
 first one or more instruction sets for operating a device by 65 object representations, the new stream of collections of
 the processor circuit . The method may further comprise : (c ) object representations including one or more collections of
 learning the first stream of collections of object representa- representations of objects detected by a sensor. The opera
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 tions may further comprise : anticipating the first one or more may further comprise: a sensor configured to detect objects.
 instruction sets for operating the device correlated with the The system may further comprise: an artificial intelligence
 first stream of collections of object representations based on unit . The artificial intelligence unit may be configured to :
 at least a partial match between the new stream of collec- receive a first collection of object representations, the first
 tions of object representations and the first stream of col- 5 collection of object representations including one or more
 lections of object representations. The operations may fur representations of objects detected by the sensor. The arti
 ther comprise: causing an execution of the first one or more ficial intelligence unit may be further configured to : receive
 instruction sets for operating the device correlated with the a first one or more inputs, wherein the first one or more
 first stream of collections of object representations, the inputs are also received by the logic circuit . The artificial
 causing performed in response to the anticipating the first 10 intelligence
 one or more instruction sets for operating the device corre collection ofunit        may be further configured to : learn the first
 lated with the first stream of collections of object represen one or more inputs. representations
                                                                                   object                   correlated with the first
 tations based on at least a partial match between the new further configured to : receive a new collectionunitofmay
                                                                                           The  artificial intelligence           be
                                                                                                                              object
 stream of collections of object representations and the first
 stream    of collections of object representations, wherein the 1s representations, the new collection of object representations
 device performs one or more operations defined by the first including one or more representations of objects detected by
 one or more instruction sets for operating the device corre- the sensor. The artificial intelligence unit may be further
 lated with the first stream of collections of object represen configured to : anticipate the first one or more inputs corre
 tations , the one or more operations by the device performed lated with the first collection of object representations based
 in response to the execution.                                   20 on at least a partial match between the new collection of
      In some aspects , the disclosure relates to a method com- object representations and the first collection of object
 prising: ( a) accessing a memory unit that comprises a representations. The artificial intelligence unit may be fur
 plurality of streams of collections of object representations ther configured to : cause the logic circuit to receive the first
 correlated with one or more instruction sets for operating a one or more inputs correlated with the first collection of
 device, the plurality of streams of collections of object 25 object representations, the causing performed in response to
 representations correlated with one or more instruction sets the anticipating of the artificial intelligence unit, wherein the
 for operating the device including a first stream of collec- device performs one or more operations defined by one or
 tions of object representations correlated with a first one or more outputs for operating the device produced by the logic
 more instruction sets for operating the device , the accessing circuit.
 of ( a) performed by a processor circuit . The method may 30 In some embodiments, the logic circuit configured to
 further comprise: ( b ) receiving a new stream of collections receive inputs and produce outputs includes a logic circuit
 of object representations by the processor circuit, the new configured to produce outputs based at least in part on logic
 stream of collections of object representations including one operations performed on the inputs. In further embodiments,
 or more collections of representations of objects detected by the learning the first collection of object representations
 a sensor. The method may further comprise: ( c ) anticipating 35 correlated with the first one or more inputs includes corre
 the first one or more instruction sets for operating the device lating the first collection of object representations with the
 correlated with the first stream of collections of object first one or more inputs. In further embodiments , the learn
 representations based on at least a partial match between the ing the first collection of object representations correlated
 new stream of collections of object representations and the with the first one or more inputs includes storing the first
 first stream of collections of object representations, the 40 collection of object representations correlated with the first
 anticipating of (c ) performed by the processor circuit . The one or more inputs into the memory unit, the first collection
 method may further comprise: (d) executing the first one or of object representations correlated with the first one or
 more instruction sets for operating the device correlated with more inputs being part of a plurality of collections of object
 the first stream of collections of object representations, the representations correlated with one or more inputs stored in
 executing of ( d) performed in response to the anticipating of 45 the memory unit . In further embodiments, the anticipating
 ( c ) . The method may further comprise: (e ) performing, by the first one or more inputs correlated with the first collec
 the device, one or more operations defined by the first one tion of object representations based on at least a partial
 or more instruction sets for operating the device correlated match between the new collection of object representations
 with the first stream of collections of object representations, and the first collection of object representations includes
 the one or more operations by the device performed in 50 comparing at least one portion of the new collection of
 response to the executing of ( d ).                                object representations with at least one portion of the first
      The operations or steps of the non - transitory computer collection of object representations. In further embodiments,
 storage medium and / or the method may be performed by the anticipating the first one or more inputs correlated with
 any of the elements of the above described systems as the first collection of object representations based on at least
 applicable. The non -transitory computer storage medium 55 a partial match between the new collection of object repre
 and / or the method may include any of the operations, steps , sentations and the first collection of object representations
 and embodiments of the above described systems, non- includes determining that there is at least a partial match
 transitory computer storage media , and / or methods as appli- between the new collection of object representations and the
 cable .                                                            first collection of object representations. In further embodi
      In some aspects , the disclosure relates to a system for 60 ments, the causing the logic circuit to receive the first one or
 learning and using a device's circumstances for autonomous more inputs correlated with the first collection of object
 device operating. The system may be implemented at least representations includes transmitting, to the logic circuit , the
 in part on one or more computing devices . In some embodi- first one or more inputs correlated with the first collection of
 ments , the system comprises: a logic circuit configured to object representations. In further embodiments, the causing
 receive inputs and produce outputs, wherein the outputs are 65 the logic circuit to receive the first one or more inputs
 used for operating a device . The system may further com- correlated with the first collection of object representations
 prise: a memory unit configured to store data . The system includes replacing one or more inputs into the logic circuit
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 with the first one or more inputs correlated with the first         any of the elements of the above described systems as
 collection of object representations.                               applicable . The non - transitory computer storage medium
    In some aspects , the disclosure relates to a non - transitory   and / or the method may include any of the operations, steps ,
 computer storage medium having a computer program                   and embodiments of the above described systems , non
 stored thereon , the program including instructions that when 5 transitory computer storage media , and / or methods as appli
 executed by one or more processor circuits cause the one or cable .
 more processor circuits to perform operations comprising :             In some aspects , the disclosure relates to a system for
 receiving a first collection of object representations, the first learning and using a device's circumstances for autonomous
 collection of object representations including one or more device operating. The system may be implemented at least
 representations of objects detected by a sensor. The opera- 10 in part on one or more computing devices . In some embodi
 tions may further comprise : receiving a first one or more ments, the system comprises : a logic circuit configured to
 inputs , wherein the first one or more inputs are also received receive inputs and produce outputs, wherein the outputs are
 by a logic circuit, and wherein the logic circuit is configured used for operating a device . The system may further com
 to receive inputs and produce outputs, and wherein the prise : a memory unit configured to store data . The system
 outputs are used for operating a device . The operations may 15 may further comprise : a sensor configured to detect objects.
 further comprise: learning the first collection of object The system may further comprise : an artificial intelligence .
 representations correlated with the first one or more inputs . The artificial intelligence unit may be configured to : receive
 The operations may further comprise: receiving a new a first collection of object representations, the first collection
 collection of object representations, the new collection of of object representations including one or more representa
 object representations including one or more representations 20 tions of objects detected by the sensor. The artificial       intel
 of objects detected by the sensor. The operations may further ligence unit may be further configured to : receive aa first one
 comprise : anticipating the first one or more inputs correlated or more outputs, the first one or more outputs transmitted
 with the first collection of object representations based on at from the logic circuit. The artificial intelligence unit may be
 least a partial match between the new collection of object further configured to : learn the first collection of object
 representations and the first collection of object representa- 25 representations correlated with the first one or more outputs.
 tions . The operations may further comprise: causing the The artificial intelligence unit may be further configured to :
 logic circuit to receive the first one or more inputs correlated receive a new collection of object representations, the new
 with the first collection of object representations, the causing collection of object representations including one or more
 performed in response to the anticipating the first one or representations of objects detected by the sensor . The arti
 more inputs correlated with the first collection of object 30 ficial intelligence unit may be further configured to : antici
 representations based on at least a partial match between the pate the first one or more outputs correlated with the first
 new collection of object representations and the first collec- collection of object representations based on at least a partial
 tion of object representations, wherein the device performs match between the new collection of object representations
 one or more operations defined by one or more outputs for and the first collection of object representations. The artifi
 operating the device produced by the logic circuit .             35 cial intelligence unit may be further configured to : cause the
    In some aspects , the disclosure relates to a method com- device to perform one or more operations defined by the first
 prising: (a ) receiving a first collection of object representa- one or more outputs correlated with the first collection of
 tions by a processor circuit , the first collection of object object representations, the causing performed in response to
 representations including one or more representations of the anticipating of the artificial intelligence unit .
 objects detected by a sensor. The method may further 40 In some embodiments, the learning the first collection of
 comprise : (b ) receiving a first one or more inputs by the object representations correlated with the first one or more
 processor circuit, wherein the first one or more inputs are outputs includes correlating the first collection of object
 also received by a logic circuit , and wherein the logic circuit representations with the first one or more outputs. In further
 is configured to receive inputs and produce outputs, and embodiments, the learning the first collection of object
 wherein the outputs are used for operating a device. The 45 representations correlated with the first one or more outputs
 method may further comprise: ( c ) learning the first collec- includes storing the first collection of object representations
 tion of object representations correlated with the first one or correlated with the first one or more outputs into the memory
 more inputs, the learning of ( c ) performed by the processor unit, the first collection of object representations correlated
 circuit . The method may further comprise: ( d) receiving a with the first one or more outputs being part of a plurality of
 new collection of object representations by the processor 50 collections of object representations correlated with one or
 circuit , the new collection of object representations includ- more outputs stored in the memory unit . In further embodi
 ing one or more representations of objects detected by the ments, the anticipating the first one or more outputs corre
 sensor . The method may further comprise : (e ) anticipating lated with the first collection of object representations based
 the first one or more inputs correlated with the first collec- on at least a partial match between the new collection of
 tion of object representations based on at least a partial 55 object representations and the first collection of object
 match between the new collection of object representations representations includes comparing at least one portion of
 and the first collection of object representations, the antici- the new collection of object representations with at least one
 pating of ( e ) performed by the processor circuit. The method portion of the first collection of object representations. In
 may further comprise: ( f) receiving , by the logic circuit, the further embodiments, the anticipating the first one or more
 first one or more inputs correlated with the first collection of 60 outputs correlated with the first collection of object repre
 object representations, the receiving of ( f) performed in sentations based on at least a partial match between the new
 response to the anticipating of (e ) . The method may further collection of object representations and the first collection of
 comprise : (g ) performing, by the device, one or more object representations includes determining that there is at
 operations defined by one or more outputs for operating the least a partial match between the new collection of object
 device produced by the logic circuit .                           65 representations and the first collection of object representa
    The operations or steps of the non - transitory computer tions . In further embodiments , the causing the device to
 storage medium and / or the method may be performed by perform one or more operations defined by the first one or
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 more outputs correlated with the first collection of object and /or the method may include any of the operations, steps ,
 representations includes replacing one or more outputs from and embodiments of the above described systems , non
 the logic circuit with the first one or more outputs correlated transitory computer storage media , and /or methods as appli
 with the first collection of object representations.                 cable .
    In some aspects , the disclosure relates to a non - transitory 5 In some aspects , the disclosure relates to a system for
 computer storage medium having a computer program learning and using a device's circumstances for autonomous
 stored thereon , the program including instructions that when device operating. The system may be implemented at least
 executed by one or more processor circuits cause the one or in part on one or more computing devices . In some embodi
 more processor circuits to perform operations comprising: ments, the system comprises: an actuator configured to
 receiving a first collection of object representations, the first 10 receive inputs and perform motions . The system may further
 collection of object representations including one or more comprise: a memory unit configured to store data . The
 representations of objects detected by a sensor . The opera- system may further comprise: a sensor configured to detect
 tions may further comprise: receiving a first one or more objects. The system may further comprise : an artificial
 outputs, the first one or more outputs transmitted from a intelligence unit . The artificial intelligence unit may be
 logic circuit, wherein the logic circuit is configured to 15 configured to : receive aa first collection of object represen
 receive inputs and produce outputs, and wherein the outputs tations , the first collection of object representations includ
 are used for operating a device. The operations may further ing one or more representations of objects detected by the
 comprise : learning the first collection of object representa- sensor . The artificial intelligence unit may be further con
 tions correlated with the first one or more outputs. The figured to : receive a first one or more inputs, wherein the first
 operations may further comprise : receiving a new collection 20 one or more inputs are also received by the actuator . The
 of object representations, the new collection of object rep- artificial intelligence unit may be further configured to : learn
 resentations including one or more representations of objects the first collection of object representations correlated with
 detected by the sensor. The operations may further comprise: the first one or more inputs. The artificial intelligence unit
 anticipating the first one or more outputs correlated with the may be further configured to : receive a new collection of
 first collection of object representations based on at least a 25 object representations, the new collection of object repre
 partial match between the new collection of object repre- sentations including one or more representations of objects
 sentations and the first collection of object representations. detected by the sensor. The artificial intelligence unit may be
 The operations may further comprise : causing the device to further configured to : anticipate the first one or more inputs
 perform one or more operations defined by the first one or correlated with the first collection of object representations
 more outputs correlated with the first collection of object 30 based on at least a partial match between the new collection
 representations, the causing performed in response to the of object representations and the first collection of object
 anticipating the first one or more outputs correlated with the representations. The artificial intelligence unit may be fur
 first collection of object representations based on least a ther configured cause the ac tor to receive the first one
 partial match between the new collection of object repre- or more inputs correlated with the first collection of object
 sentations and the first collection of object representations. 35 representations, the causing performed in response to the
    In some aspects , the disclosure relates to a method com- anticipating of the artificial intelligence unit, wherein the
 prising: (a ) receiving a first collection of object representa- actuator performs one or more motions defined by the first
 tions by a processor circuit , the first collection of object one or more inputs correlated with the first collection of
 representations including one or more representations of object representations.
 objects detected by a sensor. The method may further 40 In some aspects , the disclosure relates to a non - transitory
 comprise : (b ) receiving a first one or more outputs by the computer storage medium having a computer program
 processor circuit, the first one or more outputs transmitted stored thereon , the program including instructions that when
 from a logic circuit , wherein the logic circuit is configured executed by one or more processor circuits cause the one or
 to receive inputs and produce outputs, and wherein the more processor circuits to perform operations comprising:
 outputs are used for operating a device . The method may 45 receiving a first collection of object representations, the first
 further comprise: ( C ) learning the first collection of object collection of object representations including one or more
 representations correlated with the first one or more outputs, representations of objects detected by a sensor . The opera
 the learning of ( c ) performed by the processor circuit . The tions may further comprise : receiving a first one or more
 method may further comprise : (d) receiving a new collection inputs, wherein the first one or more inputs are also received
 of object representations by the processor circuit, the new 50 by an actuator, and wherein the actuator is configured to
 collection of object representations including one or more receive inputs and perform motions . The operations may
 representations of objects detected by the sensor. The further comprise: learning the first collection of object
 method may further comprise: ( e) anticipating the first one representations correlated with the first one or more inputs.
 or more outputs correlated with the first collection of object The operations may further comprise : receiving a new
 representations based on at least a partial match between the 55 collection of object representations, the new collection of
 new collection of object representations and the first collec- object representations including one or more representations
 tion of object representations, the anticipating of ( e) per- of objects detected by the sensor. The operations may further
 formed by the processor circuit. The method may further comprise: anticipating the first one or more inputs correlated
 comprise : ( f) performing, by the device, one or more opera- with the first collection of object representations based on at
 tions defined by the first one or more outputs correlated with 60 least a partial match between the new collection of object
 the first collection of object representations, the one or more representations and the first collection of object representa
 operations by the device performed in response to the tions . The operations may further comprise: causing the
 anticipating of (e ) .                                               actuator to receive the first one or more inputs correlated
    The operations or steps of the non - transitory computer with the first collection of object representations, the causing
 storage medium and /or the method may be performed by 65 performed in response to the anticipating the first one or
 any of the elements of the above described systems as more inputs correlated with the first collection of object
 applicable. The non - transitory computer storage medium representations based on at least a partial match between the
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 new collection of object representations and the first collec-         FIGS . 8A - 8B illustrate some embodiments of Extra Infor
 tion of object representations, wherein the actuator performs        mation 527 .
 one or more motions defined by the first one or more inputs            FIG . 9 illustrates an embodiment where DCADO Unit
 correlated with the first collection of object representations. 5 100 is part of or operating on Processor 11 .
    In some aspects , the disclosure relates to a method com-           FIG . 10 illustrates an embodiment where DCADO Unit
 prising: (a ) receiving a first collection of object representa-     100 resides on Server 96 accessible over Network 95 .
 tions by a processor circuit , the first collection of object        FIG . 11 illustrates an embodiment of learning and / or
 representations including one or more representations of using           Remote Device's 97 circumstances for autonomous
 objects detected by a sensor. The method may further Remote Device 97 operation.
 comprise : (b ) receiving a first one or more inputs by the 10 FIG . 12 illustrates an embodiment of Artificial Intelli
 processor circuit, wherein the first one or more inputs are gence Unit 110 .
 also received by an actuator, and wherein the actuator is            FIG . 13 illustrates an embodiment of Knowledge Struc
 configured to receive inputs and perform motions . The
 method may further comprise: ( c ) learning the first collec turing Unit 520 correlating individual Collections of Object
 tion of object representations correlated with the first one or 15 Representations  525 with any Instruction Sets 526 and /or
 more inputs, the learning of ( c ) performed by the processor Extra      Info 527 .
                                                                      FIG . 14 illustrates another embodiment of Knowledge
 circuit . The method may further comprise: ( d) receiving a
 new collection of object representations by the processor Structuring Unit 520 correlating individual Collections of
 circuit , the new collection of object representations includ Object Representations 525 with any Instruction Sets 526
 ing one or more representations of objects detected by the 20 and / or Extra Info 527.
 sensor . The method may further comprise : (e ) anticipating       FIG . 15 illustrates an embodiment of Knowledge Struc
 the first one or more inputs correlated with the first collec- turing Unit 520 correlating streams of Collections of Object
 tion of object representations based on at least a partial Representations 525 with any Instruction Sets 526 and / or
 match between the new collection of object representations Extra Info 527 .
 and the first collection of object representations, the antici- 25 FIG . 16 illustrates another embodiment of Knowledge
 pating of ( e ) performed by the processor circuit. The method Structuring Unit 520 correlating streams of Collections of
 may further comprise : ( f) receiving , by the actuator, the first   Object Representations 525 with any Instruction Sets 526
 one or more inputs correlated with the first collection of           and /or Extra Info 527 .
 object representations, the receiving of ( f) performed in             FIG . 17 illustrates various artificial intelligence methods,
 response to the anticipating of (e ) . The method may further 30 systems , and / or models that can be utilized in DCADO Unit
 comprise : ( g) performing, by the actuator, one or more 100 embodiments .
 motions defined by the first one or more inputs correlated           FIG . 18A - 18C illustrate embodiments of interconnected
 with the first collection of object representations.              Knowledge Cells 800 and updating weights of Connections
    The operations or steps of the non -transitory computer 853 .
 storage medium and / or the method may be performed by 35 FIG . 19 illustrates an embodiment of learning Knowledge
 any of the elements of the above described systems as Cells 800 comprising one or more Collections of Object
 applicable. The non - transitory computer storage medium Representations 525 correlated with any Instruction Sets 526
 and / or the method may include any of the operations, steps , and / or Extra Info 527 using Collection of Knowledge Cells
 and embodiments of the above described systems, non 530d .
 transitory computer storage media , and / or methods as appli- 40 FIG . 20 illustrates an embodiment of learning Knowledge
 cable .                                                           Cells 800 comprising one or more Collections of Object
    Other features and advantages of the disclosure will Representations 525 correlated with any Instruction Sets 526
 become apparent from the following description , including and / or Extra Info 527 using Neural Network 530a .
 the claims and drawings.                                             FIG . 21 illustrates an embodiment of learning Knowledge
                                                                45 Cells 800 comprising one or more Collections of Object
         BRIEF DESCRIPTION OF THE DRAWINGS                         Representations 525 correlated with any Instruction Sets 526
                                                                   and / or Extra Info 527 using Neural Network 530a compris
    FIG . 1 illustrates a block diagram of Computing Device ing shortcut Connections 853 .
 70 that can provide processing capabilities used in some of          FIG . 22 illustrates an embodiment of learning Knowledge
 the disclosed embodiments .                                    50 Cells 800 comprising one or more Collections of Object
    FIG . 2 illustrates an embodiment of Device 98 comprising Representations 525 correlated with any Instruction Sets 526
 Unit for Learning and /or Using a Device's Circumstances and / or Extra Info 527 using Graph 530b .
 for Autonomous Device Operation ( DCADO Unit 100 ) .                 FIG . 23 illustrates an embodiment of learning Knowledge
    FIGS . 3A - 3E illustrate various embodiments of Sensors Cells 800 comprising one or more Collections of Object
 92 and elements of Object Processing Unit 93 .                 55 Representations 525 correlated with any Instruction Sets 526
    FIGS . 4A - 4B , illustrate an exemplary embodiment of and / or Extra Info 527 using Collection of Sequences 530c .
 Objects 615 detected in Device's 98 surrounding, and result-         FIG . 24 illustrates an embodiment of determining antici
 ing Collection of Object Representations 525 .                    patory Instruction Sets 526 from a single Knowledge Cell
    FIG . 5 illustrates some embodiments of obtaining instruc- 800 .
 tion sets, data , and / or other information through tracing, 60 FIG . 25 illustrates an embodiment of determining antici
 profiling, or sampling of Processor 11 registers , memory, or patory Instruction Sets 526 by traversing a single Knowl
 other computing system components.                                   edge Cell 800 .
   FIGS . 6A - 6B illustrate some embodiments of obtaining              FIG . 26 illustrates an embodiment of determining antici
 instruction sets , data , and / or other information through trac- patory Instruction Sets 526 using collective similarity com
 ing , profiling, or sampling of Logic Circuit 250 .               65 parisons.
    FIGS . 7A - 7E illustrate some embodiments of Instruction           FIG . 27 illustrates an embodiment of determining antici
 Sets 526 .                                                           patory Instruction Sets 526 using Neural Network 530a .
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   FIG . 28 illustrates an embodiment of determining antici-          learning and / or using a device's circumstances for autono
 patory Instruction Sets 526 using Graph 530b.                mous device operation, any of their elements, any of their
   FIG . 29 illustrates an embodiment of determining antici- embodiments, or a combination thereof can generally be
 patory Instruction Sets 526 using Collection of Sequences referred to as DCADO , DCADO Unit, or as other suitable
 530c .                                                     5 name or reference.
   FIG . 30 illustrates some embodiments of modifying           Referring now to FIG . 1 , an embodiment is illustrated of
 execution and / or functionality of Processor 11 through Computing Device 70 ( also referred to simply as computing
 modification of Processor 11 registers, memory , or other device, computing system , or other suitable name or refer
 computing system components .                                ence, etc.) that can provide processing capabilities used in
   FIGS. 31A-31B illustrate some embodiments of modify- 10 some embodiments of the forthcoming disclosure. Later
 ing execution and / or functionality of Logic Circuit 250            described devices , systems , and methods, in combination
 through modification of inputs and / or outputs of Logic with processing capabilities of Computing Device 70 ,
 Circuit 250 .                                                          enable learning and / or using a device's circumstances for
    FIG . 32 illustrates aa flow chart diagram of an embodiment autonomous device operation and / or other functionalities
 of method 9100 for learning and / or using a device's cir- 15 described herein . Various embodiments of the disclosed
 cumstances for autonomous device operation.                            devices, systems, and methods include hardware, functions,
    FIG . 33 illustrates aa flow chart diagram of an embodiment logic , programs, and / or a combination thereof that can be
 of method 9200 for learning and / or using a device's cir- implemented using any type or form of computing, com
 cumstances for autonomous device operation .                           puting enabled , or other device or system such as a mobile
    FIG . 34 illustrates a flow chart diagram of an embodiment 20 device, a computer, a computing enabled telephone, a server,
 of method 9300 for learning and / or using a device's cir- a gaming device , a television device , a digital camera , a GPS
 cumstances for autonomous device operation .                           receiver, a media player, an embedded device , a supercom
    FIG . 35 illustrates a flow chart diagram of an embodiment puter, a wearable device, an implantable device , a cloud , or
 of method 9400 for learning and / or using a device's cir- any other type or form of computing, computing enabled , or
 cumstances for autonomous device operation .                        25 other device or system capable of performing the operations
    FIG . 36 illustrates a flow chart diagram of an embodiment described herein .
 of method 9500 for learning and / or using a device's cir-                In some designs, Computing Device 70 comprises hard
 cumstances for autonomous device operation .                           ware, processing techniques or capabilities , programs, or a
    FIG . 37 illustrates a flow chart diagram of an embodiment combination thereof. Computing Device 70 includes one or
 of method 9600 for learning and / or using a device's cir- 30 more central processing units, which may also be referred to
                                                                                                      9

 cumstances for autonomous device operation .                           as processors 11. Processor 11 includes one or more memory
    FIG . 38 illustrates an exemplary embodiment of Loader ports 10 and / or one or more input -output ports, also referred
 98a .                                                                  to as I /O ports 15 , such as I/O ports 15A and 15B . Processor
    FIG . 39 illustrates an exemplary embodiment of Boat 98b . 11 may be special or general purpose . Computing Device 70
    FIG . 40 illustrates an exemplary embodiment of utilizing 35 may further include memory 12 , which can be connected to
 Area of Interest 450 around Boat 98b .                                 the remainder of the components of Computing Device 70
    Like reference numerals in different figures indicate like via bus 5. Memory 12 can be connected to processor 11 via
 elements . Horizontal or vertical “        or other such indicia memory port 10. Computing Device 70 may also include
 may be used to indicate additional instances of the same type display device 21 such as a monitor, projector, glasses ,
 of element n, m, x , or other such letters or indicia represent 40 and /or other display device . Computing Device 70 may also
 integers or other sequential numbers that follow the include Human -machine Interface 23 such as a keyboard, a
 sequence where they are indicated . It should be noted that n , pointing device , a mouse , a touchscreen, a joystick , a remote
 m , x , or other such letters or indicia may represent different controller, and / or other input device. In some implementa
 numbers in different elements even where the elements are tions , Human- machine Interface 23 can be connected with
 depicted in the same figure . In general, n , m , x , or other such 45 bus 5 or directly connected with specific elements of Com
 letters or indicia may follow the sequence and / or context puting Device 70. Computing Device 70 may include addi
 where they are indicated . Any of these or other such letters tional elements such as one or more input/output devices 13 .
 or indicia may be used interchangeably depending on con- Processor 11 may include or be interfaced with cache
 text and space available . The drawings are not necessarily to memory 14. Storage 27 may include memory, which pro
 scale , with emphasis instead being placed upon illustrating 50 vides an operating system 17 (i.e. also referred to as OS 17 ,
 the embodiments, principles , and concepts of the disclosure . etc. ) , additional application programs 18 , and / or data space
 A line or arrow between any of the disclosed elements 19 in which additional data or information can be stored .
 comprises an interface that enables the coupling, connection , Alternative memory device 16 can be connected to the
 and /or interaction between the elements.                              remaining components of Computing Device 70 via bus 5 .
                                                                     55 Network interface 25 can also be connected with bus 5 and
                   DETAILED DESCRIPTION                                 be used to communicate with external computing devices
                                                                        via a network . Some or all described elements of Computing
    The disclosed artificially intelligent devices, systems, and Device 70 can be directly or operatively connected or
 methods for learning and / or using a device's circumstances coupled with each other using any other connection means
 for autonomous device operation comprise apparatuses, 60 known in art. Other additional elements may be included as
 systems , methods, features, functionalities, and / or applica- needed , or some of the disclosed ones may be excluded, or
 tions that enable learning a device's circumstances including a combination thereof may be utilized in alternate imple
 objects with various properties along with correlated instruc- mentations of Computing Device 70 .
 tion sets for operating the device , storing this knowledge in            Processor 11 includes one or more circuits or devices that
 a knowledgebase (i.e. neural network , graph , sequences , 65 can execute instructions fetched from memory 12 and / or
 etc. ) , and operating a device autonomously. The disclosed other element. Processor 11 may include any combination of
 artificially intelligent devices , systems, and methods for hardware and / or processing techniques or capabilities for
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 executing or implementing logic functions or programs.           ers . In further embodiments, Storage 27 can be provided in
 Processor 11 may include a single core or a multi core an optical storage device such as holographic storage, and / or
 processor. Processor 11 includes the functionality for load- others. In further embodiments , Storage 27 may include any
 ing operating system 17 and operating any application non - volatile memory. In general, Storage 27 can be based on
 programs 18 thereon . In some embodiments, Processor 11 5 any of the aforementioned or other available storage devices
 can be provided in a microprocessing or a processing unit, or mediums capable of operating as described herein . In
 such as , for example , Snapdragon processor produced by some aspects , Storage 27 may include any features, func
 Qualcomm Inc. , processor by Intel Corporation of Mountain tionalities , and embodiments of Memory 12 , and vice versa ,
 View , Calif., processor manufactured by Motorola Corpo- as applicable.
 ration of Schaumburg , Ill .; processor manufactured by 10 Processor 11 can communicate directly with cache
 Transmeta Corporation of Santa Clara , Calif .; processor memory 14 via aa connection means such as a secondary bus
 manufactured by International Business Machines of White which may also sometimes be referred to as a backside bus .
 Plains , N.Y .; processor manufactured by Advanced Micro In some embodiments, processor 11 can communicate with
 Devices of Sunnyvale, Calif ., or any computing circuit or cache memory 14 using the system bus 5. Cache memory 14
 device for performing similar functions. In other embodi- 15 may typically have aa faster response time than main memory
 ments, processor 11 can be provided in a graphics processing 12 and can include a type of memory which is considered
 unit (GPU ), visual processing unit ( VPU ), or other highly faster than main memory 12 such as , for example, SRAM ,
 parallel processing circuit or device such as , for example, BSRAM , or EDRAM . Cache memory includes any structure
 nVidia GeForce line of GPUs , AMD Radeon line of GPUs, such as multilevel caches , for example . In some embodi
 and / or others. Such GPUs or other highly parallel processing 20 ments, processor 11 can communicate with one or more I /O
 circuits or devices may provide superior performance in devices 13 via a system bus 5. Various busses can be used
 processing operations on neural networks, graphs, and /or to connect processor 11 to any of the I/ O devices 13 such as
 other data structures . In further embodiments , processor 11 a VESA VL bus , an ISA bus , an EISA bus , a MicroChannel
 can be provided in aa micro controller such as , for example, Architecture (MCA) bus , a PCI bus , a PCI -X bus , a PCI
 Texas instruments, Atmel, Microchip Technology , ARM , 25 Express bus , a NuBus, and / or others. In some embodiments,
 Silicon Labs, Intel, and / or other lines of micro controllers . In processor 11 can communicate directly with I /O device 13
 further embodiments, processor 11 can be provided in a via HyperTransport, Rapid I/ O , or InfiniBand. In further
 quantum processor such as , for example, D - Wave Systems, embodiments, local busses and direct communication can be
 Microsoft, Intel, IBM , Google , Toshiba, and / or other lines of mixed . For example, processor 11 can communicate with an
 quantum processors. In further embodiments, processor 11 30 I/ O device 13 using a local interconnect bus and communi
 can be provided in a biocomputer such as DNA -based cate with another I /O device 13 directly . Similar configura
 computer, protein- based computer, molecule -based com- tions can be used for any other components described herein .
 puter, and/or others. In further embodiments, processor 11      Computing Device 70 may further include alternative
 includes any circuit or device for performing logic opera- memory such as a SD memory slot , a USB memory stick , an
 tions . Processor 11 can be based on any of the aforemen- 35 optical drive such as a CD - ROM drive , a CD - R /RW drive,
 tioned or other available processors capable of operating as a DVD - ROM drive or a BlueRay disc , a hard - drive, and / or
 described herein . Computing Device 70 may include one or any other device comprising non - volatile memory suitable
 more of the aforementioned or other processors. In some for storing data or installing application programs. Comput
 designs , processor 11 can communicate with memory 12 via ing Device 70 may further include a storage device 27
 a system bus 5. In other designs, processor 11 can commu- 40 comprising any type or form of non - volatile memory for
 nicate directly with memory 12 via a memory port 10 .        storing an operating system (OS ) such as any type or form
    Memory 12 includes one or more circuits or devices of Windows OS , Mac OS , Unix OS , Linux OS , Android OS ,
 capable of storing data. In some embodiments , Memory 12 iPhone OS , mobile version of Windows OS , an embedded
 can be provided in a semiconductor or electronic memory OS , or any other OS that can operate on Computing Device
 chip such as static random access memory (SRAM ), Flash 45 70. Computing Device 70 may also include application
 memory , Burst SRAM or SynchBurst SRAM (BSRAM ), programs 18 , and / or data space 19 for storing additional data
 Dynamic random access memory (DRAM ), Fast Page Mode or information . In some embodiments, alternative memory
 DRAM ( FPM DRAM ), Enhanced DRAM (EDRAM ), 16 can be used as or similar to storage device 27. Addition
 Extended Data Output RAM (EDO RAM ), Extended Data ally, OS 17 and / or application programs 18 can be operable
 Output DRAM (EDO DRAM ), Burst Extended Data Output 50 from aa bootable medium such as , for example, a flash drive ,
 DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ), a micro SD card, a bootable CD or DVD , and / or other
 synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                   bootable medium .
 SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                       Application Program 18 ( also referred to as program ,
 Enhanced SDRAM ( ESDRAM ), SyncLink DRAM (SL- computer program , application, script , code , or other suit
 DRAM ), Direct Rambus DRAM ( DRDRAM ), Ferroelectric 55 able name or reference ) comprises instructions that can
 RAM ( FRAM ), and / or others. In other embodiments , provide functionality when executed by processor 11. As
 Memory 12 includes any volatile memory. In general, such , Application Program 18 may be used to operate (i.e.
 Memory 12 can be based on any of the aforementioned or perform operations on /with ) or control a device or system .
 other available memories capable of operating as described Application program 18 can be implemented in a high -level
 herein .                                                      60 procedural or object-oriented programming language, or in
    Storage 27 includes one or more devices or mediums a low - level machine or assembly language. Any language
 capable of storing data. In some embodiments, Storage 27 used can be compiled, interpreted, or otherwise translated
 can be provided in aa device or medium such as a hard drive, into machine language. Application program 18 can be
 flash drive, optical disk , and / or others. In other embodi- deployed in any form including as a stand - alone program or
 ments, Storage 27 can be provided in a biological storage 65 as a module, component, subroutine, or other unit suitable
 device such as DNA - based storage device , protein -based for use in a computing system . Application program 18 does
 storage device, molecule - based storage device, and / or oth- not necessarily correspond to a file in a file system . A
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 program can be stored in a portion of a file that may hold          and /or other output interface or system can be utilized to
 other programs or data , in a single file dedicated to the     process output from elements of Computing Device 70 for
 program , or in multiple files (i.e. files that store one or more
                                                                conveyance on an output device such as Display 21. In some
 modules, sub programs, or portions of code , etc. ) . Applica- aspects , Display 21 or other output device itself may include
 tion Program 18 can be delivered in various forms such as , 5 an output interface for processing output from elements of
 for example, executable file, library, script, plugin, addon , Computing Device 70. Further, an input interface ( not
 applet, interface , console application, web application, shown ) such as a keyboard listener, a touchscreen listener, a
 application service provider (ASP ) -type application , oper mouse      listener, any device driver ( i.e. audio , video , key
 ating system , and / or other forms. Application program 18 board , mouse
 can be deployed to be executed on one computing device or 10 input interface, touchscreen   , or other driver ), and / or other
 on multiple computing devices (i.e. cloud , distributed, or from Human -machine Interfacebe23 utilized
                                                                                  or system can               to process input
                                                                                                     or other input device for
 parallel computing, etc. ) , or at one site or distributed across   use by elements of Computing Device 70. In some aspects ,
 multiple sites interconnected by a communication network            Human - machine Interface 23 or other input device itself
 or an interface.
   Network interface 25 can be utilized for interfacing 15 bymayelements
 Computing Device 70 with other devices via a network
                                                                  includeofan Computing
                                                                              input interface for processing input for use
                                                                                          Device 70 .
 through a variety of connections including telephone lines ,          Computing Device 70 may include or be connected to
 wired or wireless connections, LAN or WAN links ( i.e.              multiple display devices 21. Display devices 21 can each be
 802.11 , T1 , T3 , 56 kb, X.25 , etc.), broadband connections       of the same or different type or form . Computing Device 70
 (i.e. ISDN, Frame Relay, ATM , etc.), or a combination 20 and /or its elements comprise any type or form of suitable
 thereof. Examples of networks include the Internet, an hardware, programs, or a combination thereof to support,
 intranet, an extranet, a local area network (LAN ), a wide enable , or provide for the connection and use of multiple
 area network (WAN ), a personal area network (PAN ), a display devices 21. In one example, Computing Device 70
 home area network (HAN ), a campus area network (CAN ), includes any type or form of video adapter, video card,
 a metropolitan area network (MAN ), a global area network 25 driver, and / or library to interface , communicate, connect, or
 (GAN ), a storage area network (SAN ), virtual network , a otherwise use display devices 21. In some aspects , a video
 virtual private network (VPN) , a Bluetooth network , a adapter may include multiple connectors to interface to
 wireless network , a wireless LAN , a radio network , a multiple display devices 21. In other aspects , Computing
 HomePNA , a power line communication network , a G.hn Device 70 includes multiple video adapters, with each video
 network , an optical fiber network , an Ethernet network , an 30 adapter connected to one or more display devices 21. In
 active networking network , a client - server network , a peer- some embodiments , Computing Device's 70 operating sys
 to - peer network , a bus network , a star network , a ring tem can be configured for using multiple displays 21. In
 network , a mesh network , a star -bus network , a tree network,    other embodiments , one or more display devices 21 can be
 a hierarchical topology network , and / or other networks. provided by one or more other computing devices such as
 Network interface 25 may include a built - in network 35 remote computing devices connected to Computing Device
 adapter, network interface card , PCMCIA network card,              70 via a network or an interface .
 card bus network adapter, wireless network adapter, Blu-              Computing Device 70 can operate under the control of
 etooth network adapter, WiFi network adapter, USB network           operating system 17 , which may support Computing
 adapter, modem , and / or any other device suitable for inter-      Device's 70 basic functions, interface with and manage
 facing Computing Device 70 with any type of network 40 hardware resources, interface with and manage peripherals,
 capable of communication and / or operations described provide common services for application programs, sched
 herein .                                                             ule tasks , and / or perform other functionalities. A modern
    I/O devices 13 may be present in various shapes or forms operating system enables features and functionalities such as
 in Computing Device 70. Examples of I / O device 13 capable a high resolution display, graphical user interface (GUI),
 of input include a joystick , a keyboard , a mouse , a trackpad , 45 touchscreen , cellular network connectivity ( i.e. mobile oper
 a trackpoint, a touchscreen , a trackball, a microphone, a ating system , etc. ) , Bluetooth connectivity, WiFi connectiv
 drawing tablet, a glove , a tactile input device, a still or video ity, global positioning system ( GPS ) capabilities , mobile
 camera , and / or other input device . Examples of I/O device navigation , microphone, speaker, still picture camera , video
 13 capable of output include aa video display, a touchscreen , camera , voice recorder, speech recognition, music player,
 a projector, a glasses , a speaker, a tactile output device , 50 video player, near field communication , personal digital
 and / or other output device . Examples of I /O device 13 assistant (PDA) , and / or other features, functionalities, or
 capable of input and output include a disk drive, an optical applications . For example, Computing Device 70 can use
 storage device, a modem , a network card , and / or other any conventional operating system , any embedded operating
 input /output device . I /O device 13 can be interfaced with system , any real - time operating system , any open source
 processor 11 via an I/O port 15 , for example. In some 55 operating system , any video gaming operating system , any
 aspects , I /O device 13 can be a bridge between system bus proprietary operating system , any online operating system ,
 5 and an external communication bus such as a USB bus , an any operating system for mobile computing devices , or any
 Apple Desktop Bus , an RS - 232 serial connection, a SCSI other operating system capable of running on Computing
 bus , a FireWire bus , a FireWire 800 bus , an Ethernet bus , an Device 70 and performing operations described herein .
 AppleTalk bus , a Gigabit Ethernet bus , an Asynchronous 60 Example of operating systems include Windows XP, Win
 Transfer Mode bus , a HIPPI bus , a Super HIPPI bus , a dows 7 , Windows 8 , Windows 10 , etc. manufactured by
                                                                             2

 SerialPlus bus , a SCI /LAMP bus , a FibreChannel bus , a Microsoft Corporation of Redmond, Wash .; Mac OS , iPhone
 Serial Attached small computer system interface bus , and /or OS , etc. manufactured by Apple Computer of Cupertino,
 other bus .                                                       Calif.; OS / 2 manufactured by International Business
    An output interface (not shown) such as a graphical user 65 Machines of Armonk , N.Y .; Linux , a freely -available oper
 interface , an acoustic output interface, a tactile output inter- ating system distributed by Caldera Corp. of Salt Lake City ,
 face, any device driver ( i.e. audio , video , or other driver ),   Utah ; or any type or form of a Unix operating system , and / or
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 others . Any operating systems such as the ones for Android system can be interconnected by any form or medium of
 devices can similarly be utilized .                            digital data communication such as , for example, a network .
    Computing Device 70 can be implemented as or be part           Computing Device 70 may include or be interfaced with
 of various model architectures such as web services, dis- a computer program product comprising instructions or
 tributed computing, grid computing, cloud computing, and / 5 logic encoded on a computer- readable medium . Such
 or other architectures. For example, in addition to the instructions or logic , when executed, may configure or cause
 traditional desktop, server , or mobile operating system one or more processors to perform the operations and / or
 architectures, a cloud- based operating system can be utilized functionalities disclosed herein . For example, a computer
 to provide the structure on which embodiments of the program can be provided or encoded on a computer -readable
 disclosure can be implemented. Other aspects of Computing 10 medium such as an optical medium ( i.e. DVD - ROM , etc. ) ,
 Device 70 can also be implemented in the cloud without flash drive, hard drive, any memory , firmware, or other
 departing from the spirit and scope of the disclosure. For medium . Computer program can be installed onto a com
 example, memory , storage, processing, and / or other ele- puting device to cause the computing device to perform the
 ments can be hosted in the cloud . In some embodiments ,             operations and / or functionalities disclosed herein . Machine
 Computing Device 70 can be implemented on multiple 15 readable medium , computer - readable medium , or other such
 devices. For example, a portion of Computing Device 70 can terms may refer to any computer program product, appara
 be implemented on a mobile device and another portion can tus, and / or device for providing instructions and / or data to
 be implemented on wearable electronics .                         one or more programmable processors. As such , machine
    Computing Device 70 can be or include any mobile readable medium includes any medium that can send and /or
 device , a mobile phone , a smartphone ( i.e. iPhone, Windows 20 receive machine instructions as a machine - readable signal .
 phone , Blackberry phone , Android phone , etc. ), a tablet , a Examples of a machine- readable medium include a volatile
 personal digital assistant ( PDA) , wearable electronics, and / or non -volatile medium , a removable and / or non -re
 implantable electronics, and / or other mobile device capable movable medium , a communication medium , a storage
 of implementing the functionalities described herein . Com- medium , and / or other medium . A communication medium ,
 puting Device 70 can also be or include an embedded 25 for example, can transmit computer readable instructions
 device, which can be any device or system with aa dedicated and /or data in a modulated data signal such as a carrier wave
 function within another device or system . Embedded sys- or other transport technique, and may include any other form
 tems range from the simplest ones dedicated to one task with of information delivery medium known in art. A non
 no user interface to complex ones with advanced user transitory machine -readable medium comprises all machine
 interface that may resemble modern desktop computer sys- 30 readable media except for a transitory, propagating signal .
 tems . Examples of devices comprising an embedded device           In some embodiments , the disclosed artificially intelligent
 include a mobile telephone , a personal digital assistant devices, systems , and methods for learning and / or using a
 ( PDA) , a gaming ice , a media player, a digital still or device's circumstances for autonomous device operation, or
 video camera, a pager, a television device, a set -top box , a elements thereof, can be implemented entirely or in part in
 personal navigation device , a global positioning system 35 a device (i.e. microchip , circuitry, logic gates, electronic
 ( GPS ) receiver, a portable storage device ( i.e. a USB flash device, computing device, special or general purpose pro
 drive, etc. ) , a digital watch, a DVD player, a printer, a cessor, etc. ) or system that comprises (i.e. hard coded ,
 microwave oven , a washing machine , a dishwasher, a gate- internally stored , etc. ) or is provided with (i.e. externally
 way, a router, a hub , an automobile entertainment system , an stored , etc. ) instructions for implementing DCADO func
 automobile navigation system , a refrigerator, a washing 40 tionalities . As such, the disclosed artificially intelligent
 machine, a factory automation device , an assembly line devices, systems , and methods for learning and / or using a
 device , a factory floor monitoring device , a thermostat, an device's circumstances for autonomous device operation, or
 automobile , a factory controller, a telephone, a network elements thereof, may include the processing , memory,
 bridge, and / or other devices. An embedded device can storage, and / or other features, functionalities, and embodi
 operate under the control of an operating system for embed- 45 ments of Computing Device 70 or elements thereof. Such
 ded devices such as MicroC /OS - II, QNX , VxWorks, eCos , device or system can operate on its own (i.e. standalone
 TinyOS, Windows Embedded, Embedded Linux , and / or device or system , etc. ), be embedded in another device or
 other embedded device operating systems.                           system ( i.e. an industrial machine , a robot , a vehicle , a toy,
    Various implementations of the disclosed devices, sys- a smartphone, a television device , an appliance, and / or any
 tems , and methods can be realized in digital electronic 50 other device or system capable of housing the elements
 circuitry, integrated circuitry, logic gates , application spe- needed for DCADO functionalities ), work in combination
 cific integrated circuits (ASICs ) , field programmable gate with other devices or systems, or be available in any other
 arrays ( FPGAs ), computer hardware , firmware , programs, configuration. In other embodiments , the disclosed artifi
 virtual machines , and / or combinations thereof including cially intelligent devices , systems , and methods for learning
 their structural, logical , and / or physical equivalents .     55 and / or using a device's circumstances for autonomous
    The disclosed devices, systems, and methods may include device operation, or elements thereof, may include Alterna
 clients and servers . A client and server are generally, but not tive Memory 16 that provides instructions for implementing
 always , remote from each other and typically , but not DCADO functionalities to one or more Processors 11. In
 always , interact via a network or an interface .                  further embodiments, the disclosed artificially intelligent
    The relationship of a client and server may arise by virtue 60 devices, systems , and methods for learning and / or using a
 of computer programs running on their respective computers device's circumstances for autonomous device operation, or
 and having a client -server relationship to each other, for elements thereof, can be implemented entirely or in part as
 example.                                                           a computer program and executed by one or more Proces
    The disclosed devices, systems , and methods can be sors 11. Such program can be implemented in one or more
 implemented in a computing system that includes a back end 65 modules or units of a single or multiple computer programs.
 component, a middleware component, a front end compo- Such program may be able to attach to or interface with ,
 nent, or any combination thereof. The components of the              inspect , and / or take control of another application program
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 to implement DCADO functionalities. In further embodi-           thereof, when stored in a memory, file, or other repository,
 ments , the disclosed artificially intelligent devices, systems, may be stored in a different arrangement than the arrange
 and methods for learning and / or using a device's circum- ment of the data structure and / or elements thereof. For
 stances for autonomous device operation, or elements example , a sequence of elements can be stored in an
 thereof, can be implemented as a network , web , distributed , 5 arrangement other than a sequence in a memory, file, or
 cloud, or other such application accessed on one or more other repository.
 remote computing devices ( i.e. servers , cloud, etc. ) via        Where a reference to a repository is used herein , it should
 Network Interface 25 , such remote computing devices be understood that a repository may be or include one or
 including processing capabilities and instructions for imple-      more files or file systems, one or more storage locations or
 menting DCADO functionalities. In further embodiments, 10 structures, one or more storage systems, one or more
 the disclosed artificially intelligent devices, systems , and memory locations or structures , and / or other file, storage ,
 methods for learning and / or using a device's circumstances memory, or data arrangements.
 for autonomous device operation, or elements thereof, can           Where aa reference to an interface is used herein , it should
 be ( 1 ) attached to or interfaced with any computing device be understood that the interface comprises any hardware,
 or application program , (2 ) included as a feature of an 15 device, system , program , method, and / or combination
 operating system , (3 ) built (i.e. hard coded , etc.) into any thereof that enable direct or operative coupling , connection,
 computing device or application program , and / or (4 ) avail- and / or interaction of the elements between which the inter
 able in any other configuration to provide its functionalities . face is indicated . A line or arrow shown in the figures
    In some embodiments, the disclosed artificially intelligent between any of the depicted elements comprises such inter
 devices, systems , and methods for learning and / or using a 20 face. Examples of an interface include a direct connection ,
 device's circumstances for autonomous device operation, or an operative connection , a wired connection ( i.e. wire , cable ,
 elements thereof, can be implemented at least in part in a etc. ) , a wireless connection, a device , a network , a bus , a
 computer program such as Java application or program . Java circuit, a firmware , a driver, a bridge, a program , a combi
 provides a robust and flexible environment for application nation thereof, and / or others .
 programs including flexible user interfaces , robust security , 25 Where a reference to an element coupled or connected to
 built- in network protocols, powerful application program- another element is used herein , it should be understood that
 ming interfaces, database or DBMS connectivity and inter- the element may be in communication or other interactive
 facing functionalities, file manipulation capabilities , support relationship with the other element. Furthermore, an element
 for networked applications, and / or other features or func- coupled or connected to another element can be coupled or
 tionalities. Application programs based on Java can be 30 connected to any other element in alternate implementa
 portable across many devices , yet leverage each device's tions . Terms coupled, conn      nnected , interfaced, or other such
 native capabilities. Java supports the feature sets of most terms may be used interchangeably herein depending on
 smartphones and a broad range of connected devices while context.
 still fitting within their resource constraints. Various Java       Where a reference to an element matching another ele
 platforms include virtual machine features comprising a 35 ment is used herein , it should be understood that the element
 runtime environment for application programs. Java plat- may be equivalent or similar to the other element. Therefore,
 forms provide a wide range of user - level functionalities that the term match or matching can refer to total equivalence or
 can be implemented in application programs such as dis- similarity depending on context.
 playing text and graphics, playing and recording audio                Where a reference to a device is used herein , it should be
 content, displaying and recording visual content, communi- 40 understood that the device may include or be referred to as
 cating with another computing device , and / or other func- a system , and vice versa depending on context, since a
 tionalities . It should be understood that the disclosed artifi-   device may include a system of elements and a system may
 cially intelligent devices, systems , and methods for learning     be embodied in a device .
 and / or using a device's circumstances for autonomous               Where a reference to a collection of elements is used
 device operation, or elements thereof, are programming 45 herein, it should be understood that the collection of ele
 language , platform , and operating system independent. ments may include one or more elements . In some aspects
 Examples of programming languages that can be used or contexts, a reference to a collection of elements does not
 instead of or in addition to Java include C , C ++ , Cobol , imply that the collection is an element itself.
 Python , Java Script , Tcl, Visual Basic , Pascal , VB Script,       Where a reference to an object is used herein , it should be
 Perl, PHP, Ruby, and / or other programming languages 50 understood that the object may be a physical object (i.e.
 capable of implementing the functionalities described object detected in aa device's surrounding, etc. ), an electronic
 herein .                                                           object (i.e. object in an object oriented application program ,
    Where a reference to a specific file or file type is used etc. ) , and / or other object depending on context.
 herein , other files or file types can be substituted .              Where a mention of aa function , method , routine, subrou
    Where a reference to a data structure is used herein , it 55 tine, or other such procedure is used herein , it should be
 should be understood that any variety of data structures can understood that the function , method , routine , subroutine, or
 be used such as , for example, array , list , linked list , doubly other such procedure comprises a call , reference, or pointer
 linked list , queue, tree , heap , graph, map , grid , matrix, to the function , method, routine, subroutine, or other such
 multi -dimensional matrix , table, database, database manage- procedure.
 ment system ( DBMS ) , file, neural network , and / or any other 60 Where a mention of data , object, data structure, item ,
 type or form of a data structure including a custom one . A element, or thing is used herein , it should be understood that
 data structure may include one or more fields or data fields the data , object, data structure , item , element, or thing
 that are part of or associated with the data structure. A field comprises a reference or pointer to the data , object, data
 or data field may include a data , an object, a data structure , structure , item , element, or thing.
 and / or any other element or a reference /pointer thereto . A 65 Referring to FIG . 2 , an embodiment of Device 98 com
 data structure can be stored in one or more memories, files , prising Unit for Learning and /or Using a Device's Circum
 or other repositories. A data structure and / or elements stances for Autonomous Device Operation (DCADO Unit
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 100 ) is illustrated . Device 98 also comprises interconnected instruction sets for operating the device (i.e. first one or more
 Processor 11 , Human -machine Interface 23 , Sensor 92 , instruction sets for operating the device , etc.) may include or
               2

 Object Processing Unit 93 , Memory 12 , and                    be substituted with one or more inputs into the actuator.
    Storage 27. Processor 11 includes or executes Application Other additional elements can be included as needed , or
 Program 18. DCADO Unit 100 comprises interconnected 5 some of the disclosed ones can be excluded, or a combina
 Artificial Intelligence Unit 110 , Acquisition Interface 120 , tion thereof can be utilized in alternate embodiments . The
 and Modification Interface 130. Other additional elements device or system for learning and / or using a device's cir
 can be included as needed , or some of the disclosed ones can cumstances for autonomous device operation may include
 be excluded , or a combination thereof can be utilized in any actions or operations of any of the disclosed methods
 alternate embodiments .                                             10 such as methods 9100 , 9200,9300 , 9400,9500 , 9600 , and / or
    In one example, the teaching presented by the disclosure others (all later described ).
 can be implemented in aa device or system for learning and / or           Device 98 comprises any hardware , programs, or a com
 using a device's circumstances for autonomous device bination thereof. Although , Device 98 is referred to as a
 operation. The device or system may include a processor device herein , Device 98 may be or include a system as a
 circuit (i.e. Processor 11 , etc.) configured to execute instruc- 15 system may be embodied in Device 98. Device 98 may
 tion sets (i.e. Instruction Sets 526 , etc. ) for operating a include any features , functionalities, and embodiments of
 device. The device or system may further include a memory Computing Device 70 , or elements thereof. In some embodi
 unit (i.e. Memory 12 , etc.) configured to store data . The ments, Device 98 includes a computing enabled device for
 device or system may further include a sensor ( i.e. Sensor performing mechanical or physical operations (i.e. via actua
 92 , etc.) configured to detect objects (i.e. Objects 615 , etc. ). 20 tors , etc. ). In other embodiments, Device 98 includes a
 The device or system may further include an artificial computing enabled device for performing non -mechanical
 intelligence unit ( i.e. Artificial Intelligence Unit 110 , etc. ). and / or other operations. Examples of Device 98 include an
 The artificial intelligence unit may be configured to receive industrial machine , a toy, a robot , a vehicle , an appliance, a
 a first collection of object representations (i.e. Collection of control device, a smartphone or other mobile computer, any
 Object Representations 525 , etc. ), the first collection of 25 computer, and / or other computing enabled device or
 object representations including one or more representations machine . Such device or machine may be built for any
 of objects detected by the sensor. The artificial intelligence function or purpose some examples of which are described
 unit may also be configured to receive a first one or more later.
 instruction sets for operating the device . The artificial intel-         User 50 (also referred to simply as user or other suitable
 ligence unit may also be configured to learn the first col- 30 name or reference) comprises a human user or non -human
 lection of object representations correlated with the first one user. A non - human User 50 includes any device, system ,
 or more instruction sets for operating the device . The program , and /or other mechanism for operating or control
 artificial intelligence unit may also be configured receive ling Device 98 and / or elements thereof. In one example ,
 a new collection of object representations, the new collec- User 50 may issue an operating direction to Application
 tion of object representations including one or more repre- 35 Program 18 responsive to which Application Program's 18
 sentations of objects detected by the sensor. The artificial instructions or instruction sets may be executed by Processor
 intelligence unit may also be configured to anticipate the 11 to perform a desired operation on Device 98. In another
 first one or more instruction sets for operating the device example , User 50 may issue an operating direction to
 correlated with the first collection of object representations Processor 11 , Logic Circuit 250 ( later described ), and / or
 based on at least a partial match between the new collection 40 other processing element responsive to which Processor 11 ,
 of object representations and the first collection of object Logic Circuit 250 , and / or other processing element may
 representations. The artificial intelligence unit may also be implement logic to perform aa desired operation on Device
 configured to cause the processor circuit to execute the first 98. User's 50 operating directions comprise any user input
 one or more instruction sets for operating the device corre- ted data (i.e. values , text, symbols, etc. ) , directions (i.e.
 lated with the first collection of object representations, the 45 move right, move up , move forward , copy an item , click on
 causing performed in response to the anticipating of the a link , etc. ) , instructions or instruction sets (i.e. manually
 artificial intelligence unit, wherein the device performs one inputted instructions or instruction sets , etc. ) , and / or other
 or more operations defined by the first one or more instruc- inputs or information . A non -human User 50 can utilize
 tion sets for operating the device correlated with the first more suitable interfaces instead of, or in addition to , Human
 collection of object representations, the one or more opera- 50 machine Interface 23 and / or Display 21 for controlling
 tions performed in response to the executing by the proces- Device 98 and / or elements thereof. Examples of such inter
 sor circuit . Any of the operations of the aforementioned faces include an application programming interface (API ),
 elements can be performed repeatedly and / or in different bridge ( i.e. bridge between applications, devices , or systems,
 orders in alternate embodiments. In some embodiments, a etc. ) , driver, socket, direct or operative connection , handle ,
 stream of collections of object representations can be used 55 function / routine / subroutine, and / or other interfaces.
 instead of or in addition to any collection of object repre-              In some embodiments, Processor 11 , Logic Circuit 250 ,
 sentations such as , for example, using a first stream of Application Program 18 , and / or other processing element
 collections of object representations instead of the first may control or affect an actuator ( not shown ). Actuator
 collection of object representations. In other embodiments, comprises the functionality for implementing motion ,
 a logic circuit (i.e. Logic Circuit 250 , etc.) may be used 60 actions , behaviors, maneuvers , and / or other mechanical or
 instead of the processor circuit . In such embodiments, one or physical operations. Device 98 may include one or more
 more instruction sets for operating the device ( i.e. first one actuators to enable Device 98 to perform mechanical , physi
 or more instruction sets for operating the device, etc.) may cal , or other operations and/ or to interact with its environ
 include or be substituted with one or more inputs into or one ment. For example, an actuator may include or be coupled
 or more outputs from the logic circuit . In further embodi- 65 to an element such as a wheel , arm , or other element to act
 ments , an actuator may be included instead of or in addition upon the environment. Examples of an actuator include a
 to the processor circuit . In such embodiments, one or more motor, a linear motor, a servomotor, a hydraulic element, a
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 pneumatic element, an electro -magnetic element, a spring stereoscopic or range pictures. In further aspects , Camera
 element, and / or other actuators . Examples of types of actua- 92a may be or comprises any other Camera 92a . In general,
 tors include a rotary actuator, a linear actuator, and / or other Camera 92a may capture any light ( i.e. visible light, infrared
 types of actuators . In other embodiments, Processor 11 , light, ultraviolet light, X - ray light, etc. ) across the electro
 Logic Circuit 250 , Application Program 18 , and / or other 5 magnetic spectrum onto a light -sensitive material. Any other
 processing element may control or affect any other device or technique known in art can be utilized to facilitate Camera
 element instead of or in addition to an actuator.                   92a functionalities . In one example , a digital Camera 92a
    Referring to FIGS . 3A - 3E , various embodiments of Sen- can utilize a charge coupled device ( CCD ) , a complementary
 sors 92 and elements of Object Processing Unit 93 are metal- oxide - semiconductor ( CMOS ) sensor , and /or other
 illustrated                                                      10 electronic image sensor to capture digital pictures that can
    Sensor 92 ( also referred to simply as sensor or other then be stored in a memory or storage , or transmitted to any
 suitable name or reference) comprises the functionality for of the disclosed or other elements for further processing. In
 obtaining or detecting information about its environment, another example, analog Camera 92a can utilize an analog
 and / or other functionalities. As such , one or more Sensors 92 to - digital converter to produce digital pictures. In some
 can be used to detect objects and /or their properties in 15 embodiments, Camera 92a can be built , embedded, or
 Device's 98 surrounding. In some aspects , Device's 98 integrated in Device 98 and /or other disclosed element. In
 surrounding may include exterior of Device 98. In other other embodiments, Camera 92a can be an external Camera
 aspects , Device's 98 surrounding may include interior of 92a connected with Device 98 and / or other disclosed ele
 Device 98 in case of hollow Device 98 , Device 98 com-               ment. In further embodiments, Camera 92a comprises Com
 prising compartments or openings, and /or other variously 20 puting Device 70 or elements thereof. In general, Camera
 shaped Device 98. Examples of aspects of an environment              92a can be implemented in any suitable configuration to
 that Sensor 92 can measure or be sensitive to include light          provide its functionalities. Camera 92a may capture one or
 ( i.e. camera , lidar, etc. ) , electromagnetism / electromagnetic   more digital pictures. A digital picture may include a col
 field (i.e. radar, etc. ), sound ( i.e. microphone, sonar, etc. ),   lection of color encoded pixels or dots . Examples of file
 physical contact (i.e. tactile sensor, etc. ), magnetism /mag- 25 formats that can be utilized to store a digital picture include
 netic field ( i.e. compass, etc. ), electricity / electric field , tem- JPEG , GIF, TIFF, PNG , PDF, and / or other digitally encoded
 perature , gravity, vibration, pressure, and / or others. In some picture formats. A stream of digital pictures (i.e. motion
 aspects , a passive sensor (i.e. camera, microphone, etc.) picture, video , etc. ) may include one or more digital pic
 measures signals or radiation emitted or reflected by an tures . Examples of file formats that can be utilized to store
 object. In other aspects , an active sensor (i.e. lidar, radar, 30 a stream of digital pictures include MPEG , AVI, FLV, MOV,
 sonar, etc. ) emits signals or radiation and measures the RM , SWF, WMV, DivX , and / or other digitally encoded
 signals or radiation reflected or backscattered from an motion picture formats .
 object. A reference to a Sensor 92 herein includes a reference        In other embodiments, Sensor 92 may be or include
 to one or more Sensors 92 as applicable. In some designs , a Microphone 92b as shown in FIG . 3B . Microphone 926
 plurality of Sensors 92 may be used to detect objects and/or 35 comprises the functionality for capturing one or more
 their properties from different angles or sides of Device 98 . sounds , and /or other functionalities. As such , Microphone
 For example, four Cameras 92a can be placed on four 92b can be used to capture sounds from Device's 98
 corners of Device 98 to cover 360 degrees of view of surrounding. Microphone 92b may be useful in detecting
 Device's 98 surrounding. In other designs , a plurality of existence of an object, type of an object, identity of an
 different types of Sensors 92 may be used to detect different 40 object, bearing/angle of an object, activity ( i.e. motion ,
 types of objects and / or their properties. For example , one or sounding, etc. ) of an object, and / or other properties of an
 more Cameras 92a can be used to detect and identify an object. In some aspects , Microphone 92b may be omnidi
 object, whereas, Radar 92d can be used to determine dis- rectional microphone that enables capturing sounds from
 tance and bearing / angle of the object relative to Device 98 . any direction . In other aspects , Microphone 92b may be a
 In further designs, a signal - emitting element can be placed 45 directional (i.e. unidirectional, bidirectional , etc. ) micro
 within or onto an object and Sensor 92 can detect the signal phone that enables capturing sounds from one or more
 from the signal -emitting element, thereby detecting the directions while ignoring or being insensitive to sounds from
 object and / or its properties. For example, a radio- frequency other directions . In general , Microphone 92b may utilize a
 identification (RFID ) emitter may be placed within an object membrane sensitive to air pressure and may produce elec
 to help Sensor 92 detect, identify, and / or obtain other 50 trical signal from air pressure variations. Samples of the
 information about the object.                                  electrical signal can then be read to produce a stream of
    In some embodiments, Sensor 92 may be or include digital sound samples. Any other technique known in art can
 Camera 92a as shown in FIG . 3A . Camera 92a comprises be utilized to facilitate Microphone 92b functionalities. In
 the functionality for capturing one or more pictures, and / or one example, a digital Microphone 92b may include an
 other functionalities. As such , Camera 92a can be used to 55 integrated analog- to -digital converter to capture a stream of
 capture pictures of Device's 98 surr irrounding. Camera 92a digital sound samples that can then be stored in a memory
 may be useful in detecting existence of an object, type of an or storage , or transmitted to any of the disclosed or other
 object, identity of an object, distance of an object, bearing elements for further processing. In another example, analog
 angle of an object, location of an object, shape/ size of an Microphone 92b may utilize an external analog - to - digital
 object, activity of an object, and / or other properties of an 60 converter to produce a stream of digital sound samples. In
 object. In some aspects , Camera 92a may be or comprises a some embodiments, Microphone 92b can be built , embed
 motion picture camera that can capture streams of pictures ded , or integrated in Device 98. In other embodiments,
 ( i.e. motion pictures, videos , etc. ) . In other aspects , Camera Microphone 92b can be an external Microphone 92b con
 92a may be or comprises a still picture camera that can nected with Device 98. In further embodiments where used
 capture still pictures ( i.e. photographs, etc. ). In further 65 in water, Microphone 92b may be or include a hydrophone.
 aspects , Camera 92a may be or comprises a stereo camera In further embodiments, Microphone 92b comprises Com
 ( i.e. camera with multiple lenses , etc. ) that can capture puting Device 70 or elements thereof. In general, Micro
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 phone 92b can be implemented in any suitable configuration           Object Properties 630 , and / or other elements or information
                                                                                              2

 to provide its functionalities. Examples of file formats that        related to objects detected in Device's 98 surrounding at a
 can be utilized to store a stream of digital sound samples particular time . Collection of Object Representations 525
 include WAV , WMA , AIFF, MP3 , RA , OGG , and / or other may, therefore, include knowledge (i.e. unit of knowledge,
 digitally encoded sound formats .                                  5 etc. ) of Device's 98 circumstances including objects with
    In further embodiments , Sensor 92 may be or include various properties at a particular time . In some designs , a
 Lidar 92c as shown in FIG . 3C . Lidar 92c may be useful in Collection of Object Representations 525 may include or be
 detecting existence of an object, type of an object, identity associated with a time stamp (not shown) , order (not
 of an object, distance of an object, bearing / angle of an shown ), or other time related information . For example , one
 object, location of an object, shape/size of an object, activity 10 Collection of Object Representations 525 may be associated
 of an object, and / or other properties of an object. In some with time stamp t1 , another Collection of Object Represen
 aspects , Lidar 92c may emit a light signal (i.e. laser beam , tations 525 may be associated with time stamp t2 , and so on .
 etc. ) and listen for aa signal that is reflected or backscattered Time stamps t1 , t2 , etc. may indicate the times of generating
 from an object. Any other technique known in art can be Collections of Object Representations 525 , for instance . In
 utilized to facilitate Lidar 92c functionalities .                15 other embodiments, Object Processing Unit 93 comprises
    In further embodiments, Sensor 92 may be or include a the functionality for creating or generating a stream of
 Radar 92d as shown in FIG . 3D . Radar 92d may be useful Collections of Object Representations 525. A stream of
 in detecting existence of an object, type of an object, Collections of Object Representations 525 may include one
 distance of an object, bearing/angle of an object, location of Collection of Object Representations 525 or a group ,
 an object, shape size of an object, activity of an object, 20 sequence , or other plurality of Collections of Object Rep
 and / or other properties of an object. In some aspects , Radar resentations 525. In some aspects , a stream of Collections of
 92d may emit a radio signal (i.e. radio wave , etc.) and listen      Object Representations 525 includes one or more Collec
 for a signal that is reflected or backscattered from an object. tions of Object Representations 525 , and / or other elements
 Any other technique known in art can be utilized to facilitate or information related to objects detected in Device's 98
 Radar 92d functionalities .                                       25 surrounding over time . A stream of Collections of Object
    In further embodiments , Sensor 92 may be or include Representations 525 may, therefore , include knowledge (i.e.
 Sonar 92e as shown in FIG . 3E . Sonar 92e may be useful in unit of knowledge, etc.) of Device's 98 circumstances
 detecting existence of an object, type of an object, distance including objects with various properties over time . As
 of an object, bearing/angle of an object, location of an circumstances including objects with various properties in
 object, shape / size of an object, activity of an object, and /or 30 Device's 98 surrounding change ( i.e. objects and / or their
 other properties of an object. In some aspects , Sonar 92e properties change, move , act , transform , etc.) over time , this
 may emit a sound signal ( i.e. sound pulse , etc. ) and listen for change may be captured in a stream of Collections of Object
 a signal that is reflected or backscattered from an object. Any Representations 525. In some designs, each Collection of
 other technique known in art can be utilized to facilitate Object Representations 525 in a stream may include or be
 Sonar 92e functionalities.                                        35 associated with the aforementioned time stamp, order, or
    One of ordinary skill in art will understand that the other time related information . For example, one Collection
 aforementioned sensors are described merely as examples of of Object Representations 525 in a stream may be associated
 a variety of possible implementations, and that while all with order 1 , a next Collection of Object Representations
 possible sensors are too voluminous to describe, other 525 in the stream may be associated with order 2 , and so on .
 sensors known in art that can facilitate detecting of objects 40 Orders 1 , 2 , etc. may indicate the orders or places of
 and / or their properties in Device's 98 surrounding are within Collections of Object Representations 525 within a stream
 the scope of this disclosure . Any combination of the afore- (i.e. sequence, etc. ), for instance. Examples of objects
 mentioned and / or other sensors can be used in various include biological objects (i.e. persons , animals , vegetation ,
 embodiments .                                                        etc. ) , nature objects (i.e. rocks, bodies of water, etc. ) , man
    Object Processing Unit 93 comprises the functionality for 45 made objects ( i.e. buildings, streets, ground /aerial/aquatic
 processing output from Sensor 92 to obtain information of vehicles, etc. ), and / or others. In some aspects , any part of an
 interest, and /or other functionalities. As such , Object Pro- object may be detected as an object itself. For instance ,
 cessing Unit 93 can be used to process output from Sensor instead of or in addition to detecting a vehicle as an object,
 92 to detect objects and / or their properties in Device's 98 a wheel and / or other parts of the vehicle may be detected as
 surrounding. In some embodiments, Object Processing Unit 50 objects. In general, object may include any object or part
 93 comprises the functionality for creating or generating thereof that can be detected . Examples of object properties
 Collection of Object Representations 525 (also referred to as include existence of an object, type of an object ( i.e. person ,
 Coll of Obj Rep or other suitable name or reference ) and cat, vehicle , building , street, tree, rock , etc. ) , identity of an
 storing one or more Object Representations 625 (also object ( i.e. name , identifier, etc. ) , distance of an object,
 referred to simply as object representations, representations 55 bearing / angle of an object, location of an object (i.e. distance
 of objects, or other suitable name or reference ), Object and bearing / angle from a known point, coordinates, etc. ) ,
 Properties 630 (also referred to simply as object properties shape /size of an object ( i.e. height, width , depth, computer
 or other suitable name or reference ), and / or other elements model, point cloud , etc. ) , activity of an object (i.e. motion ,
 or information into the Collection of Object Representations gestures , etc. ), and / or other properties of an object. Type of
 525. As such , Collection of Object Representations 525 60 an object, for example, may include any classification of
 comprises the functionality for storing one or more Object objects ranging from detailed such as person , cat , vehicle ,
 Representations 625 , Object Properties 630 , and / or other building , street, tree , rock , etc. to generalized such as
 elements or information . Object Representation 625 may biological object, nature object, manmade object, etc. , and /
 include an electronic representation of an object (i.e. Object or others including their sub - types. Location of an object, for
 615 [ later described ], etc. ) detected in Device's 98 surround- 65 example, can include a relative location such as one defined
 ing . In some aspects , Collection of Object Representations by distance and bearing/angle from a known point or loca
 525 includes one or more Object Representations 625 , tion ( i.e. Device 98 location , etc. ). Location of an object, for
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 example , can also include absolute location such as one            server , cloud , etc.) accessible over a network or an interface .
 defined by object coordinates . In general, an object property Typical steps or elements in a feature oriented picture
 may include any attribute of an object (i.e. existence of an recognition include pre -processing, feature extraction ,
 object, type of an object , identity of an object, shape/ size of detection / segmentation, decision -making , and / or others, or a
 an object, etc. ) , any relationship of an object with Device 98,5 combination thereof, each of which may include its own
 other objects, or the environment ( i.e. distance of an object, sub - steps or sub - elements depending on the application . In
 bearing/ angle of an object, friend / foe relationship , etc.), further aspects , Picture Recognizer 94a may detect or rec
 and /or other information related to an object. In some ognize multiple objects and / or their properties from a digital
 implementations, Object Processing Unit 93 and /or any of picture using the aforementioned pixel or feature compari
 its elements or functionalities can be included in Sensor 92. 10 sons , and / or other detection or recognition techniques . For
 In other implementations, Object Processing Unit 93 and /or example , a picture may depict two objects in two of its
 any of its elements or functionalities can be embedded into regions both of which Picture Recognizer 94a can detect
 or operate on Processor 11. In further implementations, simultaneously. In further aspects , where objects and /or their
 Object Processing Unit 93 and / or any of its elements or properties span multiple pictures, Picture Recognizer 94a
 functionalities can be embedded into or operate in DCADO 15 may detect or recognize objects and / or their properties by
 Unit 100 , and / or other disclosed elements . Object Process- applying the aforementioned pixel or feature comparisons
 ing Unit 93 may be provided in any suitable configuration . and /or other detection or recognition techniques over a
 Object Processing Unit 93 may include any signal process- stream of digital pictures ( i.e. motion picture, video , etc. ) .
 ing techniques or elements known in art as applicable.             For example, once an object is detected in a digital picture
    In some embodiments, Object Processing Unit 93 may 20 (i.e. frame, etc. ) of a stream of digital pictures (i.e. motion
 include Picture Recognizer 94a as shown in FIG . 3A . picture, video, etc.), the region of pixels comprising the
 Picture Recognizer 94a comprises the functionality for detected object or the object's features can be searched in
 detecting or recognizing objects and / or their properties in other pictures of the stream of digital pictures, thereby
 visual data , and /or other disclosed functionalities . Visual tracking the object through the stream of digital pictures. In
 data includes digital motion pictures, digital still pictures, 25 further aspects , Picture Recognizer 94a may detect or rec
 and / or other visual data. Examples of file formats that can be ognize an object's activities by identifying and /or analyzing
 utilized to store visual data include AVI, DivX , MPEG ,            differences between a detected region of pixels of one
 JPEG , GIF, TIFF, PNG , PDF, and / or other file formats . For
                   2                                                 picture (i.e. frame, etc. ) and detected regions of pixels of
 example, Picture Recognizer 94a can be used for detecting other pictures in a stream of digital pictures. For example , a
 or recognizing objects and / or their properties in one or more 30 region of pixels comprising a person's face can be detected
 digital pictures captured by one or more Cameras 92a . in multiple consecutive pictures of a stream of digital
 Picture Recognizer 94a can be utilized in detecting or pictures ( i.e. motion picture, video , etc. ) . Differences among
 recognizing existence of an object, type of an object, identity the detected regions of the consecutive pictures may be
 of an object, distance of an object, bearing/angle of an identified in the mouth part of the person's face to indicate
 object, location of an object, shape/ size of an object, activity 35 smiling or speaking activity. In further aspects , Picture
 of an object, and / or other properties of an object. In general, Recognizer 94a may detect or recognize objects and / or their
 Picture Recognizer 94a can be used for any operation properties using one or more artificial neural networks,
 supported by Picture Recognizer 94a . Picture Recognizer            which may include statistical techniques. Examples of arti
 94a may detect or recognize an object and / or its properties       ficial neural networks that can be used in Picture Recognizer
 as well as track the object and / or its properties in one or 40 94a include convolutional neural networks (CNNs ), time
 more digital pictures or streams of digital pictures ( i.e. delay neural networks ( TDNNs), deep neural networks,
 motion pictures, video , etc. ) . In the case of a person , Picture and / or others. In one example, picture recognition tech
 Recognizer 94a may detect or recognize a human head or niques and / or tools involving convolutional neural networks
 face, upper body, full body, or portions / combinations may include identifying and / or analyzing tiled and / or over
 thereof. In some aspects , Picture Recognizer 94a may detect 45 lapping regions or features of a digital picture, which may
 or recognize objects and / or their properties from a digital then be used to search for pictures with matching regions or
 picture by comparing regions of pixels from the digital features . In another example, features of different convolu
 picture with collections of pixels comprising known objects tional neural networks responsible for spatial and temporal
 and / or their properties. The collections of pixels comprising streams can be fused to detect objects and / or their properties
 known objects and / or their properties can be learned or 50 in streams of digital pictures (i.e. motion pictures, videos ,
 manually, programmatically, or otherwise defined . The col- etc. ) . In general, Picture Recognizer 94a may include any
 lections of pixels comprising known objects and / or their machine learning, deep learning, and / or other artificial intel
 properties can be stored in any data structure or repository ligence techniques. In further aspects , Picture Recognizer
 ( i.e. one or more files, database , etc. ) that resides locally on 94a can detect distance of a recognized object in a picture
 Device 98 , or remotely on a remote computing device ( i.e. 55 captured by a camera using structured light, sheet of light, or
 server, cloud , etc. ) accessible over a network or an interface. other lighting schemes, and / or by using phase shift analysis ,
 In other aspects , Picture Recognizer 94a may detect or time of flight, interferometry, or other techniques. In further
 recognize objects and /or their properties from a digital aspects , Picture Recognizer 94a may detect distance of a
 picture by comparing features (i.e. lines , edges , ridges,         recognized object in a picture captured by a stereo camera by
 corners, blobs , regions , etc.) of the digital picture with 60 using triangulation and /or other techniques. In further
 features of known objects and / or their properties. The fea- aspects , Picture Recognizer 94a may detect bearing/angle of
 tures of known objects and / or their properties can be learned a recognized object relative to the camera - facing direction
 or manually, programmatically, or otherwise defined . The by measuring the distance from the vertical centerline of the
 features of known objects and / or their properties can be picture to a pixel in the recognized object based on known
 stored in any data structure or repository (i.e. neural net- 65 picture resolution and camera's angle of view. Any other
 work , one or more files, database, etc. ) that resides locally on techniques known in art can be utilized in Picture Recog
 Device 98 , or remotely on a remote computing device ( i.e. nizer 94a . For example, thresholds for similarity, statistical
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 techniques, and / or optimization techniques can be utilized to 94a can also incrementally resize a digital picture such as
 determine aa match in any of the above - described detection increasing or decreasing the size of the digital picture
 or recognition techniques. In some exemplary embodiments, proportionally by a certain amount in each cycle of com
 object recognition techniques and / or tools such as OpenCV parisons in order to find a substantially similar match at one
 ( Open Source Computer Vision ) library, CamFind API , 5 of the incremental sizes . Any of the publically available,
 Kooaba, 6px API , Dextro API , and /or others can be utilized custom , or other digital picture resizing techniques or pro
 for detecting or recognizing objects and / or their properties in grams can be utilized such as nearest -neighbor interpolation ,
 digital pictures. In some aspects , picture recognition tech- bilinear interpolation, bicubic interpolation , and / or others. In
 niques and / or tools involve identifying and / or analyzing further implementations, Picture Recognizer 94a can
 features such as lines , edges, ridges, corners, blobs , regions, 10 manipulate content (i.e. all pixels , one or more regions , one
 and / or their relative positions , sizes, shapes, etc., which may or more depicted objects, etc.) of a digital picture before or
 then be used to search for pictures with matching features. during comparison. Such content manipulation may include
 For example, OpenCV library can detect an object ( i.e. moving, centering, aligning, resizing, transforming, and /or
 person , animal, vehicle , rock, etc. ) and /or its properties in otherwise manipulating content of a digital picture. For
 one or more digital pictures captured by Camera 92a or 15 example , Picture Recognizer 94a can move , center, or align
 stored in an electronic repository , which can then be utilized content of one picture to make it more comparable to another
 in DCADO Unit 100 , Artificial Intelligence Unit 110 , and / or picture. Any of the publically available, custom , or other
 other elements . In other exemplary embodiments , facial digital picture manipulation techniques or programs can be
 recognition techniques and / or tools such as OpenCV (Open utilized such as pixel moving, warping, distorting, afore
 Source Computer Vision) library, Animetrics FaceR API , 20 mentioned interpolations, and / or others. In further imple
 Lambda Labs Facial Recognition API , Face ++ SDK , Neven mentations, in digital pictures comprising transparency fea
 Vision (also known as N - Vision ) Engine, and / or others can tures or functionalities, Picture Recognizer 94a can utilize a
 be utilized for detecting or recognizing faces in digital threshold for acceptable number or percentage transparency
 pictures. In some aspects , facial recognition techniques difference. Alternatively, transparency can be applied to one
 and / or tools involve identifying and / or analyzing facial 25 or more pixels of a digital picture and color difference may
 features such as the relative position, size , and / or shape of then be determined between compared pixels taking into
 the eyes , nose , cheekbones, jaw, etc., which may then be account the transparency related color effect. Alternatively,
 used to search for pictures with matching features. For transparent pixels can be excluded from comparison . In
 example , FaceR API can detect a person's face in one or further implementations, certain regions or subsets of pixels
 more digital pictures captured by Camera 92a or stored in an 30 can be ignored or excluded during comparison using a mask .
 electronic repository, which can then be utilized in DCADO In general, any region or subset of a picture determined to
 Unit 100 , Artificial Intelligence Unit 110 , and /or other contain no content of interest can be excluded from com
 elements .                                                         parison using a mask . Examples of such regions or subsets
     Various aspects or properties of digital pictures or pixels include background, transparent or partially transparent
 can be taken into account by Picture Recognizer 94a in any 35 regions, regions comprising insignificant content, or any
 of the recognizing or comparisons. Examples of such arbitrary region or subset. Picture Recognizer 94a can
 aspects or properties include color adjustment, size adjust- perform any other pre -processing or manipulation of digital
 ment, content manipulation , transparency ( i.e. alpha chan- pictures or pixels before or during recognizing or compari
 nel , etc. ), use of mask , and / or others. In some implementa son .
 tions , as digital pictures can be captured by various picture 40 In other embodiments , Object Processing Unit 93 may
 taking equipment, in various environments , and under vari- include Sound Recognizer 946 as shown in FIG . 3B . Sound
 ous lighting conditions, Picture Recognizer 94a can adjust Recognizer 94b comprises the functionality for detecting or
 lighting or color of pixels or otherwise manipulate pixels recognizing objects and / or their properties in audio data ,
 before or during comparison. Lighting or color adjustment and / or other disclosed functionalities. Audio data includes
 ( also referred to as gray balance, neutral balance, white 45 digital sound, and / or other audio data . Examples of file
 balance, etc. ) may generally include manipulating or rebal- formats that can be utilized to store audio data include WAV,
 ancing the intensities of the colors (i.e. red , green , and / or WMA , AIFF, MP3 , RA , OGG , and /or other file formats . For
 blue if RGB color model is used , etc.) of one or more pixels . example, Sound Recognizer 94b can be used for detecting or
 For example , Picture Recognizer 94a can adjust lighting or recognizing objects and /or their properties in a stream of
 color of some or all pixels of one picture to make it more 50 digital sound samples captured by one or more Microphones
 comparable to another picture. Picture Recognizer 94a can 92b . In the case of a person , Sound Recognizer 94b may
 also incrementally adjust the pixels such as increasing or detect or recognize human voice . Sound Recognizer 94b can
 decreasing the red, green , and /or blue pixel values by a be utilized in detecting or recognizing existence of an object,
 certain amount in each cycle of comparisons in order to find type of an object, identity of an object, bearing/angle of an
 a substantially similar match at one of the incremental 55 object, activity ( i.e. motion , sounding, etc.) of an object,
 adjustment levels . Any of the publically available , custom , and / or other properties of an object. In general, Sound
 or other lighting or color adjustment techniques or programs Recognizer 94b can be used for any operation supported by
 can be utilized such as color filters, color balancing, color Sound Recognizer 946. In some aspects , Sound Recognizer
 correction , and / or others. In other implementations, Picture 94b may detect or recognize an object and / or its properties
 Recognizer 94a can resize or otherwise transform a digital 60 from a stream of digital sound samples by comparing
 picture before or during comparison . Such resizing or trans- collections of sound samples from the stream of digital
 formation may include increasing or decreasing the number sound samples with collections of sound samples of known
 of pixels of a digital picture . For example, Picture Recog- objects and / or their properties. The collections of sound
 nizer 94a can increase or decrease the size of a digital samples of known objects and / or their properties can be
 picture proportionally ( i.e. increase or decrease length and / 65 learned , or manually, programmatically, or otherwise
 or width keeping aspect ratio constant, etc. ) to equate its size defined . The collections of sound samples of known objects
 with the size of another digital picture . Picture Recognizer and / or their properties can be stored in any data structure or
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 repository (i.e. one or more files, database , etc.) that resides   processing API can similarly be utilized . In further exem
 locally on Device 98 , or remotely on a remote computing            plary embodiments, applications or engines providing
 device ( i.e. server, cloud , etc.) accessible over a network or Sound recognition functionalities such as HTK (Hidden
 an interface. In other aspects , Sound Recognizer 94b may Markov Model Toolkit), Kaldi , OpenEars, Dragon Mobile ,
 detect or recognize an object and / or its properties from a 5 Julius , iSpeech , CeedVocal, and / or others can be utilized in
 stream of digital sound samples by comparing features from Sound Recognizer 94b . For example , Kaldi SDK can detect
 the stream of digital sound samples with features of sounds an object (i.e. person , animal, vehicle, etc. ) and /or its
 of known objects and / or their properties. The features of properties in a stream of digital sound samples captured by
 sounds of known objects and / or their properties can be Microphone 92b or stored in an electronic repository, which
 learned , or manually, programmatically, or otherwise 10 can then be utilized in DCADO Unit 100 , Artificial Intelli
 defined . The features of sounds of known objects and / or gence Unit 110 , and /or other elements.
 their properties can be stored in any data structure or            In further embodiments , Object Processing Unit 93 may
 repository ( i.e. one or more files, database, neural network , include Lidar Processing Unit 94c as shown in FIG . 3C .
 etc. ) that resides locally on Device 98 , or remotely on a         Lidar Processing Unit 94c comprises the functionality for
 remote computing device (i.e. server , cloud , etc. ) accessible 15 detecting or recognizing objects and / or their properties using
 over a network or an interface. Typical steps or elements in light, and / or other disclosed functionalities . As such, Lidar
 a feature oriented sound recognition include pre -processing, Processing Unit 94c can be utilized in detecting existence of
 feature extraction , acoustic modeling , language modeling, an object, type of an object, identity of an object, distance of
 and / or others, or a combination thereof, each of which may an object, bearing/angle of an object, location of an object,
 include its own sub - steps or sub - elements depending on the 20 shape/size of an object, activity of an object, and /or other
 application. In further aspects , Sound Recognizer 94b may properties of an object. In general, Lidar Processing Unit
 detect or recognize a variety of sounds from a stream of 94c can be used for any operation supported by Lidar
 digital sound samples using the aforementioned sound Processing Unit 94c . In one example, Lidar Processing Unit
 sample or feature comparisons, and / or other detection or 94c may detect distance of an object by measuring time
 recognition techniques. For example, sound of a person , 25 delay between emission of a light signal ( i.e. laser beam ,
 animal, vehicle, and / or other sounds can be detected by     etc. ) and return of the light signal reflected from the object
 Sound Recognizer 94b . In further aspects , Sound Recog-      based on known speed of light. In another example, Lidar
 nizer 94b may detect or recognize sounds using Hidden Processing Unit 94c may detect bearing angle of an object
 Markov Models (HMM) , Artificial Neural Networks, by analyzing the amplitudes of a light signal received by an
 Dynamic Time Warping ( DTW) , Gaussian Mixture Models 30 array of detectors ( i.e. detectors arranged into a quadrant or
 ( GMM) , and / or other models or techniques, or a combina- other arrangement, etc. ) . In a further example, Lidar Pro
 tion thereof. Some or all of these models or techniques may cessing Unit 94c may detect existence, type , identity, shape/
 include statistical techniques. Examples of artificial neural size , activity, and / or other properties of an object by illu
 networks that can be used in Sound Recognizer 946 include minating the object with light and acquiring an image of the
 recurrent neural networks, time delay neural networks 35 object, which can then be processed using some of the
 ( TDNNs), deep neural networks, convolutional neural net- previously described or other picture recognition techniques.
 works, and / or others. In general, Sound Recognizer 94b may In a further example, Lidar Processing Unit 94c may detect
 include any machine learning, deep learning, and / or other existence, type, identity, shape/ size, activity, and / or other
 artificial intelligence techniques. In further aspects , Sound properties of an object by illuminating the object with light
 Recognizer 94b may detect bearing / angle of a recognized 40 and acquiring a point cloud representation of the object.
 object by measuring the direction in which Microphone 92b Lidar Processing Unit 94c may detect objects and /or their
 is pointing when sound of maximum strength is received , by properties by utilizing any lidar or light- related techniques
 analyzing amplitude of the sound , by performing phase known in art.
 analysis ( i.e. with microphone array , etc. ) of the sound,       In further embodiments, Object Processing Unit 93 may
 and / or by utilizing other techniques . Any other techniques 45 include Radar Processing Unit 94d as shown in FIG . 3D .
 known in art can be utilized in Sound Recognizer 946. For Radar Processing Unit 94d comprises the functionality for
 example , thresholds for similarity, statistical techniques, detecting or recognizing objects and /or their properties using
 and / or optimization techniques can be utilized to determine radio waves , and / or other disclosed functionalities. As such ,
 a match in any of the above -described detection or recog- Radar Processing Unit 94d can be utilized in detecting
 nition techniques. In some exemplary embodiments , oper- 50 existence of an object, type of an object, distance of an
 ating system's Sound recognition functionalities such as object, bearing/ angle of an object, location of an object,
 iOS's Voice Services, Siri, and / or others can be utilized in shape size of an object, activity of an object, and / or other
 Sound Recognizer 94b . For example, iOS Voice Services properties of an object. In general, Radar Processing Unit
 can detect an object ( i.e. person , etc. ) and / or its properties in 94d can be used for any operation supported by Radar
 a stream of digital sound samples captured by Microphone 55 Processing Unit 94d . In one example, Radar Processing Unit
 92b or stored in an electronic repository, which can then be 94d may detect existence of an object by emitting a radio
 utilized in DCADO Unit 100 , Artificial Intelligence Unit signal and listening for the radio signal reflected from the
 110 , and / or other elements. In other exemplary embodi- object. In another example, Radar Processing Unit 94d may
 ments, Java Speech API ( JSAPI ) implementation such as detect distance of an object by measuring time delay
 The Cloud Garden , Sphinx, and / or others can be utilized in 60 between emission of aa radio signal and return of the radio
 Sound Recognizer 946. For example, Cloud Garden JSAPI signal reflected from the object based on known speed of the
 can detect an object (i.e. person , animal , vehicle , etc. ) and / or radio signal. In a further example, Radar Processing Unit
 its properties in a stream of digital sound samples captured 94d may detect bearing/angle of an object by measuring the
 by Microphone 92b or stored in an electronic repository, direction in which the antenna is pointing when the return
 which can then be utilized in DCADO Unit 100 , Artificial 65 signal ofmaximum strength is received, by analyzing ampli
                                                      9

 Intelligence Unit 110 , and / or other elements. Any other tude of the return signal, by performing phase analysis (i.e.
 programming language's or platform's speech or sound with antenna array, etc.) of the return signal, and / or by
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 utilizing any amplitude, phase , or other techniques. In a detected . Object 615b may be recognized as a tree . Object
 further example , Radar Processing Unit 94d may detect 615b may be detected at a distance of 10 m from Device 98 .
 existence, type , identity, shape/ size , activity, and / or other Object 615b may be detected at a bearing/angle of 131 ° from
 properties of an object by illuminating the object with radio Device's 98 centerline. Furthermore, Object 615c is also
 waves and acquiring an image of the object, which can then 5 detected . Object 615c may be recognized as a person . Object
 be processed using some of the previously described or other 615c may be identified as John Doe . Object 615c may be
 picture recognition techniques. Radar Processing Unit 94d detected at a distance of 8 m from Device 98. Object 6150
 may detect objects and /or their properties by utilizing any may be detected at a bearing /angle of 2870 from Device's 98
 radar or radio - related techniques known in art.                  centerline . Any other Objects 615 instead of or in addition
    In further embodiments, Object Processing Unit 93 may 10 to Object 615a , Object 615b , and Object 615c may be
 include Sonar Processing Unit 94e as shown in FIG . 3E . detected . In some aspects , any features, functionalities, and
 Sonar Processing Unit 94e comprises the functionality for embodiments of Camera 92a /Picture Recognizer 94a ,
 detecting or recognizing objects and / or their properties using Microphone 92b / Sound Recognizer 94b , and / or other sen
 sound, and / or other disclosed functionalities. As such , Sonar sors or techniques can be utilized for recognizing and / or
 Processing Unit 94e can be utilized in detecting existence of 15 identifying a person, a cat, a tree, and / or other Objects 615 .
 an object, type of an object, distance of an object, bearing/ In further aspects , any features, functionalities, and embodi
 angle of an object, location of an object, shape/ size of an ments of Camera 92a /Picture Recognizer 94a , Microphone
 object, activity of an object, and / or other properties of an 92b /Sound Recognizer 946 , Lidar 92c /Lidar Processing Unit
 object. In general, Sonar Processing Unit 94e can be used for 94c , Radar 92d /Radar Processing Unit 94d, Sonar 92e/ Sonar
 any operation supported by Sonar Processing Unit 94e . In 20 Processing Unit 94e , and/or other sensors or techniques can
 one example , Sonar Processing Unit 94e may detect exis- be utilized for detecting distance , bearing/angle, and / or other
 tence of an object by emitting a sound signal and listening object properties.
 for the sound signal reflected from the object. In another      As shown for example in FIG . 4B , Object Processing Unit
 example, Sonar Processing Unit 94e may detect distance of 93 may create or generate Collection of Object Represen
 an object by measuring time delay between emission of a 25 tations 525 including Object Representation 625a represent
 sound signal and return of the sound signal reflected from         ing Object 615a , Object Representation 625b representing
 the object based on known speed of the sound signal . In a         Object 615b , Object Representation 625c representing
 further example, Sonar Processing Unit 94e may detect Object 6150 , etc. For instance , Object Representation 625a
 bearing/angle of an object by measuring the direction in may include Object Property 630aa “ Cat ” in Category
 which the microphone is pointing when the return signal of 30 635aa “ Type ” , Object Property 630ab “ 6 m ” in Category
 maximum strength is received , by analyzing amplitude of 635ab “ Distance ” , Object Property 630ac " 560" in Category
 the return signal, by performing phase analysis ( i.e. with 635ac “ Bearing ”, etc. Also , Object Representation 625b
 microphone array, etc.) of the return signal , and / or by may include Object Property 630ba “ Tree ” in Category
 utilizing any amplitude, phase , or other techniques. In a 635ba “ Type ” , Object Property 630bb “ 10 m ” in Category
 further example , Sonar Processing Unit 94e may detect 35 635bb “ Distance ” , Object Property 630bc “ 131 ”” in Cat
 existence, type , identity, shape/ size , activity, and / or other egory 635bc “ Bearing”, etc. Also , Object Representation
 properties of an object by illuminating the object with sound 625c may include Object Property 630ca “ Person ” in Cat
 pulses and acquiring an image of the object, which can then egory 635ca “ Type ” , Object Property 630cb “ John Doe” in
 be processed using some of the previously described or other Category 635cb “ Identity ” , Object Property 630cc “ 8 m ” in
 picture recognition techniques. Sonar Processing Unit 94e 40 Category 635cc “ Distance ” , Object Property 630cd “ 2870"
 may detect objects and / or their properties by utilizing any in Category 635cd “ Bearing” , etc. Any number of Object
 sonar or sound - related techniques known in art.                  Representations 625 , and / or other elements or information
    One of ordinary skill in art will understand that the can be included in Collection of Object Representations 525 .
 aforementioned techniques for detecting or recognizing Any number of Object Properties 630 (also referred to
 objects and / or their properties are described merely as 45 simply as object properties or other suitable name or refer
 examples of a variety of possible implementations, and that ence ), and / or other elements or information can be included
 while all possible techniques for detecting or recognizing in an Object Representation 625. In some aspects , a refer
 objects and / or their properties are too voluminous to ence to Collection of Object Representations 525 comprises
 describe, other techniques for detecting or recognizing a reference to a collection of Object Properties 630 and / or
 objects and / or their properties known in art are within the 50 other elements or information related to one or more Objects
 scope of this disclosure. Also , any signal processing tech- 615. Other additional Object Representations 625 , Object
 nique known in art that can facilitate the disclosed function- Properties 630 , elements, and /or information can be
 alities can be utilized in various embodiments . Any combi- included as needed , or some of the disclosed ones can be
 nation of the aforementioned and / or other sensors , object excluded , or a combination thereof can be utilized in alter
 detecting or recognizing techniques, signal processing tech- 55 nate embodiments of Collection of Object Representations
 niques , and / or other elements or techniques can be used in 525 .
 various embodiments.                                               Referring now to DCADO Unit 100 , DCADO Unit 100
    Referring to FIGS . 4A - 4B , an exemplary embodiment of comprises any hardware, programs, or a combination
 Objects 615 ( also referred to simply as objects or other thereof. DCADO Unit 100 comprises the functionality for
 suitable name or reference ) detected in Device's 98 sur- 60 learning the operation of Device 98 in circumstances includ
 rounding, and resulting Collection of Object Representa- ing objects with various properties. DCADO Unit 100
 tions 525 are illustrated .                                  comprises the functionality for structuring and / or storing
    As shown for example in FIG . 4A , Object 615a is this knowledge in a knowledgebase ( i.e. neural network ,
 detected . Object 615a may be recognized as a cat . Object graph , sequences, other repository, etc. ). DCADO Unit 100
 615a may be detected at a distance of 6 m from Device 98. 65 comprises the functionality for enabling autonomous opera
 Object 615a may be detected at a bearing/angle of 56 ° from tion of Device 98 in circumstances including objects with
 Device's 98 centerline. Furthermore, Object 615b is also various properties. DCADO Unit 100 comprises the func
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 tionality for interfacing with or attaching to Application         ments, autonomous application operating comprises deter
 Program 18 , Processor 11 , Logic Circuit 250 ( later mining, by DCADO Unit 100 , a next instruction or instruc
                                                                                                 9

 described ), and / or other processing element. DCADO Unit tion set to be executed based on Device's 98 circumstances
 100 comprises the functionality for obtaining instruction including objects with various properties prior to the system
 sets, data, and / or other information used , implemented , 5 receiving the next instruction or instruction set .
 and / or executed by Application Program 18 , Processor 11 ,        In some embodiments, autonomous Device 98 operating
 Logic Circuit 250 , and / or other processing element. includes a partially or fully autonomous operating. In an
 DCADO Unit 100 comprises the functionality for modifying example involving partially autonomous Device 98 operat
 instruction sets, data , and / or other information used, imple- ing , a user confirms DCADO Unit 100 -generated instruc
 mented, and / or executed by Application Program 18 , Pro- 10 tions or instruction sets prior to their execution . In an
 cessor 11 , Logic Circuit 250 , and /or other processing ele- example involving fully autonomous application operating,
 ment. DCADO Unit 100 comprises learning, anticipating, DCADO Unit 100 - generated instructions or instruction sets
 decision making , automation , and / or other functionalities are executed without user or other system confirmation (i.e.
 disclosed herein . Statistical , artificial intelligence, machine automatically, etc. ).
 learning, and / or other models or techniques are utilized to 15 In some embodiments, a combination of DCADO Unit
 implement the disclosed devices, systems, and methods.            100 and other systems and / or techniques can be utilized to
    When DCADO Unit 100 functionalities are applied on implement Device's 98 operation. In one example, DCADO
 Application Program 18 , Processor 11 , Logic Circuit 250          Unit 100 may be a primary or preferred system for imple
 ( later described ), and / or other processing element of Device   menting Device's 98 operation. While operating autono
 98 , Device 98 may become autonomous. DCADO Unit 100 20 mously under the control of DCADO Unit 100 , Device 98
 may take control from , share control with , and / or release may encounter a circumstance including objects with vari
 control to Application Program 18 , Processor 11 , Logic ous properties that has not been encountered or learned
 Circuit 250 , and / or other processing element to implement before . In such situations, User 50 and /or non - DCADO
 autonomous operation of Device 98. DCADO Unit 100 may system may take control of Device's 98 operation. DCADO
 take control from , share control with , and / or release control 25 Unit 100 may take control again when Device 98 encounters
 to Application Program 18 , Processor 11 , Logic Circuit 250 , a previously learned circumstance including objects with
 and / or other processing element automatically or after various properties. Naturally, DCADO Unit 100 can learn
 prompting User 50 to allow it . In some aspects , Application Device's 98 operation in circumstances while User 50
 Program 18 , Processor 11 , Logic Circuit 250 , and / or other and / or non - DCADO system is in control of Device 98 ,
 processing element of an autonomous Device 98 may 30 thereby reducing or eliminating the need for future involve
 include or be provided with anticipatory ( also referred to as ment of User 50 and / or non - DCADO system . In another
 alternate or other suitable name or reference ) instructions or example , User 50 and / or non - DCADO system may be a
 instruction sets that User 50 did not issue or cause to be         primary or preferred system for implementing Device's 98
 executed . Such anticipatory instructions or instruction sets operation. While operating under the control of User 50
 include instruction sets that User 50 may want or is likely to 35 and / or non- DCADO system , User 50 and / or non - DCADO
 issue or cause to be executed . Anticipatory instructions or system may release control to DCADO Unit 100 for any
 instruction sets can be generated by DCADO Unit 100 or reason ( i.e. User 50 gets tired or distracted, non -DCADO
 elements thereof based on Device's 98 circumstances system gets stuck or cannot make a decision , etc. ) , at which
 including objects with various properties. As such , Appli- point Device 98 can be controlled by DCADO Unit 100. In
 cation Program 18 , Processor 11 , Logic Circuit 250 , and / or 40 some designs, DCADO Unit 100 may take control in certain
 other processing element of an autonomous Device 98 may special circumstances including objects with various prop
 include or be provided with some or all original instructions erties where DCADO Unit 100 may offer superior perfor
 or instruction sets and / or any anticipatory instructions or mance even though User 50 and / or non - DCADO system
 instruction sets generated by DCADO Unit 100. Therefore , may generally be preferred . Once Device 98 leaves such
 autonomous Device 98 operating may include executing 45 special circumstances, DCADO Unit 100 may release con
 some or all original instructions or instruction sets and / or trol to User 50 and /or non- DCADO system . In general,
 any anticipatory instructions or instruction sets generated by DCADO Unit 100 can take control from , share control with ,
 DCADO Unit 100. In one example, DCADO Unit 100 can or release control to User 50 , non - DCADO system , and / or
 overwrite or rewrite the original instructions or instruction other system or process at any time , in any circumstances,
 sets of Application Program 18 , Processor 11 , Logic Circuit 50 and remain in control for any period of time as needed .
 250 , and / or other processing element with DCADO Unit              In some embodiments , DCADO Unit 100 may control
 100 - generated instructions or instruction sets . In another one or more sub -devices, sub - systems, or elements of
 example , DCADO Unit 100 can insert or embed DCADO Device 98 while User 50 and / or non -DCADO system may
 Unit 100 - generated instructions or instruction sets among control other one or more sub -devices, sub - systems, or
 the original instructions or instruction sets of Application 55 elements of Device 98 .
 Program 18 , Processor 11 , Logic Circuit 250 , and/or other        It should be understood that a reference to autonomous
 processing element. In a further example, DCADO Unit 100 operating of Device 98 may include autonomous operating
 can branch , redirect, or jump to DCADO Unit 100 - generated ofApplication Program 18 , Processor 11 , Logic Circuit 250 ,
 instructions or instruction sets from the original instructions and / or other processing element depending on context.
 or instruction sets of Application Program 18 , Processor 11 , 60 Referring now to Acquisition Interface 120 , Acquisition
 Logic Circuit 250 , and / or other processing element.           Interface 120 comprises the functionality for obtaining and /
    In some embodiments, autonomous Device 98 operating or receiving instruction sets, data, and / or other information .
 comprises determining, by DCADO Unit 100 , a next Acquisition Interface 120 comprises the functionality for
 instruction or instruction set to be executed based on obtaining and / or receiving instruction sets, data, and / or other
 Device's 98 circumstances including objects with various 65 information from Processor 11 , Application Program 18 ,
 properties prior to the user issuing or causing to be executed Logic Circuit 250 ( later described ), and / or other processing
 the next instruction or instruction set . In yet other embodi- element. Acquisition Interface 120 comprises the function
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 ality for obtaining and / or receiving instruction sets , data , elements of a computing system such as memory, virtual
 and / or other information at runtime. In some aspects , an machine , runtime engine/environment, operating system ,
 instruction set may include any computer command, instruc- compiler, interpreter, translator, processor registers, execu
 tion , signal, or input used in Application Program 18 , tion stack, program counter, and / or other elements. In yet
 Processor 11 , Logic Circuit 250 , and / or other processing 5 other aspects , instrumentation can be performed in various
 element. Therefore, the terms instruction set , command, abstraction layers of a computing system such as in software
 instruction, signal , input, or other such terms may be used layer (i.e. Application Program 18 , etc. ) , in virtual machine
 interchangeably herein depending on context. Acquisition                                                 2



 Interface 120 also comprises the functionality for attaching in(if VM    is used) , in operating system , in Processor 11 , and / or
 to or interfacing with Application Program 18 , Processor 11 , 10 computinglayers
                                                                      other           or areas that may exist in a particular
 Logic Circuit 250 , and / or other processing element. In one instrumentation can implementation
                                                                               system
                                                                                         be performed
                                                                                                        . In yet other aspects ,
                                                                                                       at  various time periods in
 example , Acquisition Interface 120 comprises the function an application's execution such as source            code write time ,
 ality to access and / or read runtime engine/ environment,          compile time , interpretation time , translation time , linking
 virtual machine, operating system , compiler, just - in - time
 (JIT) compiler, interpreter, translator, execution stack, file, 15 time , loading time, runtime, and / or other time periods. In yet
                                                                    other aspects , instrumentation can be performed at various
 object, data structure , and / or other computing system ele
 ments . In another example, Acquisition Interface 120 com granularities or code segments such as some or all lines of
 prises the functionality to access and / or read memory, stor code , some or all statements , some or all instructions or
 age , bus , interfaces, and / or other computing system instruction sets , some or all basic blocks , some or all
 elements. In a further example, Acquisition Interface 120 20 functions / routines / subroutines, and / or some or all other code
 comprises the functionality to access and / or read Processor segments .
 11 registers and / or other Processor 11 elements. In a further      In some embodiments, Application Program 18 can be
 example , Acquisition Interface 120 comprises the function- automatically instrumented . For example, Acquisition Inter
 ality to access and / or read inputs and / or outputs of Appli- face 120 can access Application Program’s 18 source code,
 cation Program 18 , Processor 11 , Logic Circuit 250 , and / or 25 bytecode, or machine code and select instrumentation points
 other processing element. In a further example, Acquisition of interest. Selecting instrumentation points may include
 Interface 120 comprises the functionality to access and / or finding locations in the source code , bytecode , or machine
 read functions, methods, procedures, routines, subroutines , code corresponding to function calls , function entries, func
 and / or other elements of Application Program 18. In a tion exits, object creations, object destructions, event han
 further example , Acquisition Interface 120 comprises the 30 dler calls , new lines (i.e. to instrument all lines of code, etc. ) ,
 functionality to access and / or read source code , bytecode,       thread creations , throws, and /or other points of interest.
 compiled, interpreted , or otherwise translated code, machine       Instrumentation code can then be inserted at the instrumen
 code , and / or other code . In a further example , Acquisition tation points of interest to output Application Program's 18
 Interface 120 comprises the functionality to access and / or instruction sets , data , and /or other information . In response
 read values , variables, parameters, and / or other data or 35 to executing instrumentation code, Application Program's
 information. Acquisition Interface 120 also comprises the 18 instruction sets, data , and / or other information may be
 functionality for transmitting the obtained instruction sets , received by Acquisition Interface 120. In some aspects ,
 data, and / or other information to Artificial Intelligence Unit    Application Program's 18 source code, bytecode , or
 110 and / or other element. As such , Acquisition Interface 120     machine code can be dynamically instrumented . For
 provides input into Artificial Intelligence Unit 110 for 40 example , instrumentation code can be dynamically inserted
 knowledge structuring, anticipating, decision making , and / into Application Program 18 at runtime.
 or other functionalities later in the process. Acquisition                In other embodiments, Application Program 18 can be
 Interface 120 also comprises other disclosed functionalities. manually instrumented . In one example, a programmer can
 Acquisition Interface 120 can employ various techniques for instrument a function call by placing an instrumenting
 obtaining instruction sets , data , and / or other information . In 45 instruction immediately after the function call as in the
 one example, Acquisition Interface 120 can attach to and / or following example.
 obtain Processor's 11 , Application Program's 18 , Logic                  Devicel.moveForward ( 12 );
 Circuit's 250 , and / or other processing element’s instruction           trace Application (Devicel.moveForward ( 12 ):');
 sets , data , and / or other information through tracing or pro- In another example, an instrumenting instruction can be
 filing techniques. Tracing or profiling may be used for 50 placed immediately before the function call , or at the begin
 outputting Processor's 11 , Application Program's 18 , Logic ning , end, or anywhere within the function itself. A pro
 Circuit’s 250 , and / or other processing element's instruction grammer may instrument all function calls or only function
 sets, data , and /or other information at runtime. For instance , calls of interest. In a further example , a programmer can
 tracing or profiling may include adding trace code ( i.e. instrument all lines of code or only code lines of interest. In
 instrumentation , etc. ) to an application and / or outputting 55 a further example , a programmer can instrument other
 trace information to a specific target. The outputted trace elements utilized or implemented within Application Pro
 information ( i.e. instruction sets , data , and / or other infor- gram 18 such as objects and / or any of their functions, data
 mation , etc.) can then be provided to or recorded into a file, structures and / or any of their functions, event handlers
 data structure, repository, an application, and / or other sys- and / or any of their functions, threads and / or any of their
 tem or target that may receive such trace information . As 60 functions, and /or other elements or functions . Similar instru
 such , Acquisition Interface 120 can utilize tracing or pro- mentation as in the preceding examples can be performed
 filing to obtain instruction sets , data , and / or other informa- automatically or dynamically. In some designs where
 tion and provide them as input into Artificial Intelligence manual code instrumentation is utilized , Acquisition Inter
 Unit 110. In some aspects , instrumentation can be performed face 120 can optionally be omitted and Application Pro
 in source code , bytecode, compiled , interpreted, or other- 65 gram's 18 instruction sets , data, and / or other information
 wise translated code , machine code , and /or other code . In       may be transmitted directly to Artificial Intelligence Unit
 other aspects , instrumentation can be performed in various         110 .
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    In some embodiments, DCADO Unit 100 can be selective profiler of events in the profiled application . The Profiling
 in learning instruction sets , data, and / or other information to API may also provide an interface to enable the profiler to
 those implemented , utilized , or related to an object, data call back into the profiled application to obtain information
 structure , repository, thread , function, and /or other element about the state of the profiled application . The Profiling API
 of Application Program 18. In some aspects , Acquisition 5 may further provide call stack profiling functionalities.Call
 Interface 120 can obtain Application Program’s 18 instruc- stack ( also referred to as execution stack , control stack ,
 tion sets, data , and / or other information implemented , uti- runtime stack, machine stack, the stack , etc. ) includes a data
 lized , or related to a certain object in an object oriented structure that can store information about active subroutines
 Application Program 18 .                                           of an application . The Profiling API may provide a stack
    In some embodiments , various computing systems and / or 10 snapshot method, which enables a trace of the stack at a
 platforms may provide native tools for obtaining instruction particular point in time . The Profiling API may also provide
 sets, data , and / or other information . Also , independent ven- a shadow stack method, which tracks the call stack at every
 dors may provide portable tools with similar functionalities instant. A shadow stack can obtain function arguments ,
 that can be utilized across different computing systems return values , and information about generic instantiations .
 and / or platforms. These native and portable tools may 15 A function such as FunctionEnter can be utilized to notify
 provide a wide range of functionalities to obtain runtime and the profiler that control is being passed to a function and can
 other information such as instrumentation , tracing or pro- provide information about the stack frame and function
 filing, logging application or system messages , outputting arguments . A function such as FunctionLeave can be utilized
 custom text messages , outputting objects or data structures , to notify the profiler that aa function is about to return to the
 outputting functions / routines / subroutines or their invoca- 20 caller and can provide information about the stack frame and
 tions , outputting variable or parameter values , outputting function return value . An alternative to call stack profiling
 thread or process behaviors, outputting call or other stacks , includes call stack sampling in which the profiler can
 outputting processor registers, providing runtime memory periodically examine the stack . In some aspects , the Profil
 access , providing inputs and / or outputs , performing live ing API enables the profiler to change the in -memory code
 application monitoring, and / or other capabilities. One of 25 stream for a routine before it is just - in- time (JIT ) compiled
 ordinary skill in art will understand that, while all possible       where the profiler can dynamically add instrumentation code
 variations of the techniques to obtain instruction sets , data ,     to all or particular routines of interest. Other platforms,
 and / or other information are too voluminous to describe,           tools , and / or techniques may provide equivalent or similar
 these techniques are within the scope of this disclosure .           functionalities as the above described ones .
    In one example, obtaining instruction sets , data, and / or 30 In a further example, obtaining instruction sets , data ,
 other information can be implemented through the .NET and / or other information can be implemented through Java
 platform's native tools for application tracing or profiling platform's APIs for application tracing or profiling such as
 such as System.Diagnostics.Trace, System.Diagnostics.De- Java Virtual Machine Profiling Interface (JVMPI ) , Java
 bug , and System.Diagnostics.TraceSource classes for trac- Virtual Machine Tool Interface (JVMTI ) , and /or other APIs
 ing execution flow , and System . Diagnostics. Process , Sys- 35 or tools . These APIs can be used for instrumentation of an
 tem.Diagnostics.EventLog, and System . Diagnostics . application, for notification of Java Virtual Machine (VM )
 PerformanceCounter classes for profiling code , accessing events, and / or other functionalities . One of the tracing or
 local and remote processes , starting and stopping system profiling techniques that can be utilized includes bytecode
 processes, and interacting with Windows event logs , etc. For instrumentation . The profiler can insert bytecodes into all or
 instance, a set of trace switches can be created that output an 40 some of the classes . In application execution profiling, for
 application's information . The switches can be configured example, these bytecodes may include methodEntry and
 using the .config file. For a Web application , this may methodExit calls . In memory profiling, for example , the
 typically be Web.config file associated with the project. In a bytecodes may be inserted after each new or after each
 Windows application, this file may typically be named constructor. In some aspects , insertion of instrumentation
 application Name.exe.config . Trace code can be added to 45 bytecode can be performed either by a post-compiler or a
 application code automatically or manually as previously custom class loader . An alternative to bytecode instrumen
 described . Appropriate listener can be created where the tation includes monitoring events generated by the JVMPI
 trace output is received . Trace code may output trace mes- or JVMTI interfaces. Both APIs can generate events for
 sages to a specific target such as a file , a log , a database , an method entry /exit, object allocation , and / or other events. In
 object, a data structure , and /or other repository or system . 50 some aspects , JVMTI can be utilized for dynamic bytecode
 Acquisition Interface 120 or Artificial Intelligence Unit 110        instrumentation where insertion of instrumentation byte
 can then read or obtain the trace information from these             codes is performed at runtime. The profiler may insert the
 targets. In some aspects , trace code may output trace mes-          necessary instrumentation when a selected class is invoked
 sages directly to Acquisition Interface 120. In other aspects ,     in an application . This can be accomplished using the
 trace code may output trace messages directly to Artificial 55 JVMTI's redefineClasses method, for example. This
 Intelligence Unit 110. In the case of outputting trace mes-         approach also enables changing of the level of profiling as
 sages to Acquisition Interface 120 or directly to Artificial        the application is running. If needed , these changes can be
 Intelligence Unit 110, custom listeners can be built to             made adaptively without restarting the application. Other
 accommodate these specific targets. Other platforms, tools ,        platforms, tools , and / or techniques may provide equivalent
 and / or techniques can provide equivalent or similar func- 60 or similar functionalities as the above described ones .
 tionalities as the above described ones .                              In a further example, obtaining instruction sets , data ,
    In another example , obtaining instruction sets, data, and / and / or other information can be implemented through JVM
 or other information can be implemented through the .NET TI's programming interface that enables creation of software
 platform's Profiling API that can be used to create a custom agents that can monitor and control a Java application. An
 profiler application for tracing, monitoring, interfacing with , 65 agent may use the functionality of the interface to register
 and / or managing a profiled application . The Profiling API for notification of events as they occur in the application ,
 provides an interface that includes methods to notify the and to query and control the application . A JVMTI agent
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 may use JVMTI functions to extract information from a Java        Examples of event attributes that can be utilized include
 application. A JVMTI agent can be utilized to obtain an           eventID , level , task , opcode , keywords, and / or other event
 application's runtime information such as method calls ,          attributes. Windows wevtutil tool enables access to events ,
 memory allocation , CPU utilization, lock contention, and/ or     their structures, registered event publishers, and / or their
 other information . JVMTI may include functions to obtain 5 configuration even before the events are fired . Wevtutil
 information about variables, fields, methods, classes , and /or supports capabilities such as retrieval of the names of all
 other information. JVMTI may also provide notification for logs on a computing device ; retrieval of configuration infor
 numerous events such as method entry and exit , exception , mation for a specific log ; retrieval of event publishers on a
 field access and modification , thread start and end, and / or computing device ; reading events from an event log , from a
 other events . Examples of JVMTI built - in methods include 10 log file, or using a structured query ; exporting events from
 GetMethodName to obtain the name of an invoked method , an event log , from a log file, or using a structured query to
 GetThreadInfo to obtain information for a specific thread, a specific target; and / or other capabilities. Operating system
 GetClassSignature to obtain information about the class of logs can be utilized solely if they contain sufficient infor
 an object, GetStackTrace to obtain information about the mation on an application's instruction sets , data , and / or
 stack including information about stack frames, and / or other 15 other information . Alternatively, operating system logs can
 methods. Other platforms, tools , and /or techniques may          be utilized in combination with another source of informa
 provide equivalent or similar functionalities as the above tion (i.e. trace information , call stack , processor registers ,
 described ones .                                                  memory , etc. ) to reconstruct the application's instruction
   In a further example, obtaining instruction sets , data ,       sets, data, and / or other information needed for Artificial
 and / or other information can be implemented through java- 20 Intelligence Unit 110 and / or other elements . In addition to
 .lang.Runtime class that provides an interface for application logging capabilities native to their respective platforms
 tracing or profiling. Examples of methods provided in java- and /or operating systems , many independent tools exist that
 .lang.Runtime that can be used to obtain an application's provide logging on different platforms and / or operating
 instruction sets , data, and / or other information include systems . Examples of these tools include Log 4 ), Logback ,
                                                                                                                       2

 tracemethodcalls, traceinstructions, and / or other methods . 25 SmartInspect, NLog , log 4net , Microsoft Enterprise Library,
 These methods prompt the Java Virtual Machine to output ObjectGuy Framework , and / or others. Other platforms,
 trace information for a method or instruction in the virtual      tools , and / or techniques may provide equivalent or similar
 machine as it is executed . The destination of trace output       functionalities as the above described ones .
 may be system dependent and include a file , a listener,             In a further example, obtaining instruction sets , data ,
 and / or other destinations where Acquisition Interface 120 , 30 and / or other information can be implemented through trac
 Artificial Intelligence Unit 110 , and / or other disclosed ele- ing or profiling the operating system on which an application
 ments can access needed information . In addition to tracing runs. As in tracing or profiling an application, one of the
 or profiling tools native to their respective computing sys- techniques that can be utilized includes adding instrumen
 tems and / or platforms, many independent tools exist that tation code to the operating system's source code . Such
 provide tracing or profiling functionalities on more than one 35 instrumentation code can be added to the operating system's
 computing system and / or platform . Examples of these tools source code before kernel compilation or recompilation, for
 include Pin , DynamoRIO , KernInst, DynInst , Kprobes , instance . This type of instrumentation may involve defining
 OpenPAT, DTrace , System Tap , and / or others. Other plat- or finding locations in the operating system's source code
 forms, tools , and /or techniques may provide equivalent or where instrumentation code may be inserted . Kernel instru
 similar functionalities as the above described ones .           40 mentation can also be performed without the need for kernel
    In a further example, obtaining instruction sets , data , recompilation or rebooting. In some aspects , instrumenta
 and / or other information can be implemented through log- tion code can be added at locations of interest through binary
 ging tools of the platform and / or operating system on which rewriting of compiled kernel code . In other aspects , kernel
 an application runs . Some logging tools may include nearly instrumentation can be performed dynamically where instru
 full feature sets of the tracing or profiling tools previously 45 mentation code is added and / or removed where needed at
 described . In one example , Visual Basic enables logging of runtime. For instance, dynamic instrumentation may over
 runtime messages through its Microsoft.VisualBasic.Log- write kernel code with a branch instruction that redirects
 ging namespace that provides a log listener where the log execution to instrumentation code or instrumentation rou
 listener may direct logging output to a file and /or other tine. In yet other aspects , kernel instrumentation can be
 target. In another example, Java enables logging through its 50 performed using just - in -time ( JIT ) dynamic instrumentation
 java.util.logging class . In some aspects , obtaining an appli- where execution may be redirected to a copy of kernel's
 cation's instruction sets , data , and / or other information can code segment that includes instrumentation code . This type
 be implemented through logging capabilities of the operat- of instrumentation may include aa JIT compiler and creation
 ing system on which an application runs. For example, of a copy of the original code segment having instrumen
 Windows NT features centralized log service that applica- 55 tation code or calls to instrumentation routines embedded
 tions and operating -system components can utilize to report into the original code segment. Instrumentation of the oper
 their events including any messages . Windows NT provides ating system may enable total system visibility including
 functionalities for system , application, security, and / or other visibility into an application's behavior by enabling genera
 logging . An application log may include events logged by tion of low level trace information . Other platforms, tools ,
 applications. Windows NT, for example, may include sup- 60 and /or techniques may provide equivalent or similar func
 port for defining an event source (i.e. application that created tionalities as the above described ones .
 the event, etc. ). Windows Vista, for example , supports a            In a further example , obtaining instruction sets , data ,
 structured XML log - format and designated log types to and /or other information can be implemented through trac
 allow applications to more precisely log events and to help ing or profiling the processor on which an application runs .
 interpret the events . Examples of different types of event 65 For example, some Intel processors provide Intel Processor
 logs include administrative, operational, analytic, debug , Trace ( i.e. Intel PT, etc. ) , a low - level tracing feature that
 and / or other log types including any of their subcategories. enables recording executed instruction sets, and / or other
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 data or information of one or more applications. Intel PT is        to applications loaded into memory. Operating system , pro
 facilitated by the Processor Trace Decoder Library along            cessor, or other low level commands such as Linux mprotect
 with its related tools . Intel PT is a low - overhead execution     command or similar commands in other operating systems
 tracing feature that records information about application may be used to unprotect the protected locations in memory
 execution on each hardware thread using dedicated hard- 5 before the change. In yet other aspects , assembly language
 ware facilities. The recorded execution / trace information is can be used to obtain instruction sets , data , and /or other
 collected in data packets that can be buffered internally information through accessing and / or reading instruction
 before being sent to a memory subsystem or another system register, program counter, other processor registers, memory
 or element (i.e. Acquisition Interface 120 , Artificial Intelli- locations, and /or other components of a computing system .
 gence Unit 110 , etc. ). Intel PT also enables navigating the 10 In yet other aspects , high - level programming languages may
 recorded execution /trace information via reverse stepping call or execute an external assembly language program to
 commands. Intel PT can be included in an operating sys- facilitate obtaining instruction sets, data , and / or other infor
 tem's core files and provided as a feature of the operating mation as previously described . In yet other aspects , rela
 system . Intel PT can trace globally some or all applications tively low - level programming languages such as C may
 running on an operating system . Acquisition Interface 120 or 15 allow embedding assembly language directly in their source
 Artificial Intelligence Unit 110 can read or obtain the code such as , for example, using asm keyword of C. Other
 recorded execution / trace information from Intel PT . Other platforms, tools , and /or techniques may provide equivalent
 platforms, tools , and /or techniques may provide equivalent        or similar functionalities as the above described ones .
 or similar functionalities as the above described ones .              In aa further example, it may be sufficient to obtain user or
   In a further example, obtaining instruction sets , data , 20 other inputs, variables, parameters, and / or other data in
 and / or other information can be implemented through some procedural, simple object oriented , or other applica
 branch tracing or profiling. Branch tracing may include an tions . In one instance , a simple procedural application
 abbreviated instruction trace in which only the successful executes a sequence of instruction sets until the end of the
 branch instruction sets are traced or recorded . Branch tracing program . During its execution , the application may receive
 can be implemented through utilizing dedicated processor 25 user or other input, store the input in a variable, and perform
 commands, for example. Executed branches may be saved               calculations using the variable to reach a result. The value of
 into special branch trace store area of memory . With the           the variable can be obtained or traced . In another instance ,
 availability and reference to a compiler listing of the appli- a more complex procedural application comprises one or
 cation together with branch trace information , a full path of more functions/ routines / subroutines each of which may
 executed instruction sets can be reconstructed . The full path 30 include a sequence of instruction sets. The application may
 can also be reconstructed with a memory dump ( containing execute a main sequence of instruction sets with aa branch to
 the program storage ) and branch trace information . In some a function / routine / subroutine. During its execution , the
 aspects , branch tracing can be utilized for pre - learning or application may receive user or other input, store the input
 automated learning of an application's instruction sets, data, in a variable , and pass the variable as a parameter to the
 and / or other information where a number of application 35 function / routine / subroutine. The function /routine /subrou
 simulations ( i.e. simulations of likely /common operations, tine may perform calculations using the parameter and
 etc. ) are performed . As such , the application's operation can return a value that the rest of the application can use to reach
 be learned automatically saving the time that would be a result . The value of the variable or parameter passed to the
 needed to learn the application's operation directed by a function /routine /subroutine, and /or return value can be
 user . Other platforms, tools , and / or techniques may provide 40 obtained or traced . Values of user or other inputs, variables ,
 equivalent or similar functionalities as the above described parameters, and /or other items of interest can be obtained
 ones .                                                             through previously described tracing, instrumentation , and /
    In a further example, obtaining instruction sets , data, or other techniques. Other platforms, tools , and / or tech
 and / or other information can be implemented through niques may provide equivalent or similar functionalities as
 assembly language. Assembly language is a low - level pro- 45 the above described ones .
 gramming language for a computer or other programmable               Referring to FIG . 5 , in yet another example , obtaining
 device in which there is a strong correlation between the instruction sets , data, and / or other information may be
 language and the architecture's machine instruction sets . implemented through tracing, profiling , or sampling of
 Syntax , addressing modes , operands, and / or other elements instruction sets or data in processor registers, memory, or
 of an assembly language instruction set may translate 50 other computing system components where instruction sets ,
 directly into numeric (i.e. binary, etc. ) representations of that data, and / or other information may be stored or utilized . For
 particular instruction set. Because of this direct relationship example, Instruction Register 212 may be part of Processor
 with the architecture’s machine instruction sets , assembly 11 and it may store the instruction set currently being
 language can be a powerful tool for tracing or profiling an executed or decoded . In some processors , Program Counter
 application's execution in processor registers, memory, and / 55 211 (also referred to as instruction pointer, instruction
 or other computing system components. For example , using address register, instruction counter, or part of instruction
 assembly language, memory locations of a loaded applica- sequencer ) may be incremented after fetching an instruction
 tion can be accessed , instrumented, and / or otherwise set, and it may hold or point to the memory address of the
 manipulated. In some aspects , assembly language can be next instruction set to be executed . In a processor where the
 used to rewrite or overwrite original in -memory instruction 60 incrementation precedes the fetch , Program Counter 211
 sets of an application with instrumentation instruction sets . may point to the current instruction set being executed . In
 In other aspects , assembly language can be used to redirect the instruction cycle , an instruction set may be loaded into
 application's execution to instrumentation routine/subrou- Instruction Register 212 after Processor 11 fetches it from
 tine or other code segment elsewhere in memory by insert- location in Memory 12 pointed to by Program Counter 211 .
 ing a jump into the application's in -memory code , by 65 Instruction Register 212 may hold the instruction set while
 redirecting program counter, or by other techniques. Some it is decoded by Instruction Decoder 213 , prepared , and
 operating systems may implement protection from changes             executed . In some aspects , data (i.e. operands, etc. ) needed
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 for instruction set execution may be loaded from Memory 12          processor or computing system components and Acquisition
 into a register within Register Array 214. In other aspects ,      Interface 120 or other elements .
 the data may be loaded directly into Arithmetic Logic Unit            Referring to FIGS . 6A - 6B , in yet another example ,
 215. For instance, as instruction sets pass through Instruc-       obtaining instruction sets, data , and / or other information
 tion Register 212 during application execution , they may be 5 may be implemented through tracing, profiling, or sampling
 transmitted to Acquisition Interface 120 as shown . Examples of Logic Circuit 250. While Processor 11 includes any type
  of the steps in execution of a machine instruction set may or embodiment of logic circuit, Logic Circuit 250 is
  include decoding the opcode ( i.e. portion of a machine described separately here to offer additional detail on its
  instruction set that may specify the operation to be per 10 functioning        . Some Devices 98 may not need the processing
 formed ), determining where the operands may be located tailored Logicof Circuit
                                                                    capabilities      an entire Processor 11 , but instead a more
  ( depending on architecture , operands may be in registers, the include home appliances250.        Examples of such Devices 98
                                                                                                , audio or video electronics, vehicle
  stack , memory , I/ O ports, etc. ), retrieving the operands, systems      , toys , industrial machines , robots , and /or others .
 allocating processor resources to execute the instruction set Logic Circuit         250 comprises the functionality for perform
 (tion
    needed in some types of processors  ), performing the opera- 15 ing  logic operations  . Logic Circuit 250 comprises the func
       indicated by the instruction set , saving the results of tionality for performing logic operations using the circuit's
 execution, and / or other execution steps. Examples of the         inputs and producing outputs based on the logic operations
 types of machine instruction sets that can be utilized include     performed on the inputs. Logic Circuit 250 may generally be
 arithmetic, data handling, logical , program control, as well      implemented using transistors, diodes , and / or other elec
 as special and / or other instruction set types. In addition to 20 tronic switches , but can also be constructed using vacuum
 the ones described or shown , examples of other computing tubes , electromagnetic relays (relay logic ) , fluidic logic ,
 system or processor components that can be used during an pneumatic logic , optics , molecules , or even mechanical
 instruction cycle include memory address register (MAR ) elements. In some aspects , Logic Circuit 250 may be or
 that may hold the address of a memory block to be read from include a microcontroller, field -programmable gate array
 or written to ; memory data register ( MDR) that may hold 25 (FPGA ), application - specific integrated circuit (ASIC ) , and /
 data fetched from memory or data waiting to be stored in or other computing circuit or device . In other aspects , Logic
 memory ; data registers that may hold numeric values , char- Circuit 250 may be or include any circuit or device com
 acters, small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors, one
 may hold addresses used by instruction sets that indirectly or more switches , and / or one or more other logic compo
 access memory ; general purpose registers (GPRS ) that may 30 nents . In further aspects , Logic Circuit 250 may be or
 store both data and addresses; conditional registers that may       include any integrated or other circuit or device that can
 hold truth values often used to determine whether some              perform logic operations. Logic may generally refer to
 instruction set should or should not be exe uted ; floating         Boolean logic utilized in binary operations, but other logics
 point registers (FPRs ) that may store floating point numbers;      can also be used . Input into Logic Circuit 250 may include
 constant registers that may hold read - only values such as 35 or refer to a value inputted into the Logic Circuit 250 ,
 zero , one, or pi ; special purpose registers ( SPRs ) such as therefore, these terms may be used interchangeably herein
 status register, program counter, or stack pointer that may depending on context. In one example , Logic Circuit 250
 hold information on program state ; machine - specific regis- may perform some logic operations using four input values
 ters that may store data and settings related to a particular and produce two output values . As the four input values are
 processor; Register Array 214 that may include an array of 40 delivered to or received by Logic Circuit 250 , they may be
 any number of processor registers; Arithmetic Logic Unit obtained by Acquisition Interface 120 through the four
 215 that may perform arithmetic and logic operations; hardwired connections as shown in FIG . 6A . In another
 control unit that may direct processor's operation ; and / or example , Logic Circuit 250 may perform some logic opera
 other circuits or components. Tracing, profiling, or sampling tions using four input values and produce two output values .
 of processor registers, memory, or other computing system 45 As the two output values are generated by or transmitted out
 components can be implemented in a program , combination    of Logic Circuit 250 , they may be obtained by Acquisition
 of hardware and program , or purely hardware system . Dedi- Interface 120 through the two hardwired connections as
 cated hardware may be built to perform tracing, profiling, or
                                                             shown in FIG . 6B . In a further example, instead of or in
 sampling of processor registers or any computing system     addition to obtaining input and / or output values of Logic
 components with marginal or no impact to computing over- 50 Circuit 250 , the state of Logic Circuit 250 may be obtained
                                                                                 2

 head .                                                      by reading or accessing values from one or more Logic
    One of ordinary skill in art will recognize that FIG . 5 Circuit's 250 internal components such as registers, memo
 depicts one of many implementations of processor or com- ries , buses , and / or others ( i.e. similar to the previously
 puting system components , and that various additional com- described tracing, profiling, and / or sampling of Processor 11
 ponents can be included, or some of the disclosed ones can 55 components, etc. ) . Tracing, profiling, or sampling of Logic
 be excluded , or a combination thereof can be utilized in Circuit 250 can be implemented in a program , combination
 alternate implementations. Processor or computing system          of hardware and program , or purely hardware system . Dedi
 components may be arranged or connected differently in cated hardware may be built to perform tracing, profiling, or
 alternate implementations. Processor or computing system sampling of Logic Circuit 250 with marginal or no impact to
 components may also be connected with external elements 60 computing overhead . Any of the elements and / or techniques
 using various connections. For instance , the connection for tracing, profiling, or sampling of Logic Circuit 250 can
 between Instruction Register 212 and Acquisition Interface similarly be implemented with Processor 11 and / or other
 120 may include any number or types of connections such           processing elements . In some designs, DCADO Unit 100
 as , for example, a dedicated connection for each bit of may include clamps and / or other elements to attach DCADO
 Instruction Register 212 (i.e. 32 connections for a 32 bit 65 Unit 100 to inputs ( i.e. input wires, etc.) into and / or outputs
 Instruction Register 212 , etc. ) . Any of the described or other (i.e. output wires, etc. ) from Logic Circuit 250. Such clamps
 connections or interfaces may be implemented among any              and /or attachment elements enable seamless attachment of
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 DCADO Unit 100 to any circuit or computing device                         shown in FIG . 7D , Instruction Set 526 includes assembly
 without the need to redesign or alter the circuit or computing            code . In aa further embodiment shown in FIG . 7E , Instruction
 device .                                                                  Set 526 includes machine code .
    In some embodiments, DCADO Unit 100 may learn input                Referring to FIGS . 8A - 8B , some embodiments of Extra
 values directly from an actuator (previously described , not 5 Information 527 ( also referred to as Extra Info 527 ) are
 shown ). For example, Logic Circuit 250 or other processing illustrated . In an embodiment shown in FIG . 8A , Collection
 element may control an actuator that enables Device 98 to of Object Representations 525 may include or be associated
 perform mechanical, physical, and / or other operations. An with Extra Info 527. In an embodiment shown in FIG . 8B ,
 actuator may receive one or more input values or control Instruction Set 526 may include or be associated with Extra
 signals from Logic Circuit 250 or other processing element 10 Info 527 .
 directing the actuator to perform specific operations. As one         Extra Info 527 comprises the functionality for storing any
 or more input values or control signals are delivered to or information useful in comparisons or decision making per
 received by the actuator, they may be obtained by Acquisi- formed in autonomous device operation, and/ or other func
 tion Interface 120 as previously described with respect to tionalities . One or more Extra Infos 527 can be stored in ,
 obtaining input values of Logic Circuit 250. Specifically, for 15 appended to , or associated with a Collection of Object
 instance, one or more input values or control signals of an Representations 525 , Instruction Set 526 , and / or other ele
 actuator may be obtained by Acquisition Interface 120 via ment. In some embodiments, the system can obtain Extra
 hardwired or other connections.                                     Info 527 at a time of creating or generating Collection of
    One of ordinary skill in art will recognize that FIGS . Object Representations 525. In other embodiments , the
 6A - 6B depict one of many implementations of Logic Circuit 20 system can obtain Extra Info 527 at a time of acquiring
 250 and that any number of input and / or output values can Instruction Set 526. In general, Extra Info 527 can be
 be utilized in alternate implementations. One of ordinary obtained at any time . Examples of Extra Info 527 include
 skill in art will also recognize that Logic Circuit 250 may time information , location information , computed informa
 include any number and / or combination of logic compo- tion , contextual information , and / or other information . Any
 nents to implement any logic operations.                         25 information can be utilized that can provide information for
    Other additional techniques or elements may be utilized enhanced comparisons or decision making performed in
 as needed for obtaining instruction sets , data , and / or other autonomous device operation. Which information is utilized
 information, or some of the disclosed techniques or elements and /or stored in Extra Info 527 can be set by a user , by
 may be excluded, or a combination thereof may be utilized DCADO system administrator, or automatically by the sys
 in alternate embodiments .                                       30 tem . Extra Info 527 may include or be referred to as
    Referring to FIGS . 7A - 7E , some embodiments of Instruc- contextual information, and vice versa . Therefore, these
 tion Sets 526 are illustrated . In some aspects , Instruction Set terms may be used interchangeably herein depending on
 526 includes one or more instructions or commands of                      context.
 Application Program 18. For example, Instruction Set 526       In some aspects , time information ( i.e. time stamp, etc.)
 may include one or more instructions or commands of a 35 can be utilized and / or stored in Extra Info 527. Time
 high - level programming language such as Java or SQL , a information can be useful in comparisons or decision mak
 low - level language such as assembly or machine language, ing performed in autonomous device operation related to a
 an intermediate language or construct such as bytecode, specific time period as Device 98 may be required to
 and / or any other language or construct. In other aspects , perform specific operations at certain parts of day, month ,
 Instruction Set 526 includes one or more inputs into and / or 40 year, and / or other time periods. Time information can be
 outputs from Logic Circuit 250 , Processor 11 , Application obtained from the system clock, online clock , oscillator, or
 Program 18 , and / or other processing element. In further other time source . In general, Extra Info 527 may include
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 aspects , Instruction Set 526 includes one or more values or time information related to when Device 98 performed an
 states of registers and / or other components of Logic Circuit operation. In other aspects , location information ( i.e. coor
 250 , Processor 11 , and / or other processing element. In 45 dinates, distance/angle from a known point, address, etc.)
 general, Instruction Set 526 may include one or more                      can be utilized and / or stored in Extra Info 527. Location
 instructions, commands, keywords, symbols ( i.e. parenthe-                information can be useful in comparisons or decision mak
 ses , brackets , commas, semicolons , etc. ) , operators ( i.e. = , 5 ,   ing performed in autonomous device operation related to a
 > , etc.), variables, values , objects, data structures, functions
                     9                                                     specific place as Device 98 may be required to perform
 ( i.e. Function1 ( ) , FIRST ( ) , MIN ( ) , SQRT ( ), etc. ) , param- 50 specific operations at certain places . Location information
 eters , states , signals, inputs, outputs, characters, digits, ref- can be obtained from a positioning system ( i.e. radio signal
 erences thereto , and / or other components for performing an triangulation, GPS capabilities, etc. ) , sensors , and / or other
 operation.                                                                location system . In general, Extra Info 527 may include
     In an embodiment shown in FIG . 7A , Instruction Set 526 location information related to where Device 98 performed
 includes code of aa high - level programming language ( i.e. 55 an operation . In further aspects , computed information can
 Java , C ++ , etc. ) comprising the following function call be utilized and /or stored in Extra Info 527. Computed
 construct: Function1 ( Parameter1, Parameter2 , Parameter3, information can be useful in comparisons or decision mak
       . ) . An example of a function call applying the above ing performed in autonomous device operation where infor
 construct includes the following Instruction Set 526 : mation can be calculated , inferred, or derived from other
 moveTo (Device1, 14 , 8 ) . The function or reference thereto 60 available information . DCADO Unit 100 and / or other dis
 “ moveTo (Devicel , 14 , 8 )” may be an Instruction Set 526 closed elements may include computational functionalities
 directing Devicel to move to a location with coordinates 14 to create Extra Info 527 by performing calculations or
 and 8 , for example. In another embodiment shown in FIG . inferences using other information . In one example,
 7B , Instruction Set 526 includes structured query language Device's 98 speed can be computed or estimated from
 ( SQL ) . In aa further embodiment shown in FIG . 7C , Instruc- 65 Device's 98 location and / or time information . In another
 tion Set 526 includes bytecode ( i.e. Java bytecode , Python example, Device's 98 bearing ( i.e. angle or direction of
 bytecode , CLR bytecode, etc. ) . In a further embodiment movement, etc. ) can be computed or estimated from
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 Device's 98 location information by utilizing Pythagorean            Referring to FIG . 11 , an embodiment of learning and /or
 theorem , trigonometry, and / or other theorems, formulas, or using Remote Device's 97 circumstances for autonomous
 disciplines . In a further example, speeds , bearings, dis- Remote Device 97 operation is illustrated . In such embodi
 tances , and /or other properties of objects around Device 98 ments, in addition to providing input into Object Processing
 can similarly be computed or inferred using known infor- 5 Unit 93 for learning functionalities herein , Sensor 92 (i.e.
 mation . In further aspects , observed information can be Camera 92a , Radar 92d, Sonar 92e , etc. ) can provide input
 utilized and / or stored in Extra Info 527. In further aspects, into Display 21 or other device for User's 50 perception of
 other information can be utilized and / or stored in Extra Info Remote Device's 97 surrounding. As User 50 operates
 527. Examples of such other information include user spe- Remote Device 97 , DCADO Unit 100 may learn Remote
 cific information ( i.e. skill level , age , gender, etc. ) , group 10 Device's 97 operation in circumstances including objects
 user information (i.e. access level , etc. ), version of Appli- with various properties. Such embodiments can be utilized
 cation Program 18 , type of Application Program 18 , type of in any situation where one device controls (i.e. remote
 Processor 11 , type of Logic Circuit 250 , type of Device 98 , controls, etc. ) another device, any situation where some or
               2

 and / or other information .                                      all of the processing is on one device and sensor capabilities
    Referring to FIG . 9 , an embodiment where DCADO Unit 15 are on another device , and / or other situations. In one
 100 is part of or operating on Processor 11 is illustrated . In example, a drone controlling device (i.e. Device 98 , etc.)
 one example, DCADO Unit 100 may be aa hardware element may send control signals to operate a drone (i.e. Remote
 or circuit embedded or built into Processor 11. In another Device 97 , etc. ) and receive information on the drone's
 example, DCADO Unit 100 may be a program operating on surrounding from Sensor 92 on the drone . In another
 Processor 11 .                                                 20 example, a robot controlling device (i.e. Device 98 , etc.)
    Referring to FIG . 10 , an embodiment where DCADO may send control signals to operate a robot ( i.e. Remote
 Unit 100 resides on Server 96 accessible over Network 95 is       Device 97 , etc.) and receive information on the robot's
 illustrated . Any number of Devices 98 may connect to such surrounding from Sensor 92 on the robot. Any of the
 remote DCADO Unit 100 and the remote DCADO                        disclosed elements in addition to Sensor 92 may reside on
    Unit 100 may learn their operations in circumstances 25 Remote Device 97 in alternate implementations.
 including objects with various properties. In turn , any num-        Referring to FIG . 12 , an embodiment of Artificial Intel
 ber of Devices 98 can utilize the remote DCADO Unit 100 ligence Unit 110 is illustrated . Artificial Intelligence Unit
 for autonomous operation in circumstances including 110 comprises interconnected Knowledge Structuring Unit
 objects with various properties. A remote DCADO Unit 100 520 , Knowledgebase 530 , Decision -making Unit 540 , and
 can be offered as a network service ( i.e. online application, 30 Confirmation Unit 550. Other additional elements can be
 etc. ) . In some aspects , a remote DCADO Unit 100 ( i.e. included as needed , or some of the disclosed ones can be
 global DCADO Unit 100 , etc. ) may reside on the Internet excluded , or a combination thereof can be utilized in alter
 and be available to all the world's Devices 98 configured         nate embodiments.
 transmit their operations in circumstances including objects         Artificial Intelligence Unit 110 comprises the functional
 with various properties and / or configured to utilize the 35 ity for learning Device's 98 operation in circumstances
 remote DCADO Unit 100 for autonomous operation in including objects with various properties. Artificial Intelli
 circumstances including objects with various properties. For gence Unit 110 comprises the functionality for learning one
 example, multiple operators (i.e. Users 50 , etc. ) may operate or more collections of object representations correlated with
 their Devices 98 where the Devices 98 may be configured to        any instruction sets , data , and / or other information . In some
 transmit their operations in circumstances including objects 40 aspects , Artificial Intelligence Unit 110 comprises the func
 with various properties to a remote DCADO Unit 100. Such tionality for learning one or more Collections of Object
 remote DCADO Unit 100 enables learning of the operators ' Representations 525 correlated with any Instruction Sets 526
 collective knowledge of operating Device 98 in circum- and / or Extra Info 527. In other aspects , Artificial Intelli
 stances including objects with various properties. Server 96 gence Unit 110 comprises the functionality for learning one
 may be or include any type or form of a remote computing 45 or more Collections of Object Representations 525 some of
 device such as an application server, a network service which may not be correlated with any Instruction Sets 526
 server, a cloud server, a cloud , and / or other remote comput- and / or Extra Info 527. Further, Artificial Intelligence Unit
 ing device . Server 96 may include any features, function- 110 comprises the functionality for anticipating Device's 98
 alities , and embodiments of the previously described Com- operation in circumstances including objects with various
 puting Device 70. It should be understood that Server 96 50 properties. Artificial Intelligence Unit 110 comprises the
 does not have to be a separate computing device and that functionality for anticipating one or more instruction sets ,
 Server 96 , its elements, or its functionalities can be imple- data, and / or other information . Artificial Intelligence Unit
 mented on Device 98. Network 95 may include various 110 comprises the functionality for anticipating one or more
 networks, connection types, protocols , interfaces, APIs , and / Instruction Sets 526 based on one or more incoming Col
 or other elements or techniques known in art all of which are 55 lections of Object Representations 525. Artificial Intelli
 within the scope of this disclosure. Any of the previously gence Unit 110 comprises the functionality for anticipating
 described networks, network or connection types , network- one or more Instruction Sets 526 to be used or executed in
 ing interfaces, and / or other networking elements or tech- Device's 98 autonomous operation. Artificial Intelligence
 niques can similarly be utilized . Any of the disclosed ele- Unit 110 also comprises other disclosed functionalities .
 ments may reside on Server 96 in alternate implementations. 60 Knowledge Structuring Unit 520 , Knowledgebase 530 ,
 In one example, Artificial Intelligence Unit 110 can reside on and Decision -making Unit 540 are described later.
 Server 96 and Acquisition Interface 120 and / or Modification       Confirmation Unit 550 comprises the functionality for
 Interface 130 can reside on Device 98. In another example, confirming, modifying, evaluating ( i.e. rating, etc. ), and /or
 Knowledgebase 530 can reside on Server 96 and the rest of canceling one or more anticipatory Instruction Sets 526 ,
 the elements of DCADO Unit 100 can reside on Device 98. 65 and / or other functionalities. Confirmation Unit 550 is an
 Any other combination of local and remote elements can be optional element that can be omitted depending on imple
 implemented.                                                     mentation . In some embodiments , Confirmation Unit 550
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 can serve as a means of confirming anticipatory Instruction Sets 526 , and restore Device 98 , Processor 11 , Logic Circuit
 Sets 526. For example, Decision -making Unit 540 may 250 , Application Program 18 , and / or other processing ele
                                                                                                  9

 determine one or more anticipatory Instruction Sets 526 and ments to a prior state. In some aspects , Confirmation Unit
 provide them to User 50 for confirmation . User 50 may be 550 can optionally be disabled or omitted in order to provide
 provided with an interface (i.e. graphical user interface, 5 an uninterrupted operation of Device 98 , Processor 11 ,
 selectable list of anticipatory Instruction Sets 526 , etc. ) to Logic Circuit 250 , and / or Application Program 18. For
 approve or confirm execution of the anticipatory Instruction example , a thermostat may be suitable for implementing the
 Sets 526. In some aspects , Confirmation Unit 550 can user confirmation step , whereas, a vehicle may be less
 automate User 50 confirmation. In one example, if one or suitable for implementing such interrupting step due to the
 more incoming Collections of Object Representations 525 10 real time nature of vehicle operation .
 from Object Processing Unit 93 and one or more Collections         Referring to FIG . 13 , an embodiment of Knowledge
 of Object Representations 525 from a Knowledge Cell 800 Structuring Unit 520 correlating individual Collections of
 were found to be a perfect or highly similar match , antici- Object Representations 525 with any Instruction Sets 526
 patory Instruction Sets 526 correlated with the one or more and / or Extra Info 527 is illustrated . Knowledge Structuring
 Collections of Object Representations 525 from the Knowl- 15 Unit 520 comprises the functionality for structuring the
 edge Cell 800 can be automatically executed without User's knowledge of a device's operation in circumstances includ
 50 confirmation . Conversely, if one or more incoming ing objects with various properties, and / or other function
 Collections of Object Representations 525 from Object            alities . Knowledge Structuring Unit 520 comprises the func
 Processing Unit 93 and one or more Collections of Object         tionality for correlating one or more Collections of Object
 Representations 525 from a Knowledge Cell 800 were found 20 Representations 525 with any Instruction Sets 526 and /or
 to be less than a highly similar match, anticipatory Instruc- Extra Info 527. Knowledge Structuring Unit 520 comprises
 tion Sets 526 correlated with the one or more Collections of the functionality for creating or generating Knowledge Cell
 Object Representations 525 from the Knowledge Cell 800 800 and storing one or more Collections of Object Repre
 can be presented to User 50 for confirmation and /or modi- sentations 525 correlated with any Instruction Sets 526
 fying. Any features, functionalities, and / or embodiments of 25 and / or Extra Info 527 into the Knowledge Cell 800. As such ,
 Similarity Comparison 125 ( later described) can be utilized Knowledge Cell 800 comprises the functionality for storing
 for such similarity determination. In other embodiments ,         one or more Collections of Object Representations 525
 Confirmation Unit 550 can serve as a means of modifying or        correlated with any Instruction Sets 526 and / or Extra Info
 editing anticipatory Instruction Sets 526. For example, Deci- 527. Knowledge Cell 800 includes knowledge ( i.e. unit of
 sion -making Unit 540 may determine one or more antici- 30 knowledge, etc.) of how Device 98 operated in a circum
 patory Instruction Sets 526 and provide them to User 50 for stance including objects with various properties. Once cre
 modification . User 50 may be provided with an interface ( i.e. ated or generated, Knowledge Cells 800 can be used in / as
 graphical user interface, etc. ) to modify the anticipatory neurons, nodes, vertices, or other elements in any of the data
 Instruction Sets 526 before their execution . In further structures or arrangements ( i.e. neural networks , graphs,
 embodiments, Confirmation Unit 550 can serve as a means 35 sequences, etc. ) used for storing the knowledge of Device's
 of evaluating or rating anticipatory Instruction Sets 526 if 98 operation in circumstances including objects with various
 they matched User's 50 intended operation . For example , properties, thereby facilitating learning functionalities
 Decision -making Unit 540 may determine one or more herein . It should be noted that Extra Info 527 may be
 anticipatory Instruction Sets 526 , which the system may optionally used in some implementations to enable enhanced
 automatically execute . User 50 may be provided with an 40 comparisons or decision making in autonomous device
 interface ( i.e. graphical user interface, etc. ) to rate ( i.e. on a operation where applicable, and that Extra Info 527 can be
 scale from 0 to 1 , etc.) how well Decision -making Unit 540 omitted in alternate implementations.
 predicted the executed anticipatory Instruction Sets 526. In             In some embodiments, Knowledge Structuring Unit 520
 some aspects , rating can be automatic and based on a receives one or more Collections of Object Representations
 particular function or method that rates how well the antici- 45 525 from Object Processing Unit 93. Knowledge Structuring
 patory Instruction Sets 526 matched the desired operation . Unit 520 may also receive one or more Instruction Sets 526
 In one example, a rating function or method can assign a from Acquisition Interface 120. Knowledge Structuring Unit
 higher rating to anticipatory Instruction Sets 526 that were 520 may further receive any Extra Info 527. Although, Extra
 least modified in the confirmation process . In another Info 527 is not shown in this and /or other figures for clarity
 example, a rating function or method can assign a higher 50 of illustration , it should be noted that any Collection of
 rating to anticipatory Instruction Sets 526 that were canceled Object Representations 525 , Instruction Set 526 , and /or
 least number of times by User 50. Any other automatic other element may include or be associated with Extra Info
 rating function or method can be utilized . In yet other 527. Knowledge Structuring Unit 520 may correlate one or
 embodiments, Confirmation Unit 550 can serve as a means more Collections of Object Representations 525 with any
 of canceling anticipatory Instruction Sets 526 if they did not 55 Instruction Sets 526 and /or Extra Info 527. Knowledge
 match User's 50 intended operation . For example , Decision- Structuring Unit 520 may then create Knowledge Cell 800
 making Unit 540 may determine one or more anticipatory and store the one or more Collections of Object Represen
 Instruction Sets 526 , which the system may automatically tations 525 correlated with Instruction Sets 526 and /or Extra
 execute. The system may save the state of Device 98 , Info 527 into the Knowledge Cell 800. Knowledge Cell 800
 Processor 11 (save its register values , etc. ) , Logic Circuit 60 may include any data structure or arrangement that can
 250 , Application Program 18 (i.e. save its variables, data facilitate such storing. For example, Knowledge Structuring
 structures, objects, location of its current instruction , etc. ), Unit 520 may create Knowledge Cell 800ax and structure
 and / or other processing elements before executing anticipa- within it Collection of Object Representations 525al corre
 tory Instruction Sets 526. User 50 may be provided with an lated with Instruction Sets 526a1-526a3 and / or any Extra
 interface (i.e. graphical user interface, selectable list of prior 65 Info 527 (not shown ). Knowledge Structuring Unit 520 may
 executed anticipatory Instruction Sets 526 , etc.) to cancel further structure within Knowledge Cell 800ax a Collection
 one or more of the prior executed anticipatory Instruction of Object Representations 525a2 correlated with Instruction
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 Set 526a4 and / or any Extra Info 527 ( not shown ). Knowl-        may include Instruction Sets 526 used and /or Extra Info 527
 edge Structuring Unit 520 may further structure within obtained from the time of generating a previous Collection
 Knowledge Cell 800ax a Collection of Object Representa- of Object Representations 525 to the time of generating the
 tions 525a3 without aa correlated Instruction Set 526 and /or Collection of Object Representations 525. Any other tem
 Extra Info 527. Knowledge Structuring Unit 520 may fur- 5 poral relationship or correspondence between Collections of
 ther structure within Knowledge Cell 800ax aa Collection of Object Representations 525 and correlated Instruction Sets
 Object Representations 525a4 correlated with Instruction 526 and / or Extra Info 527 can be implemented .
 Sets 526a5-526a6 and /or any Extra Info 527 (not shown ).            In some embodiments, Knowledge Structuring Unit 520
 Knowledge Structuring Unit 520 may further structure can structure the knowledge of Device's 98 operation in a
 within Knowledge Cell 800ax a Collection of Object Rep- 10 circumstance including objects with various properties into
 resentations 525a5 without a correlated Instruction Set 526 any number of Knowledge Cells 800. In some aspects ,
 and / or Extra Info 527. Knowledge Structuring Unit 520 may Knowledge Structuring Unit 520 can structure into aa Knowl
 structure within Knowledge Cell 800ax additional Collec- edge Cell 800 a single Collection of Object Representations
 tions of Object Representations 525 correlated with any 525 correlated with any Instruction Sets 526 and / or Extra
 number ( including zero [i.e. uncorrelated ]) of Instruction 15 Info 527. In other aspects , Knowledge Structuring Unit 520
 Sets 526 and / or Extra Info 527 by following similar logic as can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
 described above .                                                4 , 7 , 17 , 29 , 87 , 1415 , 23891 , 323674 , 8132401 , etc.) of
                                                                                 2                                       S

    In some embodiments, Knowledge Structuring Unit 520 Collections of Object Representations 525 correlated with
 may correlate a Collection of Object Representations 525 any Instruction Sets 526 and /or
 with one or more temporally corresponding Instruction Sets 20 Extra Info 527. In a special case , Knowledge Structuring
 526 and / or Extra Info 527. This way , Knowledge Structuring Unit 520 can structure all Collections of Object Represen
 Unit 520 can structure the knowledge of Device's 98 opera- tations 525 correlated with any Instruction Sets 526 and /or
 tion at or around the time of generating Collections of Object Extra Info 527 into a single long Knowledge Cell 800. In
 Representations 525. Such functionality enables spontane- further aspects , Knowledge Structuring Unit 520 can struc
 ous or seamless learning of Device's 98 operation in cir- 25 ture Collections of Object Representations 525 correlated
 cumstances including objects with various properties as with any Instruction Sets 526 and / or Extra Info 527 into a
 Device 98 is operated in real life situations . In some designs, plurality of Knowledge Cells 800. In a special case , Knowl
 Knowledge Structuring Unit 520 may receive a stream of edge Structuring Unit 520 can store periodic streams of
 Instruction Sets 526 used or executed to effect Device's 98 Collections of Object Representations 525 correlated with
 operations as well as a stream of Collections of Object 30 any Instruction Sets 526 and / or Extra Info 527 into a
 Representations 525 as the operations are performed . plurality of Knowledge Cells 800 such as hourly, daily,
 Knowledge Structuring Unit 520 can then correlate Collec- weekly, monthly, yearly, or other periodic Knowledge Cells
 tions of Object Representations 525 from the stream of             800 .
 Collections of Object Representations 525 with temporally           In some embodiments , Device 98 may include a plurality
 corresponding Instruction Sets 526 from the stream of 35 of Sensors 92 and /or their corresponding Object Processing
 Instruction Sets 526 and / or any Extra Info 527. Collections Units 93. In one example, multiple Sensors 92 may detect
 of Object Representations 525 without a temporally corre- objects and / or their properties from different angles or on
 sponding Instruction Set 526 may be uncorrelated , for different sides of Device 98. In another example, one or
 instance . In some aspects , Instruction Sets 526 and /or Extra more Sensors 92 may be placed on different sub - devices,
 Info 527 that temporally correspond to a Collection of 40 sub - systems, or elements of Device 98. Using multiple
 Object Representations 525 may include Instruction Sets Sensors 92 and /or their corresponding Object Processing
 526 used and / or Extra Info 527 obtained at the time of Units 93 may provide additional detail in learning and / or
 generating the Collection of Object Representations 525. In using Device's 98 circumstances for autonomous Device 98
 other aspects , Instruction Sets 526 and / or Extra Info 527 that operation. In some designs where multiple Sensors 92
 temporally correspond to a Collection of Object Represen- 45 and / or their corresponding Object Processing Units 93 are
 tations 525 may include Instruction Sets 526 used and / or utilized , multiple DCADO Units 100 can also be utilized
 Extra Info 527 obtained within a certain time period before (i.e. one DCADO Unit 100 for each Sensor 92 and its
 and / or after generating the Collection of Object Represen- corresponding Object Processing Unit 93 , etc.). In such
 tations 525. For example, Instruction Sets 526 and / or Extra designs , Collections of Object Representations 525 can be
 Info 527 that temporally correspond to a Collection of 50 correlated with any Instruction Sets 526 and / or Extra Info
 Object Representations 525 may include Instruction Sets 527 as previously described . In other designs where multiple
 526 used and / or Extra Info 527 obtained within 50 milli-       Sensors 92 and / or their corresponding Object Processing
 seconds, 1 second, 3 seconds , 20 seconds , 1 minute, 41 Units 93 are utilized, collective Collections of Object Rep
 minutes, 2 hours, or any other time period before and / or after resentations 525 from multiple Sensors 92 and their corre
 generating the Collection of Object Representations 525. 55 sponding Object Processing Units 93 can be correlated with
 Such time periods can be defined by a user, by DCADO any Instruction Sets 526 and / or Extra Info 527 .
 system administrator, or automatically by the system based           In some embodiments , Device 98 may include a plurality
 on experience, testing , inquiry, analysis , synthesis, or other of Logic Circuits 250 , Processors 11 , Application Programs
 techniques, knowledge, or input. In other aspects , Instruc- 18 , and / or other processing elements. For example, each
 tion Sets 526 and /or Extra Info 527 that temporally corre- 60 processing element may control aa sub -device , sub - system, or
 spond to a Collection of Object Representations 525 may an element of Device 98. Using multiple processing ele
 include Instruction Sets 526 used and / or Extra Info 527 ments may provide enhanced control over Device's 98
 obtained from the time of generating the Collection of operation . In some designs where multiple processing ele
 Object Representations 525 to the time of generating a next ments are utilized, multiple DCADO Units 100 can also be
 Collection of Object Representations 525. In further aspects , 65 utilized ( i.e. one DCADO Unit 100 for each processing
 Instruction Sets 526 and /or Extra Info 527 that temporally element, etc. ) . In such designs, Collections of Object Rep
 correspond to a Collection of Object Representations 525 resentations 525 can be correlated with any Instruction Sets
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 526 and / or Extra Info 527 as previously described . In other 525 correlated with any Instruction Sets 526 and / or Extra
 designs where multiple processing elements are utilized , Info 527. In some aspects , Collections of Object Represen
 Collections of Object Representations 525 can be correlated tations 525 correlated with Instruction Sets 526 and / or Extra
 with any collective Instruction Sets 526 and / or Extra Info Info 527 can be stored directly within Knowledgebase 530
 527 used or executed by a plurality of processing elements . 5 without using Knowledge Cells 800 as the intermediary data
    Any combination of the aforementioned multiple Sensors structures. In some embodiments, Knowledgebase 530 may
 92 and /or their corresponding Object Processing Units 93 , be or include Neural Network 530a ( later described ). In
 multiple processing elements, and / or other elements can be other embodiments, Knowledgebase 530 may be or include
 implemented in alternate embodiments.                          Graph 530b (later described ). In further embodiments,
    Referring to FIG . 14 , another embodiment of Knowledge 10 Knowledgebase 530 may be or include Collection of
 Structuring Unit 520 correlating individual Collections of Sequences 530c ( later described ). In further embodiments ,
 Object Representations 525 with any Instruction Sets 526 Knowledgebase 530 may be or include Sequence 533 ( later
 and / or Extra Info 527 is illustrated. In such embodiments , described ). In further embodiments, Knowledgebase 530
 Knowledge Structuring Unit 520 may generate Knowledge may be or include Collection of Knowledge Cells 530d
 Cells 800 each comprising a single Collection of Object 15 ( later described ). In general, Knowledgebase 530 may be or
 Representations 525 correlated with any Instruction Sets 526 include any data structure or arrangement capable of storing
 and /or Extra Info 527 .                                     the knowledge of a device's operation in circumstances
    Referring to FIG . 15 , an embodiment of Knowledge including objects with various properties. Knowledgebase
 Structuring Unit 520 correlating streams of Collections of 530 may reside locally on Device 98 , or remotely (i.e.
 Object Representations 525 with any Instruction Sets 526 20 remote Knowledgebase 530 , etc.) on a remote computing
 and / or Extra Info 527 is illustrated . For example, Knowl-    device ( i.e. server , cloud, etc.) accessible over a network or
 edge Structuring Unit 520 may create Knowledge Cell             an interface .
 800ax and structure within it a stream of Collections of    In some embodiments, Knowledgebase 530 from one
 Object Representations 525a1-525an correlated with Device 98 or DCADO Unit 100 can be transferred to one or
 Instruction Set 526al and / or any Extra Info 527 (not 25 more other Devices 98 or DCADO Units 100. Therefore, the
 shown ). Knowledge Structuring Unit 520 may further struc-      knowledge of Device's 98 operation in circumstances
 ture within Knowledge Cell 800ax a stream of Collections of     including objects with various properties learned on one
 Object Representations 525b1-525bn correlated with              Device 98 or DCADO Unit 100 can be transferred to one or
 Instruction Sets 526a2-526a4 and /or and Extra Info 527 (not    more other Devices 98 or DCADO Units 100. In one
 shown ). Knowledge Structuring Unit 520 may further struc- 30 example, Knowledgebase 530 can be copied or downloaded
 ture within Knowledge Cell 800ax a stream of Collections of to a file or other repository from one Device 98 or DCADO
 Object Representations 525c1-525cn without correlated             Unit 100 and loaded or inserted into another Device 98 or
 Instruction Sets 526 and / or Extra Info 527. Knowledge DCADO Unit 100. In another example, Knowledgebase 530
 Structuring Unit 520 may further structure within Knowl- from one Device 98 or DCADO Unit 100 can be available
 edge Cell 800ax a stream of Collections of Object Repre- 35 on a server accessible by other Devices 98 or DCADO Units
 sentations 525d1-525dn correlated with Instruction Sets           100 over a network or an interface. Once loaded into or
 526a5-526a6 and / or any Extra Info 527 ( not shown ). accessed by a receiving Device 98 or DCADO Unit 100 , the
 Knowledge Structuring Unit 520 may further structure receiving Device 98 or DCADO Unit 100 can then imple
 within Knowledge Cell 800ax additional streams of Collec- ment the knowledge of Device's 98 operation in circum
 tions of Object Representations 525 correlated with any 40 stances including objects with various properties learned on
 number ( including zero [ i.e. uncorrelated ]) of Instruction the originating Device 98 or DCADO Unit 100 .
 Sets 526 and / or Extra Info 527 by following similar logic as      In some embodiments, multiple Knowledgebases 530 (i.e.
                                                                                           9

 described above . The number of Collections of Object Knowledgebases 530 from different Devices 98 or DCADO
 Representations 525 in some or all streams of Collections of Units 100 , etc. ) can be combined to accumulate collective
 Object Representations 525a1-525an , 52561-525bn , etc. 45 knowledge of operating Device 98 in circumstances includ
 may be equal or different. It should be noted that n or other ing objects with various properties. In one example, one
 such letters or indicia may follow the sequence and / or Knowledgebase 530 can be appended to another Knowl
 context where they are indicated . Also , a same letter or edgebase 530 such as appending one Collection of
 indicia such as n may represent a different number in Sequences 530c ( later described ) to another Collection of
 different elements of a drawing.                               50 Sequences 530c , appending one Sequence 533 ( later
    Referring to FIG . 16 , another embodiment of Knowledge described ) to another Sequence 533 , appending one Collec
 Structuring Unit 520 correlating streams of Collections of tion of Knowledge Cells 530d (later described ) to another
 Object Representations 525 with any Instruction Sets 526 Collection of Knowledge Cells 530d , and / or appending
 and / or Extra Info 527 is illustrated . In such embodiments,   other data structures or elements thereof. In another
 Knowledge Structuring Unit 520 may generate Knowledge 55 example , one Knowledgebase 530 can be copied into
 Cells 800 each comprising a single stream of Collections of another Knowledgebase 530 such as copying one Collection
 Object Representations 525 correlated with any Instruction of Sequences 530c into another Collection of Sequences
 Sets 526 and / or Extra Info 527 .                              530c , copying one Collection of Knowledge Cells 530d into
    Knowledgebase 530 comprises the functionality for stor- another Collection of Knowledge Cells 530d, and / or copy
 ing the knowledge of a device's operation in circumstances 60 ing other data structures or elements thereof . In a further
 including objects with various properties, and / or other func- example, in the case of Knowledgebase 530 being or includ
 tionalities . Knowledgebase 530 comprises the functionality ing Graph 530b or graph -like data structure ( i.e. Neural
 for storing one or more Collections of Object Representa- Network 530a , tree , etc. ), a union can be utilized to combine
 tions 525 correlated with any Instruction Sets 526 and / or two or more Graphs 530b or graph - like data structures . For
 Extra Info 527. Knowledgebase 530 comprises the function- 65 instance , a union of two Graphs 530b or graph - like data
 ality for storing one or more Knowledge Cells 800 each          structures may include a union of their vertex (i.e. node , etc.)
 including one or more Collections of Object Representations     sets and their edge (i.e. connection, etc. ) sets . Any other
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 operations or combination thereof on graphs or graph - like structure, modifying a data structure , deleting a data struc
 data structures can be utilized to combine Graphs 530b or ture, creating a data field , modifying a data field , deleting a
 graph - like data structures. In a further example, one Knowl- data field , etc. ), and / or other transformation functions. Con
 edgebase 530 can be combined with another Knowledgebase nection 853 may include or be associated with a value such
 530 through later described learning processes where 5 as a symbolic label or numeric attribute (i.e. weight, cost ,
 Knowledge Cells 800 may be applied one at a time and
 connected with prior and /or subsequent Knowledge Cells capacity           , length , etc. ) . A computational model can be uti
                                                                    lized to compute values from inputs based on a pre -pro
 800 such as in Graph 530b or Neural Network 530a . In such grammed or learned function or method . For example, a
 embodiments, instead of Knowledge Cells 800 generated by neural
 Knowledge Structuring Unit 520 , the learning process may 10 can be network         may include one or more input neurons that
 utilize Knowledge Cells 800 from one Knowledgebase 530 then be passed onby, weighted
                                                                           activated      inputs. Activations of these neurons can
                                                                                                    , and transformed by a function
 to apply them onto another Knowledgebase 530. Any other to other neurons . Neural networks
 techniques known in art including custom techniques for with only one layer of single directionmay               range from those
                                                                                                              logic to multi - layer of
 combining data structures can be utilized for combining
 Knowledgebases      530 in alternate implementations. In any of 15 multi-directional feedback loops. A neural network can use
 the aforementioned and / or other combining techniques , weights to change the parameters of the network's through
 similarity of elements (i.e. nodes / vertices, edges/connec put. A neural network can learn by input from its environ
 tions , etc.) can be utilized in determining whether an ele- ment or from self - teaching using written -in rules . A neural
 ment from one Knowledgebase 530 matches an element network can be utilized as a predictive modeling approach in
 from another Knowledgebase 530 , and substantially or 20 machine learning. An exemplary embodiment of a neural
 otherwise similar elements may be considered a match for                network ( i.e. Neural Network 530a , etc.) is described later.
 combining purposes in some designs . Any features, func-        In another example shown in Model B , the disclosed
 tionalities, and embodiments of Similarity Comparison 125 artificially intelligent devices, systems, and methods for
 ( later described ) can be used in such similarity determina- learning and / or using a device's circumstances for autono
 tions . A combined Knowledgebase 530 can be offered as a 25 mous device operation may include a graph or graph -like
 network service (i.e. online application , etc. ) , downloadable data structure. As such , machine learning, knowledge struc
 file , or other repository to all DCADO Units 100 configured turing or representation , decision making, pattern recogni
 to utilize the combined Knowledgebase 530. For example, a tion , and / or other artificial intelligence functionalities may
 Device 98 including or interfaced with DCADO Unit 100 include Nodes 852 ( also referred to as vertices or points,
 having access to a combined Knowledgebase 530 can use 30 etc. ) and Connections 853 ( also referred to as edges , arrows ,
 the collective knowledge learned from multiple Devices 98 lines, arcs, etc. ) organized as a graph. In general, any Node
 for the Device's 98 autonomous operation .                            852 in a graph can be connected to any other Node 852. A
     Referring FIG . 17 , the disclosed artificially intelligent Connection 853 may include unordered pair of Nodes 852 in
 devices, systems , and methods for learning and / or using a an undirected graph or ordered pair of Nodes 852 in a
 device's circumstances for autonomous device operation 35 directed graph . Nodes 852 can be part of the graph structure
 may include various artificial intelligence models and / or or external entities represented by indices or references . A
 techniques. The disclosed systems, devices, and methods are graph can be utilized as a predictive modeling approach in
 independent of the artificial intelligence model and / or tech- machine learning. Nodes 852 , Connections 853 , and /or other
 nique used and any model and / or technique can be utilized elements or operations of a graph may include any features,
 to facilitate the functionalities described herein . Examples of 40 functionalities, and embodiments of the aforementioned
 these models and / or techniques include deep learning, Nodes 852 , Connections 853 , and / or other elements or
 supervised learning, unsupervised learning, neural networks operations of a neural network , and vice versa . An exem
 ( i.e. convolutional neural network, recurrent neural network , plary embodiment of a graph ( i.e. Graph 530b , etc. ) is
 deep neural network , etc. ), search - based , logic and / or fuzzy described later.
 logic -based , optimization -based, tree / graph /other data struc- 45 In a further example shown in Model C , the disclosed
 ture -based, hierarchical, symbolic and / or sub - symbolic, artificially intelligent devices, systems, and methods for
 evolutionary, genetic, multi-agent, deterministic , probabilis- learning and / or using a device's circumstances for autono
 tic , statistical , and /or other models and / or techniques.         mous device operation may include a tree or tree -like data
     In one example shown in Model A , the disclosed artifi- structure. As such , machine learning, knowledge structuring
 cially intelligent devices, systems , and methods for learning 50 or representation , decision making, pattern recognition, and /
 and / or using a device's circumstances for autonomous or other artificial intelligence functionalities may include
 device operation may include a neural network (also referred Nodes 852 and Connections 853 ( also referred to as refer
 to as artificial neural network , etc. ) . As such , machine ences, edges, etc. ) organized as a tree . In general, a Node
 learning, knowledge structuring or representation , decision 852 in a tree can be connected to any number ( i.e. including
 making , pattern recognition, and / or other artificial intelli- 55 zero , etc. ) of children Nodes 852. A tree can be utilized as
 gence functionalities may include a network of Nodes 852 a predictive modeling approach in machine learning. Nodes
 ( also referred to as neurons, etc. ) and Connections 853 852 , Connections 853 , and / or other elements or operations
 similar to that of a brain . Node 852 can store any data , of a tree may include any features, functionalities, and
 object, data structure , and / or other item , or reference thereto .   embodiments of the aforementioned Nodes 852 , Connec
 Node 852 may also include a function for transforming or 60 tions 853 , and / or other elements or operations of aa neural
 manipulating any data, object, data structure, and / or other network and / or graph , and vice versa .
 item . Examples of such transformation functions include               In a further example shown in Model D , the disclosed
 mathematical functions ( i.e. addition , subtraction, multipli- artificially intelligent devices, systems, and methods for
 cation , division , sin , cos , log , derivative, integral, etc. ) , learning and / or using a device's circumstances for autono
 object manipulation functions (i.e. creating an object, modi- 65 mous device operation may include a sequence or sequence
 fying an object, deleting an object, appending objects, etc. ),         like data structure . As such, machine learning, knowledge
 data structure manipulation functions ( i.e. creating a data            structuring or representation, decision making, pattern rec
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 ognition, and / or other artificial intelligence functionalities models and / or techniques known in art are within the scope
 may include a structure of Nodes 852 and / or                    of this disclosure . One of ordinary skill in art will also
    Connections 853 organized as a sequence. In some recognize that an intelligent system may solve a specific
 aspects , Connections 853 may be optionally omitted from a problem by using any model and / or technique that works
 sequence as the sequential order of Nodes 852 in a sequence 5 such as , for example , some systems can be symbolic and
 may be implied in the structure . A sequence can be utilized logical , some can be sub -symbolic neural networks, some
 as a predictive modeling approach in machine learning. can be deterministic or probabilistic, some can be hierar
 Nodes 852 , Connections 853 , and / or other elements or chical, some may include searching techniques, some may
 operations of a sequence may include any features , func- include optimization techniques, while others may use other
 tionalities, and embodiments of the aforementioned Nodes 10 or a combination of models and / or techniques. In general,
 852 , Connections 853 , and / or other elements or operations any artificial intelligence model and / or technique can be
 of aa neural network , graph, and / or tree, and vice versa . An utilized that can facilitate the functionalities described
 exemplary embodiment of a sequence (i.e. Collection of herein .
 Sequences 530c , Sequence 533 , etc.) is described later.            Referring to FIGS . 18A - 18C , embodiments of intercon
                                                                                                    9

   In yet another example, the disclosed artificially intelli- 15 nected Knowledge Cells 800 and updating weights of Con
 gent devices, systems , and methods for learning and / or using nections 853 are illustrated . As shown for example in FIG .
 a device's circumstances for autonomous device operation          18A , Knowledge Cell 800za is connected to Knowledge
 may include a search -based model and / or technique. As Cell 800zb and Knowledge Cell 800zc by Connection 853z1
 such, machine learning, knowledge structuring or represen- and Connection 853z2 , respectively. Each of Connection
 tation, decision making , pattern recognition, and / or other 20 853zl and Connection 853z2 may include or be associated
 artificial intelligence functionalities may include searching with occurrence count, weight, and / or other parameter or
 through a collection of possible solutions. For example, a data. The number of occurrences may track or store the
 search method can search through a neural network , graph , number of observations that a Knowledge Cell 800 was
 tree , sequence , or other data structure that includes data followed by another Knowledge Cell 800 indicating a con
 elements of interest. A search may use heuristics to limit the 25 nection or relationship between them . For example , Knowl
 search for solutions by eliminating choices that are unlikely edge Cell 800za was followed by Knowledge Cell 800zb 10
 to lead to the goal . Heuristic techniques may provide a best times as indicated by the number of occurrences of Con
 guess solution . A search can also include optimization . For nection 853zl . Also , Knowledge Cell 800za was followed
 example, a search may begin with a guess and then refine the by Knowledge Cell 800zc 15 times as indicated by the
 guess incrementally until no more refinements can be made. 30 number of occurrences of Connection 853z2. The weight of
 In a further example, the disclosed systems , devices , and Connection 853zl can be calculated or determined as the
 methods may include logic -based model and /or technique. number of occurrences of Connection 853z1 divided by the
 As such , machine learning, knowledge structuring or repre- sum of occurrences of all connections ( i.e. Connection
 sentation , decision making , pattern recognition , and / or other 853z1 and Connection 853z2 , etc.) originating from Knowl
 artificial intelligence functionalities can use formal or other 35 edge Cell 800za . Therefore, the weight of Connection 853z1
 type of logic . Logic based models may involve making can be calculated or determined as 10/ ( 10 + 15 ) =0.4 , for
 inferences or deriving conclusions from a set ofpremises .As example. Also , the weight of Connection 853z2 can be
 such , a logic based system can extend existing knowledge or calculated or determined as 15 / ( 10 + 15 ) =0.6 , for example.
 create new knowledge automatically using inferences . Therefore, the sum of weights of Connection 853z1 , Con
 Examples of the types of logic that can be utilized include 40 nection 853z2 , and / or any other Connections 853 originating
 propositional or sentential logic that comprises logic of from Knowledge Cell 800za may equal to 1 or 100 % . As
 statements which can be true or false ; first- order logic that shown for example in FIG . 18B , in the case that Knowledge
 allows the use of quantifiers and predicates and that can Cell 800zd is inserted and an observation is made that
 express facts about objects, their properties, and their rela- Knowledge Cell 800zd follows Knowledge Cell 800za ,
 tions with each other; fuzzy logic that allows degrees of truth 45 Connection 853z3 can be created between Knowledge Cell
 to be represented as a value between 0 and 1 rather than 800za and Knowledge Cell 800zd . The occurrence count of
 simply 0 ( false ) or 1 (true ), which can be used for uncertain Connection 853z3 can be set to 1 and weight determined as
 reasoning ; subjective logic that comprises a type of proba- 1 / ( 10 + 15 + 1 ) =0.038 . The weights of all other connections
 bilistic logic that may take uncertainty and belief into (i.e. Connection 853z1 , Connection 853z2 , etc. ) originating
 account, which can be suitable for modeling and analyzing 50 from Knowledge Cell 800za may be updated to account for
 situations involving uncertainty, incomplete knowledge and the creation of Connection 853z3 . Therefore, the weight of
 different world views ; and /or other types of logic . In a Connection 853z1 can be updated as 10 / (10 + 15 + 1 ) = 0.385.
 further example , the disclosed systems, devices , and meth- The weight of Connection 853z2 can also be updated as
 ods may include a probabilistic model and/ or technique. As 15 / ( 10 + 15 + 1 ) =0.577 . As shown for example in FIG . 18C , in
 such, machine learning, knowledge structuring or represen- 55 the case that an additional occurrence of Connection 853z1
 tation, decision making , pattern recognition, and / or other     is observed (i.e. Knowledge Cell 800zb followed Knowl
 artificial intelligence functionalities can be implemented to     edge Cell 800za, etc. ) , occurrence count of Connection
 operate with incomplete or uncertain information where 853z1 and weights of all connections ( i.e. Connection 853z1 ,
 probabilities may affect outcomes . Bayesian network , Connection 853z2 , and Connection 853z3, etc. ) originating
 among other models, is an example of a probabilistic tool 60 from Knowledge Cell 800za may be updated to account for
 used for purposes such as reasoning , learning, planning, this observation . The occurrence count of Connection 853z1
 perception, and /or others. One of ordinary skill in art will can be increased by 1 and its weight updated as 11 / ( 11 + 15 +
 understand that the aforementioned artificial intelligence 1) 0.407. The weight of Connection 853z2 can also be
 models and / or techniques are described merely as examples updated as 15 / ( 11 + 15 + 1 ) =0.556 . The weight of Connection
 of a variety of possible implementations, and that while all 65 853z3 can also be updated as 1 / ( 11 + 15 + 1 ) = 0.037 .
 possible artificial intelligence models and / or techniques are   Referring to FIG . 19 , an embodiment of learning Knowl
 too voluminous to describe , other artificial intelligence        edge Cells 800 comprising one or more Collections of
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 Object Representations 525 correlated with any Instruction Collection of Knowledge Cells 530d . In the case that a
 Sets 526 and / or Extra Info 527 using Collection of Knowl- substantially similar match is not found , the system may
 edge Cells 530d is illustrated . Collection of Knowledge insert a new Knowledge Cell 800 into Collection of Knowl
 Cells 530d comprises the functionality for storing any edge Cells 530d and copy Knowledge Cell 800bd into the
 number of Knowledge Cells 800. In some aspects , Knowl- 5 inserted new Knowledge Cell 800. The system can then
 edge Cells 800 may be stored into or applied onto Collection perform Similarity Comparisons 125 of Knowledge Cell
 of Knowledge Cells 530d in a learning or training process .    800be from Knowledge Structuring Unit 520 with Knowl
 In effect, Collection of Knowledge Cells 530d may store        edge Cells 800 in Collection of Knowledge Cells 530d . In
 Knowledge Cells 800 that can later be used to enable           the case that a substantially similar match is not found , the
 autonomous Device 98 operation. In some embodiments , 10 system may insert a new Knowledge Cell 800 into Collec
 Knowledge Structuring Unit 520 structures or generates tion of Knowledge Cells 530d and copy Knowledge Cell
 Knowledge Cells 800 as previously described and the sys- 800be into the inserted new Knowledge Cell 800. Applying
 tem applies them onto Collection of Knowledge Cells 530d, any additional Knowledge Cells 800 from Knowledge Struc
 thereby implementing learning Device's 98 operation in turing Unit 520 onto Collection of Knowledge Cells 530d
 circumstances including objects with various properties. The 15 follows similar logic or process as the above-described .
 term apply or applying may refer to storing, copying,             Referring to FIG . 20 , an embodiment of learning Knowl
 inserting, updating, or other similar action , therefore, these edge Cells 800 comprising one or more Collections of
 terms may be used interchangeably herein depending on Object Representations 525 correlated with any Instruction
 context. The system can perform Similarity Comparisons Sets 526 and /or Extra Info 527 using Neural Network 530a
 125 ( later described ) of a newly structured Knowledge Cell 20 is illustrated . Neural Network 530a includes a number of
 800 from Knowledge Structuring Unit 520 with Knowledge neurons or Nodes 852 interconnected by Connections 853 as
 Cells 800 in Collection of Knowledge Cells 530d . If a previously described . Knowledge Cells 800 are shown
 substantially similar Knowledge Cell 800 is not found in instead of Nodes 852 to simplify the illustration as Node 852
 Collection of Knowledge Cells 530d, the system may insert includes a Knowledge Cell 800 , for example . Therefore,
 (i.e. copy, store, etc.) the Knowledge Cell 800 from Knowl- 25 Knowledge Cells 800 and Nodes 852 can be used inter
 edge Structuring Unit 520 into Collection of Knowledge changeably herein depending on context. It should be noted
 Cells 530d, for example. On the other hand , if a substantially that Node 852 may include other elements and / or function
 similar Knowledge Cell 800 is found in Collection of alities instead of or in addition to Knowledge Cell 800. In
 Knowledge Cells 530d, the system may optionally omit some aspects , Knowledge Cells 800 may be stored into or
 inserting the Knowledge Cell 800 from Knowledge Struc- 30 applied onto Neural Network 530a individually or collec
 turing Unit 520 as inserting a substantially similar Knowl- tively in a learning or training process. In some designs,
 edge Cell 800 may not add much or any additional knowl- Neural Network 530a comprises a number of Layers 854
 edge the Collection of Knowledge Cells 530d, for each of which may include one or more Knowledge Cells
 example. Also , inserting a substantially similar Knowledge 800. Knowledge Cells 800 in successive Layers 854 can be
 Cell 800 can optionally be omitted to save storage resources 35 connected by Connections 853 .
 and limit the number of Knowledge Cells 800 that may later          Connection 853 may include or be associated with occur
 need to be processed or compared . Any features, function- rence count, weight, and / or other parameter or data as
 alities , and embodiments of Similarity Comparison 125 , previously described . Neural Network 530a may include
 importance index (later described ), similarity index ( later any number of Layers 854 comprising any number of
 described ), and / or other disclosed elements can be utilized 40 Knowledge Cells 800. In some aspects , Neural Network
 to facilitate determination of substantial or other similarity 530a may store Knowledge Cells 800 interconnected by
 and whether to insert a newly structured Knowledge Cell Connections 853 where following a path through the Neural
 800 into Collection of Knowledge Cells 530d .                     Network 530a can later be used to enable autonomous
    For example, the system can perform Similarity Com- Device 98 operation . It should be understood that, in some
 parisons 125 ( later described ) of Knowledge Cell 800ba 45 embodiments, Knowledge Cells 800 in one Layer 854 of
 from Knowledge Structuring Unit 520 with Knowledge Neural Network 530a need not be connected only with
 Cells 800 in Collection of Knowledge Cells 530d. In the Knowledge Cells 800 in a successive Layer 854 , but also in
 case that a substantially similar match is found between any other Layer 854 , thereby creating shortcuts (i.e. shortcut
 Knowledge Cell 800ba and any of the Knowledge Cells 800 Connections 853 , etc. ) through Neural Network 530a . A
                                                                                  2

 in Collection of Knowledge Cells 530d, the system may 50 Knowledge Cell 800 can also be connected to itself such as ,
 perform no action . The system can then perform Similarity for example , in recurrent neural networks. In general, any
 Comparisons 125 of Knowledge Cell 800bb from Knowl- Knowledge Cell 800 can be connected with any other
 edge Structuring Unit 520 with Knowledge Cells 800 in Knowledge Cell 800 anywhere else in Neural Network
 Collection of Knowledge Cells 530d . In the case that a 530a . In further embodiments , back -propagation of any data
 substantially similar match is not found , the system may 55 or information can be implemented . In one example , back
 insert a new Knowledge Cell 800 into Collection of Knowl- propagation of similarity ( i.e. similarity index, etc.) of
 edge Cells 530d and copy Knowledge Cell 800bb into the compared Knowledge Cells 800 in a path through Neural
 inserted new Knowledge Cell 800. The system can then Network 530a can be implemented. In another example,
 perform Similarity Comparisons 125 of Knowledge Cell back -propagation of errors can be implemented. Such back
 800bc from Knowledge Structuring Unit 520 with Knowl- 60 propagations can then be used to adjust occurrence counts
 edge Cells 800 in Collection of Knowledge Cells 530d . In and / or weights of Connections 853 for better future predic
 the case that aa substantially similar match is found between tions , for example. Any other back -propagation can be
 Knowledge Cell 800bc and any of the Knowledge Cells 800 implemented for other purposes. Any combination of Nodes
 in Collection of Knowledge Cells 530d , the system may 852 ( i.e. Nodes 852 comprising Knowledge Cells 800 , etc. ) ,
 perform no action . The system can then perform Similarity 65 Connections 853 , Layers 854 , and / or other elements or
 Comparisons 125 of Knowledge Cell 800bd from Knowl- techniques can be implemented in alternate embodiments.
 edge Structuring Unit 520 with Knowledge Cells 800 in Neural Network 530a may include any type or form of a
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 neural network known in art such as a feed - forward neural     Knowledge Cell 800ed with occurrence count of 1 and
 network , a back -propagating neural network, a recurrent weight of 1. The system can then perform Similarity Com
 neural network, a convolutional neural network , deep neural parisons 125 of Knowledge Cell 800be from Knowledge
 network , and / or others including a custom neural network . Structuring Unit 520 with Knowledge Cells 800 in Layer
    In some embodiments, Knowledge Structuring Unit 520 5 854e of Neural Network 530a . In the case that a substan
 structures or generates Knowledge Cells 800 and the system tially similar match is not found, the system may insert
 applies them onto Neural Network 530a , thereby imple- Knowledge Cell 800ee into Layer 854e and copy Knowl
 menting learning Device's 98 operation in circumstances edge Cell 800be into the inserted Knowledge Cell 800ee .
 including objects with various properties. The system can The system may also create Connection 853e4 between
 perform Similarity Comparisons 125 ( later described ) of a 10 Knowledge Cell 800ed and Knowledge Cell 800ee with
 Knowledge Cell 800 from Knowledge Structuring Unit 520 occurrence count of 1 and weight of 1. Applying any
 with Knowledge Cells 800 in a Layer 854 of Neural Net- additional Knowledge Cells 800 from Knowledge Structur
 work 530a . If a substantially similar Knowledge Cell 800 is ing Unit 520 onto Neural Network 530a follows similar
 not found in the Layer 854 of Neural Network 530a , the logic or process as the above -described.
 system may insert (i.e. copy, store , etc. ) the Knowledge Cell 15 Referring now to Similarity Comparison 125 , Similarity
 800 from Knowledge Structuring Unit 520 into the Layer Comparison 125 comprises the functionality for comparing
 854 of Neural Network 530a , and create a Connection 853 or matching Knowledge Cells 800 or portions thereof,
                               2

 to the inserted Knowledge Cell 800 from a Knowledge Cell and / or other functionalities. Similarity Comparison 125
 800 in a prior Layer 854 including assigning an occurrence comprises the functionality for comparing or matching Col
 count to the new Connection 853 , calculating a weight of the 20 lections of Object Representations 525 or portions thereof.
 new Connection 853 , and updating any other Connections Similarity Comparison 125 comprises the functionality for
 853 originating from the Knowledge Cell 800 in the prior comparing or matching streams of Collections of Object
 Layer 854. On the other hand, if a substantially similar Representations 525 or portions thereof. Similarity Com
 Knowledge Cell 800 is found in the Layer 854 of Neural parison 125 comprises the functionality for comparing or
 Network 530a , the system may update occurrence count and 25 matching Object Representations 625 or portions thereof.
 weight of Connection 853 to that Knowledge Cell 800 from        Similarity Comparison 125 comprises the functionality for
 a Knowledge Cell 800 in a prior Layer 854 , and update any      comparing or matching Object Properties 630 or portions
 other Connections 853 originating from the Knowledge Cell thereof. Similarity Comparison 125 comprises the function
 800 in the prior Layer 854 .                              ality for comparing or matching Instruction Sets 526 , Extra
    For example, the system can perform Similarity Com- 30 Info 527 , text ( i.e. characters, words , phrases, etc.), numbers,
 parisons 125 ( later described ) of Knowledge Cell 800ba and /or other elements or portions thereof. Similarity Com
 from Knowledge Structuring Unit 520 with Knowledge parison 125 may include functions, rules, and / or logic for
 Cells 800 in Layer 854a of NeuralNetwork 530a . In the case     performing matching or comparisons and for determining
 that a substantially similar match is found between Knowl-      that while a perfect match is not found, a partial or similar
 edge Cell 800ba and Knowledge Cell 800ea , the system may 35 match has been found . In some aspects , a partial match may
 perform no action since Knowledge Cell 800ea is the initial include a substantially or otherwise similar match, and vice
 Knowledge Cell 800. The system can then perform Simi- versa . Therefore, these terms may be used interchangeably
 larity Comparisons 125 of Knowledge Cell 800bb from herein depending on context . As such, Similarity Compari
 Knowledge Structuring Unit 520 with Knowledge Cells 800 son 125 may include determining substantial similarity or
 in Layer 854b of Neural Network 530a . In the case that a 40 substantial match of compared elements. Although, substan
 substantially similar match is found between Knowledge tial similarity or substantial match is frequently used herein ,
 Cell 800bb and Knowledge Cell 800eb , the system may it should be understood that any level of similarity, however
 update occurrence count and weight of Connection 853e1 high or low, may be utilized as defined by the rules (i.e.
 between Knowledge Cell 800ea and Knowledge Cell 800eb , thresholds, etc. ) for similarity. The rules for similarity or
 and update weights of other Connections 853 originating 45 similar match can be defined by a user, by DCADO system
 from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
 system can then perform Similarity Comparisons 125 of experience, testing , inquiry, analysis, synthesis, or other
 Knowledge Cell 800bc from Knowledge Structuring Unit techniques, knowledge, or input. In some designs, Similarity
 520 with Knowledge Cells 800 in Layer 854c of Neural Comparison 125 comprises the functionality to automati
 Network 530a . In the case that a substantially similar match 50 cally define appropriately strict rules for determining simi
 is not found , the system may insert Knowledge Cell 800ec larity of the compared elements. Similarity Comparison 125
 into Layer 854c and copy Knowledge Cell 800bc into the can therefore set , reset , and / or adjust the strictness of the
 inserted Knowledge Cell 800ec . The system may also create rules for finding or determining similarity of the compared
 Connection 853e2 between Knowledge Cell 800eb and elements , thereby fine tuning Similarity Comparison 125 so
 Knowledge Cell 800ec with occurrence count of 1 and 55 that the rules for determining similarity are appropriately
 weight calculated based on the occurrence count as previ- strict. In some aspects , the rules for determining similarity
 ously described . The system may also update weights of may include a similarity threshold . As such , Similarity
 other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
 from Knowledge Cell 800eb as previously described . The ments if their similarity exceeds a similarity threshold . In
 system can then perform Similarity Comparisons 125 of 60 other aspects         , the rules for determining similarity may
 Knowledge Cell 800bd from Knowledge Structuring Unit include aa difference threshold . As such , Similarity Compari
 520 with Knowledge Cells 800 in Layer 854d of Neural son 125 can determine similarity of compared elements if
 Network 530a . In the case that a substantially similar match   their difference is lower than a difference threshold . In
 is not found , the system may insert Knowledge Cell 800ed further aspects , the rules for determining similarity may
 into Layer 854d and copy Knowledge Cell 800bd into the 65 include other thresholds. Similarity Comparison 125 enables
 inserted Knowledge Cell 800ed . The system may also create      comparing circumstances including objects with various
 Connection 853e3 between Knowledge Cell 800ec and               properties and determining their similarity or match . In one
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